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EXHIBIT
   A
                  Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 2 of 207




  1/7/2019         TDC• Civil • Pleading     IORIGINAL                   PLAINTIFF'S ORIGINAL PETITION
                                              PETITION/AP PUCATlON

  1/10/2019       'roe- Clvil - Issuance     ISS:CITATION                FORM NUMBER POl-73363 ISSUED BY RUBEN TAMEZ
                                                                         (4701) ISS:CrTATION



  1/10/2019        TDC • Civil - Issuance    ISS:CITATION                FORM NUMBER P0l-73362 ISSUEC> BY RUBEN TAMEZ
                                                                         (4701) ISS:CITATION



  1/10/2019        TDC· Clvll • Issuance     ISS:CITATION                FORM NUMBER P0l-73364 ISSUED BY RUBEN TAMEZ
                                                                         (4701) ISS:CITATION



  1/10/2019        TDC • Civil - Issuance    ISS:CITATION                FORM NUMBER P0l-73353 ISSUED BY RUBEN TAMEZ
                                                                         {4701) ISS:CITATION



  1/10/2019        TOC • Civil - Issuance    ISS:OTATION                 FORM NUMBER P0l-73355 ISSUED SY RUSEN TAMEZ
                                                                         (47011 ISS:CITATION


  1/10/2019        TDC • Civil - Issuance    ISS:CITATION                FORM NUMBER P0l-73352 ISSUED BY RUBEN TAMEZ
                                                                         (4701) ISS:CITATION



  1/10/2019        TDC • C111il • Issuance   !ISS:CITATION               FORM NUMBER P0l-73350 ISSUED BY RUBEN TAMEZ
                                                                         (4701) ISS:CITATION



  1/10/2019        TDC • Civil • Issuance     ISS:CITATION               FORM NUMBER P0l-73351 ISSUED BY RUBEN TAMEZ
                                                                         (4701} ISS:CITATION



  1/10/2019         TDC • Civil • Issuance    ISS:CITATION               FORM NUMBER P0l-73356 ISSUED BY RUBEN TAMEZ
                                                                         (4701) ISS:OTATION



   1/10/2019        TDC • Civil • Issuance    155:CITATION               FORM NUMBER P0l-73354 ISSUED BY RUBEN TAMEZ
                                                                         (4701} ISS:CITATION



   1/10/2019



            --•-·
                    roe - Civil • Issuance

                                             r~r•:                       FORM NUMBER P01·73361 ISSUED BY RUBEN TAMEZ
                                                                         (4701) ISS:CITATION


                                                                              ·---              ----~~   • •v . . . . . . . . .   ····•------·




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  1/10/2019       TDC. Civil • Issuance     ISS:CITATION               FORM NUMBER POl-?33S7 ISSUEO BY RUBEN TAMEZ
                                                                       (4701) ISS:CITATION



  1/10/2019       TDC • Civil • Issuance    ISS:CITATION               FORM NUMBER POl-73358 ISSUED BY RUBEN TAMEZ
                                                                       (4701) ISS:CITATION


                                                                                          -- -
  1/10/2019        TDC • Civil • Issuance   ISS:CITATION               FORM NUMBER POl-73360 ISSUED BY RUBEN TAMEZ
                                                                       14701) ISS:CITATION



  1/10/2019       TOC • Civil • Issuance    ISS:CITATION               FORM NUMBER POl-73359 ISSUED BY RUBEN TAMEZ
                                                                       {4701) ISS:CITATION



  1/10/2019        TOC - Civil - Issuance   ISS:OTATION                FORM NUMBER PDl-73366 ISSUED BY VIITOlUA
                                                                       BENAVIDES (4701) ISS:CITATION



  1/10/2019        TDC• Civil • Issuance    ISS:CITATION               FORM NUMBER POl•?3369 ISSUED BY VICTORIA
                                                                       BENAVIDES 14701) ISS:CITATION



   1/10/2019       TDC • Clvil • Issuance   ISS:CITATION               FORM NUMBER POl-73374 ISSUED BY VICTORIA
                                                                       BENAVIDES {4701) ISS:CITATION



   1/10/2019       TDC - Civil • Issuance   ISS:CITATION               FORM NUMBER POl-73375 ISSUED BY VICTORIA
                                                                       BENAVIDES {4701) ISS:CITATION



   1/10/2019       TDC - Civil • Issuance   ISS:CITATION               FORM NUMBER POl-73367 ISSUED BY VICTORIA
                                                                       BENAVIDES (4701) ISS:CITATION



   1/10/2019       TDC • Civil • Issuance   ISS:CITATION               FORM NUMBER POl• 73370 ISSUED BY VIITORIA
                                                                       BENAVIDES (4701} ISS:CITATION



   1/10/2019       TDC - Clvfl - Issuance   ISS:CITATION               FORM NUMBER P01·73371 ISSUED BY VICTORIA
                                                                       BENAVIDES (4701) ISS:CITATION



   1/10/2019       TOC • Civil - Issuance   ISS:OTATION                FORM NUMBER POl•73372 ISSUED BV VICTORIA
                                                                       BENAVIDES (4701) ISS:CITATION




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  1/10/2019      TDC - Civil • lm1ance     ISS:CITATION              FORM NUMBER POl-73368 ISSUEO BY VICTORIA
                                                                     BENAVIDES {4701) ISS:CITATION



  1/10/2019      TDC - Civil - Issuance    ISS:CITATION              FORM NUMBER P01•73373 ISSUED BY VICTORIA
                                                                     BENAVIDES (4701) ISS:CITATION



  1/11/2019      TDC • Civil • Issuance    RETURN OF SERVICE         RETURN OF SERVICE AFFIDAVIT-BROOKHAVEN COUNTRY
                                           AFFIDAVIT                 CLU81NC



  l/lS/2019      TOC • Civil • Issuance    ISS:OTATION               FOAM NUMBER P01•73451 ISSUED BYCARRISA
                                                                     ESCALANTE 14701) ISS:CITATION



  l/1S/2019      TOC • Civil • Issuance    ISS:CITATION              FORM NUMBER POl-73450 ISSUED BY CARRISA
                                                                     ESCALANTE (4701) ISS:CITATION



  l/1S/2019      TOC • Civil • Issuance    ISS:CITATION              FORM NUMBER POl-73449 ISSUED BY CARRISA
                                                                     ESCALANTE (4701) ISS:CITATION



  1/15/2019      TDC• C"tvil • Issuance    ISS:CITATION              FORM NUMBER POl-73452 ISSUED 8Y CARRISA
                                                                     ESCALANTE (4701} ISS:CITATION



  l/1S/2019      TDC • Civil • l$Suance    ISS:CITATION              FORM NUMBER POl-73481 ISSUED BY CARRISA
                                                                     ESCALANTE (4701) ISS:CITATION



  1/18/2019       TOC • Civil • Issuance   RETURN OF SERVICE         RETURN OF SERVICE AFFIOAVIT-CLUBCORP HOlOINGS
                                           AFFIDAVIT                 INC.


  1/22/2019       TOC • Civil • lm,ance    RETURN OF SERVICE
                                           AFFIDAVIT
   1/22/2019      TDC • Civil • Issuance   RETURN OF SERVICE         RETURN OF SERVICE AFFIDAVIT• ClUBCORP BRAEMAR
                                           AFFIDAVIT                 COUNTRY CLUB, INC.



   l/2S/2019      TDC • Civil • Issuance   RETURN OF SERVICE         RETURN OF SERVICE AFFIDAVIT-RICHARDSON COUNTRY
                                           AFFIDAVIT                 ClUBCORP



   1/25/2019      TDC • Civil • Issuance   RETURN OF SERVICE         RETURN OF SERVICE AFFIOAVIT-OOWNTOWN CLUB, INC.
                                           AFFIDAVIT




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                 Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 5 of 207




  1/25/2019       T0C • Civil • Issuance    RETURN OF SERVICE      RETURN OF SERVICE AFFIDAVIT-PLAZA CLU8 OF SAN
                                            AFFIDAVIT              ANTONIO INC



  1/25/2019       TOC • Civil - Issuance    RETURN OF SERVICE      RETURN Of SERVICE AFFIOAVIT-KINGWOOO COUNTRY
                                            AFFIDAVIT              CLU81NC



   1/25/2019       TDC• Civil • Issuance    RETURN OF SERVICE      RETURN OF SERVICE AFFIDAVIT-WALNUT CREEK
                                            AFFIDAVIT              MANAGEMENT CORP



   l/2S/2019       TDC - Civil • Issuance   RETURN OF SERVICE      RETURN OF SERVICE AFFIDAVIT-HILL COUNTRY GOLF INC
                                            AFFIDAVIT


   1/29/2019       TDC - Civil • Issuance   RETURN OF SERVICE      RETURN OF SERVICE AFFIDAVIT
                                            AFFIDAVIT


   1/29/2019       TDC - Civil - Issuance   RETURN OF SERVICE      RETURN OF SERVICE AFFIDAVIT
                                            AFFIDAVIT


   1/29/2019       TDC - Civil - Issuance   RETURN OF SERVICE      RETIJRN OF SERVICE AFFIDAVIT
                                            AFFIDAVIT


   l/29/2019       TDC • Civil - Issuance   RETURN OF SERVICE      RETURN OF SERVICE AFFIDAVITOK THE RELAY HOUSE
                                            AFFIDAVIT              CORPORATION D/8/A THE RELAY HOUSE



   1/29/2019       TDC • Civil • Issuance   RETURN OF SERVICE
                                            AFFIDAVIT
   1/29/2019       TDC - Civil - Issuance   RETURN OF SERVICE      RETURN OF SERVICE AFFIOAVIT-OK JEFFERSON ClUB
                                            AFFIDAVIT              MANAGEMENT CORPORATION



   1/29/2019       TOC • Civil • Issuance   RETURN OF SERVICE      RETURN OF SERVICE AFFIOAVIT-OK UNIVERSITY CLUB OF
                                            AFFIDAVIT              HOUSTON INC



   1/29/2019       TDC• Civil • Issuance    RETURN OF SERVICE      RETURN OF SERVICE AFFIOAVIT•OK CENTURY II CLUB INC
                                            AFFIDAVIT


   1/29/2019       TDC - Civil • Issuance   RETURN OF SERVICE      RETURN OF SERVICE AFFIDAVIT• OK CIPANGO
                                            AFFIDAVIT              MANAGEMENT CORPORATION



   1/29/2019       TDC • Civil - Issuance   RETURN OF SERVICE
                                            AFFIDAVIT




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1/29/2019   roe -Civil - Issuance    RETURN OF SERVICE   RETIJRN OF SERVICE AFFIDAVIT• ClUBCORP PORTER
                                     AFFIDAVIT           VALLEY COUNTRY CLUB, INC.



1/29/2019   roe -Civil - Issuance    RETURN OF SERVICE   RETURN OF SERVICE AFFIDAVIT-OK ATlANTA CITY CLUB
                                     AFFIDAVIT           INC


1/29/2019   TOC • Civil • Issuance   RETURN OF SERVICE   RETURN OF SERVICE AFFIDAVIT-OK ATRIUM CLUB INC
                                     AFFIDAVIT

1/29/2019   TDC • Civil • Issuance   RETURN OF SERVICE   RETURN OF SERVICE AFFIDAVIT-OK 2001 BRYAN TOWER
                                     AFFIDAVIT           CLUB INC.



1/29/2019   TOC · Civil · Issuance   RETURN OF SERVICE   RETURN OF SERVICE AFFIDAVIT-OK AKRON ClUB
                                     AFFIDAVIT           MANAGEMENT CORP



1/31/2019   TDC - Ovil - Issuance    RETURN OF SERVICE   RETURN OF SERVICE AFFIDAVIT-OK FOREST OAK
                                     AFFIDAVIT           COUNTRY CLUB Ir-IC



1/31/2019   TDC - Civil - Issuance   RETURN OF SERVICE   RETURN OF SERVICE AFFIDAVIT- OK HERITAGE CLUB, INC.
                                     AFFIDAVIT


1/31/2019   TDC • Civil • Issuance   RETURN OF SERVICE   CITATION-OK PRE 12-23-99 OWNDER LAFAYETTE CLUB,
                                     AFFIDAVIT           ALSO D/B/A LAFAYETTE CLUB, INC. OR THE LAFAYETTE
                                                         ClUB, INC.


2/14/2019   TDC - Civil - Other      LETTER/EMAIL/CORR   VACATION LETTER



2/19/2019   TDC • Civil - Issuance   RETURN OF SERVICE   OEClARATION-UNIVERSITY CLUB OF JACKSON, MISS ALSO
                                     AFFIDAVIT           0/8/A UNIVERSITY CLUB OF JACKSON



2/19/2019   TDC • Civil • Issuance   RITURN OF SERVICE   RITURN OF SERVICE AFFIDAVIT- OK THE RElAY HOUSE
                                     AFFIDAVIT           CORPORATION
        Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 7 of 207


                                                             1/7/2019 2:43 PM
                                                                             Velva L. Price
                                                                            District Clerk
                          CAUSE   NO .D-1-GN-19-000119                      Travis County
                                                                         D-1-GN-19-000119
STATE OF TEXAS,                            §  IN THE DISTRICT COURT OF Carrisa Stiles
                                           §
     PLAINTIFF,                             §
                                            §
V.                                          §
                                            §
CLUBCORP HOLDINGS, INC.; BROOKHAVEN         §
COUNTRY CLUB, INC.; RICHARDSON              §
COUNTRY CLUB CORP. D/B/A CANYON             §
CREEK COUNTRY CLUB; OK CENTURY II           §
CLUB, INC., WALNUT CREEK MANAGEMENT         §
CORP.; KINGWOOD COUNTRY CLUB, INC.;         §
OK UNIVERSITY CLUB OF HOUSTON, INC.;        §
OK CIPANGO MANAGEMENT                       §
CORPORATION; OK FOREST OAK COUNTRY          §
CLUB, INC.; HILL COUNTRY GOLF, INC.         §
D/B/A LOST CREEK COUNTRY CLUB;              §
CLUBCORP PORTER VALLEY COUNTRY              §
CLUB, INC. D/B/A PORTER VALLEY              §
COUNTRY CLUB, INC.; OK THE RELAY            §
HOUSE CORPORATION D/B/A THE RELAY           §        TRAVIS COUNTY, TEXAS
HOUSE; THE DOWNTOWN CLUB, INC. D/B/A        §
THE PLAZA CLUB AT DOWNTOWN; OK 2001         §
BRYAN TOWER CLUB INC.; OK VITA CENTER       §
MANAGEMENT CORP.; CITRUS CLUB, INC.         §
D/B/A CITRUS CLUB OR CITRUS ATHLETIC        §
CLUB; OK PRE 12-30-98 OPERATOR OF           §
HALIFAX CLUB, INC. D/B/A HALIFAX CLUB,      §
INC. OR HALIFAX INVESTMENT CLUB; OK         §
PRE 12-23-99 OWNER LAFAYETTE CLUB           §
D/B/A LAFAYETTE CLUB, INC.; THE             §
METROPOLITAN CLUB OF CHICAGO, INC.          §
D/B/A THE PLAZA; UNIVERSITY CLUB OF         §
JACKSON, MISS D/B/A UNIVERSITY CLUB OF      §
JACKSON; OK JEFFERSON CLUB                  §
MANAGEMENT CORPORATION D/B/A                §
JEFFERSON CLUB, INC.; THE PLAZA CLUB        §
OF SAN ANTONIO, INC.; TOWER CLUB, INC.;     §
OK AKRON CLUB MANAGEMENT CORP.; OK          §
ATLANTA CITY CLUB, INC.; OK ATRIUM          §
CLUB, INC.; OK HERITAGE CLUB, INC.;         §
CLUBCORP BRAEMAR COUNTRY CLUB,              §
INC.,                                       §
                                            §
     DEFENDANTS.                            §     261 ST JUDICIAL DISTRICT

                       PLAINTIFF'S ORIGINAL PETITION


                                                                    PAGE 1
      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 8 of 207




                         PLAINTIFF'S ORIGINAL PETITION

      Comes now the State of Texas, Plaintiff, seeking judgment against Defendants

ClubCorp Holdings, Inc. and other ClubCorp related entities (referred to collectively

as "ClubCorp"), requiring that ClubCorp (1) allow the State of Texas to perform an

unclaimed property audit of ClubCorp's books and records; (2) file statutorily required

reports disclosing all unclaimed property it holds, as required by Texas law;

(3) deliver to the State of Texas all unclaimed property it holds, including the

unclaimed membership deposits belonging to its former Texas members in an amount

estimated to be over $53,000,000.00; (4) pay statutory penalties and interest; and

(5) pay attorney fees.

      The State of Texas seeks monetary relief over $1,000,000, which is within the

jurisdictional limits of the Court.

      At issue in this lawsuit is ClubCorp's refusal to allow a full and complete

examination of its books and records to determine whether ClubCorp is in possession

of unclaimed property that has not been reported and remitted to the state, as

required under Chapters 72 and 7 4 of the Texas Property Code. This includes an

audit of millions of dollars that ClubCorp collected, decades ago, from its then-

members, promising to unconditionally refund it after 30 years. This money is

designated in ClubCorp's SEC filings as "initiation deposits" or "membership

deposits."   Instead of refunding this money, ClubCorp has kept it in violation of

Texas unclaimed property law. Club Corp sometimes refers to this money as an




                                                                                PAGE 2
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though ClubCorp has made no apparent provision to repay these "loans" after they

matured, forgivable or not. In addition, ClubCorp has stated its intent not to turn

this money over to the state unless forced to do so. Overall, ClubCorp has collected

and is holding over $717 million in membership initiation deposits,1 approximately

$178 million of which ClubCorp acknowledges has matured. 2 This lawsuit concerns

only membership deposits that have matured.

        The purpose of this suit is to enforce the state's sovereign power to take

possession of the initiation deposits attributable to Texas that are presumed

abandoned, and to force ClubCorp to comply with state law requiring ClubCorp to

allow audits of its books and records and to report and deliver unclaimed property to

the state. These statutory obligations recur every year. ClubCorp has continuously

defaulted on its legal duties owed to the state and has made clear its intent to

"vigorously defend" its position until forced to comply with Texas unclaimed property

laws.

                            I. DISCOVERY CONTROL PLAN

        1.    Plaintiff intends to conduct discovery under Level 3 of Texas Rule of

Civil Procedure 190.




        1
        See the 2016 10-K filed February 27, 2017, by ClubCorp Holdings, Inc. (hereafter
"ClubCorp Holdings, Inc. 2016 10-K"), discussing "Contractual Obligations," pp. 72-73.

        2 See Form 10-Q for ClubCorp Holdings, Inc., filed July 19, 2017, (p . 5)
https://www .sec.gov/Archives/edgar/data/1577095/000157709517000127/holdings-
2           0q.htm (hereafter "ClubCorp Holdings, Inc. 2017 10-Q").

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STATE OF TEXAS V. CLUBC0RP- ORIGINAL PETITION                                    PAGE 3
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                                         II. PARTIES

       2.      Plaintiff is the State of Texas, suing at the request of Glenn Hegar,

Texas Comptroller of Public Accounts. As comptroller, Hegar is responsible for

carrying out and enforcing Texas law related to unclaimed property. See generally,

Texas Property Code, Chapters 72 and 7 4.

       3.      Defendants are entities, affiliated with or owned by ClubCorp, that are

holders of property belonging to others under Texas law. 3 Club Corp is "a leading

owner operator of private golf and country clubs and business, sports and alumni

clubs in North America."        4   ClubCorp's headquarters is in Dallas, Texas, and

Defendants do or did engage in and conduct substantial business in the state.

       4.       Effective September 18, 2017, ClubCorp Holdings, Inc., a Nevada

corporation that was publicly traded on the New York Stock Exchange

(NYSE:MYCC), was acquired by Constellation Club Parent, Inc., a Delaware

corporation. The surviving company is ClubCorp Holdings, Inc. When the merger

became effective,


                all the properties, rights, privileges, immunities, powers, and
                franchises of the Company [Club Corp] and Merger Sub
                [Constellation Merger Sub, Inc., a Nevada corporation and
                wholly owned subsidiary of Constellation Club Parent, Inc., a
                Delaware corporation] shall vest in the Company as the
                Surviving Corporation and all claims, obligations, debts,

       3  ClubCorp Holdings, Inc. 2016 10-K, p. 4, discusses the financial dealings of these
affiliates together and stated that, "Throughout this annual report on Form 10-K ('Form
10-K'), we refer to ClubCorp Holdings, Inc., together with its subsidiaries, as 'we,' 'us,' 'our,'
'ClubCorp' or the 'Company."'




           F TEXAS V. CLUBC0RP- ORIGINAL PETITION                                         PAGE 4
      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 11 of 207




               liabilities and duties of the Company and Merger Sub shall
               become the claims, obligations, debts, liabilities and duties of the
               Company as the Surviving Corporation.·5 (Emphases added).
Club Corp Holdings, Inc. is thus, by terms of the merger agreement, a "holder" under

Texas law for any unclaimed property held by the pre-merger ClubCorp or by its

individual affiliated entities.

       5.      The term "ClubCorp" in this pleading refers to the entities affiliated

with or owned by Club Corp Holdings, Inc. that are "holders" under Texas law. Specific

ClubCorp entities are referred to by their legal name.

       6.       ClubCorp defendants presently known to the State are:

                a.    ClubCorp Holdings, Inc. is a Nevada corporation that is "the

largest owner of private golf and country clubs in the United States." 6 Its principal

office is located at 3030 LBJ Freeway, Suite 600, Dallas, Texas 75234. It may be

served by service on its registered agent CSC Services of Nevada, Inc. at 2215-B

Renaissance Drive, Las Vegas, Nevada 89119.

                b.    Brookhaven Country Club, Inc. is a Texas corporation that

operates Brookhaven Country Club at 3333 Golfing Green Dr., Farmers Branch,

Texas 75234. Its principal office is located at 3030 LBJ Freeway, Suite 600, Dallas,


       5 See Form 8-K for ClubCorp Holdings, Inc., filed with the SEC July 10, 2017, Article
2.1 of the Agreement and Plan of Merger, by and among ClubCorp Holdings, Inc.,
Constellation Club Parent, Inc. and Constellation Merger Sub, Inc., attached as Exhibit 2.1
to the Form 8-K.

       6See Schedule 14A Introduction, Proxy Statement issued August 8, 2017, by
ClubCorp Holdings, Inc.




           F TEXAS V. CLUBC0RP- ORIGINAL PETITION                                     PAGE 5
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Texas 75234. The corporation may be served by service on its registered agent

Corporation Service Company d/b/a CSC - Lawyers Incorporating Service Company,

at 211 East 7th Street, Suite 620, Austin, Texas 78701-3218.

              c.   Richardson Country Club Corp., also d/b/a Canyon Creek

Country Club, is a Texas corporation that operates Richardson Country Club at 625

West Lookout Drive, Richardson, Texas 75080. Its principal office is located at 3030

LBJ Freeway, Suite 600, Dallas, Texas 75234. The corporation may be served by

service on its registered agent Corporation Service Company d/b/a CSC - Lawyers

Incorporating Service Company, at 211 East 7 th Street, Suite 620, Austin, Texas

78701-3218.

              d.   OK Century II Club, Inc., an Oklahoma corporation, may be

served by service on its registered agent Corporation Service Company at 10300

Greenbriar Pl., Oklahoma City, Oklahoma 73159-7653.

              e.   Walnut Creek Management Corp. is a Texas corporation that

operates Walnut Creek Country Club at 1151 Country Club Drive, Mansfield, Texas

76063. Its principal office is located at 3030 LBJ Freeway, Suite 600, Dallas, Texas

75234. The corporation may be served by service on its registered agent Corporation

Service Company d/b/a CSC - Lawyers Incorporating Service Company, at 211 East

7th Street, Suite 620, Austin, Texas 78701-3218.

              f.   Kingwood Country Club, Inc. is a Texas corporation that

operates The Clubs of Kingwood at 1700 Lake Kingwood Trail Kingwood Clubhouse,




       F TEXAS V. CLUBC0RP- ORIGINAL PETITION                                PAGE 6
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600, Dallas, Texas 75234. The corporation may be served by service on its registered

agent Corporation Service Company d/b/a CSC - Lawyers Incorporating Service

Company, at 211 East 7th Street, Suite 620, Austin, Texas 78701-3218.

             g.    OK University Club of Houston, Inc. is an Oklahoma

corporation that operates the Houston Club at 910 Louisiana Street One Shell Plaza,

Suite 4900, Houston, Texas 77002. Its principal office is located at 3030 LBJ Freeway,

Suite 600, Dallas, Texas 75234. The corporation may be served by service on its

registered agent Corporation Service Company at 10300 Greenbriar Pl., Oklahoma

City, Oklahoma 73159-7653.

             h.    OK Cipango Management Corporation, an Oklahoma

corporation, may be served by service on its registered agent Corporation Service

Company at 10300 Greenbriar Pl., Oklahoma City, Oklahoma 73159-7653.

             1.     OK Forest Oak Country Club, Inc., an Oklahoma corporation,

may be served by service on its registered agent Corporation Service Company at

10300, Greenbriar Pl. Oklahoma City, Oklahoma 73159-7653.

             J.     Hill Country Golf, Inc., also d/b/a Lost Creek Country Club, is

a Texas corporation that operates Lost Creek Country Club at 2612 Lost Creek

Boulevard, Austin, TX 78746. Its principal office is located at 3030 LBJ Freeway,

Suite 600, Dallas, Texas 75234. The corporation may be served by service on its

registered agent Corporation Service Company d/b/a CSC - Lawyers Incorporating

Service Company, at 211 East 7th Street, Suite 620, Austin, Texas 78701-3218.




                                                                               PAGE 7
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              k.   Club Corp Porter Valley Country Club, Inc., also d/b/a Porter

Valley Country Club, Inc., is a Delaware corporation that operates Porter Valley

Country Club at 19216 Singing Hills Drive, Northridge, California 91326. Its

principal office is located at 3030 LBJ Freeway, Suite 600, Dallas, Texas 75234. The

corporation may be served by service on its registered agent Corporation Service

Company, 251 Little Falls Dr., Wilmington, Delaware 19808 and Corporation Service

Company, In California as CSC - Lawyers Incorporating Service (C1592199) at 2710

Gateway Oaks Drive, Suite 150N, Sacramento, California 95833.

              1.   OK The Relay House Corporation, also d/b/a The Relay

House, an Alabama corporation, may be served by service on its registered agent

Corporation Service Company at 10300 Greenbriar Pl., Oklahoma City, Oklahoma

73159-7653 and CSC Lawyers Incorporating Service, Inc. at 150 S. Perry St.,

Montgomery, Alabama 36104-4227.

              m.   The Downtown Club, Inc., also d/b/a The Plaza Club at

Downtown, is a Texas corporation that operates the Downtown Club at MET 340

West Dallas Street, Houston, Texas 77002. Its principal office is located at 3030 LBJ

Freeway, Suite 600, Dallas, Texas 75234. The corporation may be served by service

on its registered agent Corporation Service Company d/b/a CSC - Lawyers

Incorporating Service Company, at 211 East 7th Street, Suite 620, Austin, Texas

78701-3218.

              n.    OK 2001 Bryan Tower Club Inc. is an Oklahoma corporation




                                                                              PAGE 8
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Dallas, Texas 75201. Its principal office is located at 3030 LBJ Freeway, Suite 600,

Dallas, Texas 75234. The corporation may be served by service on its registered agent

Corporation Service Company at 10300 Greenbriar Pl., Oklahoma City, Oklahoma

73159-7653.

              o.   OK Vita Center Management Corp., also d/b/a Vita Center

Management Corp., an Oklahoma corporation, may be served by service on its

registered agent Corporation Service Company at 10300 Greenbriar Pl., Oklahoma

City, Oklahoma 73159-7653.

              p.    Citrus Club, Inc., also d/b/a Citrus Club or Citrus Athletic Club,

is a Florida corporation that operates 255 South Orange Avenue, Suite 1800, Orlando,

Florida 32801. Its principal office is located at 3030 LBJ Freeway, Suite 600, Dallas,

Texas 75234. The corporation may be served by service on its registered agent

Corporation Service Company at 1201 Hays Street, Tallahassee, Florida 32301-2525.

              q.    OK Pre 12-30-98 Operator of Halifax Club, Inc., also d/b/a

Halifax Club, Inc. or Halifax Investment Club, an Oklahoma corporation, may be

served by service on its registered agent Corporation Service Company at 10300

Greenbriar Pl., Oklahoma City, Oklahoma 73159-7653.

              r.    OK Pre 12-23-99 Owner Lafayette Club, also d/b/a Lafayette

Club, Inc. or The Lafayette Club, Inc., an Oklahoma corporation, may be served by

service on its registered agent Corporation Service Company at 10300 Greenbriar Pl.,

Oklahoma City, Oklahoma 73159-7653.




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              s.    The Metropolitan Club of Chicago, Inc., also d/b/a The Plaza,

is an Illinois corporation that operates The Metropolitan at 233 South Wacker Drive

Willis Tower, 67th Floor Chicago, Illinois 60606. Its principal office is located at 3030

LBJ Freeway, Suite 600, Dallas, Texas 75234. The corporation may be served by

service on its registered agent Illinois Corporation Service at 801 Adlai Stevenson

Dr., Springfield, Illinois 62703-4261.

              t.    University Club of Jackson, MISS, also d/b/a University Club

of Jackson, a Mississippi corporation, may be served by service on its registered agent

Corporation Service Company at 5760 I 55 N., Suite 150, Jackson, Mississippi 39211-

2654.

              u.    OK Jefferson Club Management Corporation, also d/b/a

Jefferson Club, Inc., is a Virginia corporation that operates Traditions of Braselton

at 350 Traditions Way, Jefferson, Georgia 30549. Its principal office is located at 3030

LBJ Freeway, Suite 600, Dallas, Texas 75234. The corporation may be served by

service on its registered agent Corporation Service Company at 100 Shockoe Slip,

FL 2, Richmond, Virginia 23219-4100.

              v.    The Plaza Club of San Antonio, Inc. is a Texas corporation

that operates the Plaza Club at 100 West Houston Street, 21st Floor, San Antonio,

Texas 78205. Its principal office is located at 3030 LBJ Freeway, Suite 600, Dallas,

Texas 75234. The corporation may be served by service on its registered agent

Corporation Service Company d/b/a CSC - Lawyers Incorporating Service Company,




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              w.    Tower Club, Inc. is a Florida corporation, that operates Tower

Club, Ft. Lauderdale at 100 SE Third Avenue One Financial Plaza, Regions Bank

Bldg., 28th Floor, Fort Lauderdale, Florida 33394. Its principal office is located at

3030 LBJ Freeway, Suite 600, Dallas, Texas 75234. The corporation can be served by

service on its registered agent Corporation Service Company, 1201 Hays Street,

Tallahassee, Florida 32301-2525.

              x.    OK Akron Club Management Corp. is an Oklahoma

corporation. Its principal office is located at 3030 LBJ Freeway, Suite 600, Dallas,

Texas 75234. The corporation may be served by service on its registered agent

Corporation Service Company at 10300 Greenbriar Pl., Oklahoma City, Oklahoma

73159-7653.

              y.    OK Atlanta City Club, Inc. is an Oklahoma corporation. Its

principal office is located at 3030 LBJ Freeway, Suite 600, Dallas, Texas 75234. The

corporation may be served by service on its registered agent Corporation Service

Company at 10300 Greenbriar Pl., Oklahoma City, Oklahoma 73159-7653.

              z.    OK Atrium Club, Inc. is an Oklahoma corporation. Its principal

office is located at 3030 LBJ Freeway, Suite 600, Dallas, Texas 75234. The

corporation may be served by service on its registered agent Corporation Service

Company at 10300 Greenbriar Pl., Oklahoma City, Oklahoma 73159-7653.

              aa.   OK Heritage Club, Inc.        is an Oklahoma corporation. Its

principal office is located at 3030 LBJ Freeway, Suite 600, Dallas, Texas 75234. The




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corporation may be served by service on its registered agent Corporation Service

Company at 10300 Greenbriar Pl., Oklahoma City, Oklahoma 73159-7653.

             bb.    ClubCorp Braemar Country Club, Inc. is a Delaware

corporation. Its principal office is located at 3030 LBJ Freeway, Suite 600, Dallas,

Texas 75234. The corporation may be served by service on its registered agent

Corporation Service Company at 251 Little Falls Drive, Wilmington, Delaware 19808.

                             III. VENUE & JURISDICTION

      7.     Venue and jurisdiction are proper in this Court under Texas Property

Code Section 74.709(a) and (b). (On request of the comptroller, the attorney general

shall bring an action in district court, in the name of the state, to compel a holder to

deliver property or to file a property report. Venue for a suit brought under this

section is in Travis County.)

                                  IV. INTRODUCTION

      8.     ClubCorp holds and intends to keep millions of dollars that belong to its

current and former members-in violation of Texas law. ClubCorp acknowledged in

its 2016 10-K that initiation deposits totaling $170.4 million were "eligible to be

refunded currently within the next twelve months" (as of December 27, 2016). As of

June 13, 2017, ClubCorp reported the liability had risen to $178,086,000. 7 ClubCorp

also declared its intention to "vigorously defend ourselves in any legal proceedings

under applicable state laws seeking to have us remit initiation deposits eligible to be




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refunded to any of our members that have not been previously refunded...." This

lawsuit is such a "legal proceeding under applicable state law."

      9.      Texas, like every other state, limits how long one person (including a

corporation) may hold another person's property before it is presumed abandoned.

Typically, businesses holding unclaimed property ("holders") must turn the property

over to the state after a statutorily defined dormancy period expires. The state will

then hold the unclaimed property in a custodial capacity until the owner claims it.

       10.    The purpose of unclaimed property laws is to protect consumers by

ensuring money owned by, or owed to, them is remitted to the state so it can be

returned to the owners, rather than remaining permanently in private hands, with

financial institutions, business associations, governments, and other entities. 8 Title

6 of the Texas Property Code 9 sets out the law for any person holding Texas

unclaimed property-which generally means property owned by a person last known

to be in Texas.

       11.     The U.S. Supreme explained the basis of state (New Jersey) control over

unclaimed property in 1951:


               As a broad principle of jurisprudence rather than as a result of
               the evolution of legal rules, it is clear that a state, subject to
               constitutional limitations, may use its legislative power to
               dispose of property within its reach, belonging to unknown
               persons. Such property thus escapes seizure by would-be
               possessors and is used for the general good rather than for the

       8"What is Unclaimed Property," National Association of Unclaimed Property
Administrators, at https://www.unclaimed.org/w hat/

             apters 71 through 75.



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                chance em·ichment of particular individuals or organizations.
                Normally the obligor or holder and the obligee or owner of
                abandoned property would, as here, have no contractual
                arrangement between themselves for its disposition in
                case of the owner's failure to make claim. As the disposition
                of abandoned property is a function of the state, no implied
                contract arises between obligor and obligee to determine the
                disposition of such property. Consequently, there is no
                impairment of contract by New Jersey's statute, enacted
                subsequent to the creation of the obligations here under
                examination, but only the exercise of a regulatory power over
                abandoned property.

Standard Oil Co. v. State of N.,J., by Parsons, S. Ct. 822,827 (1951) (Emphasis added).

As in Standard Oil, ClubCorp has no contractual arrangement with its members for

disposition of the members' or former members' money if they do not claim their

refundable deposits. ClubCorp does not get to keep it just because its members or

former members have not claimed it.

       12.          In Texas, holders of personal property that is presumed abandoned are

statutorily required to account for, report, and deliver such property to the

comptroller by July 1st of each year. 10 The state then assumes custody of the property

and is responsible for its safekeeping until the reported owner, or another authorized

claimant, makes a claim for the property. 11 The state delivers it when an owner

claims it and satisfies the comptroller's requirement to establish his or her right to

the property. ("The comptroller shall review the validity of each claim filed under this



               [E]ach holder who on March 1 holds property that is presumed abandoned
       10 " • • •

under Chapter 72, 73, or 75 shall deliver the property to the comptroller on or before the
following July 1 accompanied by the report required to be filed under Section 74.101." TEX.
PROP. CODE§ 74.3Ol(a).




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section. If the comptroller determines that a claim is valid, the comptroller or the

comptroller's authorized agent shall approve the claim. If the claim is for money and

has been approved under this section, the comptroller shall pay the claim ....") TEX.

PROP. CODE§ 74.501(a), (b). There is no time limit for owners (or their descendants)

to claim their property from the comptroller.

      13.    Texas' regulatory scheme relies on holders to identify and report

unclaimed property, in addition to delivering it. Holders are required to provide

certain information regarding the property to assist the comptroller in reuniting

owners with their property. See TEX. PROP. CODE § 74.101. Also fundamental to

effective regulation and compliance is the comptroller's authority to examine the

books and records of any holder to enforce compliance with the state unclaimed

property laws. See TEX. PROP. CODE§ 74.702

       14.   The comptroller maintains a website, ClaimitTexas.org, on which

users can search for and claim their property. ("I encourage everyone to go online,

take a look around and see if there is money waiting for you or your loved ones.") 12

Texas has returned more than $2 billion in unclaimed property to its rightful owners,

and the Comptroller paid out $281,000,000.00 in claims during 2017. 13




       12Glenn Hegar. Press release December 18, 2017, Texas Comptroller's Office
Unveils New Unclaimed Property Website https://comptroller.texas.gov/about/media-
center/news/2017/171218-unclaimed-property.php.




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                               V. BACKGROUND AND FACTS

ClubCorp's History

      15.      Founded in 1957, ClubCorp is "a membership-based leisure business

and a leading owner-operator of private golf and country clubs and business, sports

and alumni clubs in North America." 14 (As of June 13, 2017, ClubCorp's portfolio

included 204 owned or operated clubs, with over 184,000 memberships, and served

over 430,000 individual members. ClubCorp's facilities are located in 27 states, the

District of Columbia and two foreign countries.) 15

       16.      Generally, since ClubCorp was founded, new members have been

expected to pay an initiation fee and/or an initiation deposit upon their acceptance as

a member of the club. Initiation fees are generally not refundable, while deposits are.

The new members generally agree, in writing, that ClubCorp can hold their deposits

for thirty years, after which the deposit is to be refunded. See Exhibit A, exemplars

of a Membership Acceptance contract signed by ClubCorp members in 1984, redacted

to remove any identifying information about the member. This contract states that,

"It is further understood and agreed that thirty (30) years from the date of acceptance,

the [Club] will unconditionally repay applicant 100% of the initiation deposit made

by applicant herewith." (Emphasis added). ClubCorp has amended these contracts

over the years, but the fundamental 30-year deposit, subject to unconditional refund,

has been preserved. A 1995 version added a requirement to the "unconditional"


       14   ClubCorp Holdings, Inc. 2017 10-Q, p. 30.




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refund that the former member must make a "written demand" for return of the

deposit. ("It is further agreed and understood that thirty (30) years from the date of

acceptance, and upon written demand of Applicant, Owner will unconditionally repay

Applicant one hundred percent (100%)" of the initiation deposit made by Applicant to

Owner."). See Exhibit B. However, the U.S. Supreme court ruled in 1948 that failure

of a condition precedent to payment under a contract does not bar states from

collecting the proceeds as unclaimed property under their modern custodial

unclaimed property laws. 16

       17.     In fact, states exercise their sovereignty daily to recover and collect

billions of dollars without complying with the underlying terms and conditions of the

agreements contractual instruments when administering state unclaimed property

laws. ClubCorp's written-demand requirement is not enforceable against the state.

       18.    Since its inception, ClubCorp has relied on membership initiation

deposits to help fund club development and acquisitions. As ClubCorp founder Robert

H. Dedman, Sr. explained in his autobiography, 17 "To be a good entrepreneur, you

have to know how to intelligently use what we call OPM, 'Other People's Money ... .'

If we didn't sell memberships, we couldn't meet our construction payments on the

subsequent phases."


       16 "When the state undertakes the protection of abandoned claims, it would be beyond
a reasonable requirement to compel the state to comply with conditions that may be quite
proper as between the contracting parties. The state is acting as a conservator, not as a party
to a contract." Connecticut Mut. Life Ins. Co. v. Moore, 68 S. Ct. 682, 686 (1948).




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       19.      Mr. Dedman joked about ClubCorp's successful use of OPM. His

autobiography discusses-humorously-the "developer's creed:" "A dollar borrowed

is a dollar earned. A dollar refinanced is a dollar saved. And a dollar paid back is a

dollar lost forever." King of Clubs at page 86. In another joke, he shares the "CEO's

creed"-"Debt that does not become due before I retire or sell my stock is equity."

King of Clubs at page 86.

       20.      It is not a joke, however, that from the beginning ClubCorp has relied

on membership deposits to fund its operations and expansion:

                This dependency on memberships coined a familiar question for
                our executives. On a daily basis, I'd ask, "Partner, what's your
                CIFs for today?" That stood for "Cash in Fist." CIFs were our
                bread and butter while Brookhaven was under construction. 18

       21.      Over the sixty years of its existence, ClubCorp has collected over

$717,100,000 in initiation fees 19 and continues to interpose its own private escheat

practice to enjoy the windfall of using unsecured matured initiation deposit debt

totaling at least $170,000,000.00 currently owed to its members and former

members, their successors or heirs, for the financial benefit of ClubCorp.




       1s   King of Clubs, p. 174.

       19The ClubCorp Holdings, Inc. 201610-K, p. 72, stated the following: "As ofDecember
27, 2016, we have redeemed approximately 2.1% of total initiation deposits received,
including those due on demand. The present value of the initiation deposits received is
recorded as a liability on our consolidated balance sheets and accretes over the nonrefundable
term using the effective interest method. At December 27, 2016, the gross amount of the
initiation deposits recorded as a liability was $717.1 million." (Emphasis added). (See
this   t https://www .sec.gov/Archives/edgar/data/1577095/000157709517000061/holdings-
2     -~~0k.htm).

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Original Promise of Unconditional Refund-When 30 Years was Forever.

      22.    Thirty-plus years ago, ClubCorp promised it would "unconditionally

repay" the deposit after thirty years. Today, ClubCorp says a deposit may be "eligible"

to be refunded after a member or former member overcomes unspecified conditions

subsequently imposed by ClubCorp.

      23.     ClubCorp used to plainly refer to its duty to refund this money as an

"obligation," even if the present value of the future obligation was deemed

immaterial. However, as the membership deposits continued to grow over time

ClubCorp's view of its responsibility regarding this money has changed. For example,

the ClubCorp International 1996 10-K.2° says (pp. 6-7) that the company, "receives

membership deposits that constitute an important source of cash flows [. . . .]

Membership deposits are included in cash flows and are accounted for as obligations

of the Company." (Emphasis added)

       24.    In its discussion of liquidity and capital resources, the 1996 10-K says:

              Membership deposits represent non-interest-bearing advance
              initiation deposits paid by members when they join a club and are
              generally due and payable 30 years from the date of
              acceptance. Management does not consider maturities of



       20 See Form 10-K for ClubCorp International, filed with the SEC March 27, 1997, p. 4
("ClubCorp International 1996 10-K") ("The predecessor corporation to ClubCorp was
organized in 1957 under the name Country Clubs, Inc. All references herein to ClubCorp
shall also include Country Clubs, Inc. and its successor corporations. For purposes of this
document, references to the "Company" include ClubCorp's various subsidiaries. However,
each of ClubCorp and its subsidiaries is careful to maintain its separate legal existence, and
general references to the Company should not be interpreted in any way to reduce the legal
distinctions between the subsidiaries or between ClubCorp and its subsidiaries."). This 1996
10-K c n be read at https://www.sec.gov/Archives/edgar/data/929455/0000929455-97-000003-




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             membership deposits over the next five years to be
             material.

See 1996 10-K for ClubCorp International, p. 28. (Emphases added).

Now, "Unconditionally" Refundable Deposits are Refundable IF.

      25.    Since 1996, the maturity of membership deposits has become

increasingly material. ClubCorp has refused to disclose the amount of initiation

deposits owed to its current and former Texas members, but its SEC filings are

nevertheless informative. In 2010, the amount currently due (within one year or less)

to all its members and former members, according to ClubCorp, was $51,704,000. 21

Its most recent 10-K filed with the SEC 22 stated that, for the entire ClubCorp

operation, 23 $170,355,000 was refundable within a year of December 27, 2016. As of

ClubCorp's latest SEC filing, for the period ending June 13, 2017, the total amount

of matured initiation deposits currently due to all of ClubCorp's current and former

members, had grown to $178,086,000. 24

      26.    ClubCorp's characterization of the deposits has shifted accordingly to

acknowledge the impact returning such deposits would have on its operation:



        21 See Form S-4 for ClubCorp Club Operations, Inc., p. 28, filed March 28, 2011.

https://www.sec.gov/Archives/edgar/data/1515382/0001047469ll002747/a220224lzs-4.htm.

      22See ClubCorp Holdings, Inc. 2016 10-K p. 72 ("Contractual Obligations,"
Membership initiation deposits).

      23  See ClubCorp Holdings, Inc. 2016 10-K p. 4, Item 1, Business: "Throughout this
annual report on Form 10-K ("Form 10-K"), we refer to ClubCorp Holdings, Inc., together
with its subsidiaries, as "we," "us," "our," "ClubCorp," or the "Company."




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                 If the number of refunds dramatically increases in the future,
                 our financial condition could suffer and the funding requirement
                 for such refunds could strain our cash on hand or otherwise force
                 us to reduce or delay capital expenditures, reduce or eliminate
                 planned dividend payments, sell assets or operations or seek
                 additional capital in order to raise the cash necessary to make
                 such refunds.25

      27.        ClubCorp's recent SEC filings reflect the fact that it now intends to not

"unconditionally repay'' its members and former members but instead to repay only

after 30 years and "upon the occurrence of other contract-specific conditions." 26

("While we will make a refund to any member whose initiation deposit is eligible to

be refunded, we may be subject to various states' escheatment laws with respect to

initiation deposits that have not been refunded to members. [...]")

      28.        The fact that a deposit has matured and is "eligible to be refunded" thus

does not mean that ClubCorp actually intends to either refund it or deliver it to the

comptroller.

      29.        While    ClubCorp     originally   acknowledged     its   obligation       to

"unconditionally repay" 100% of the initiation deposit, its position has evolved to the

point that now, ClubCorp admits 27 that "as of December 27, 2016, we have

redeemed approximately 2.1 % of total initiation deposits received, including those

due on demand." (Emphasis added). More to the point, ClubCorp intends to hold this

money until forced to release it-regardless of the contractual obligations it


      25   See ClubCorp Holdings, Inc. 2016 lOK (p. 23).

      26   Id.




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previously recognized-because honoring the refund obligation "could strain our cash

on hand...."28

       30.    Instead of complying with state laws regarding unclaimed property,

ClubCorp has stated its intent to not remit the refundable initiation deposits. ("We

currently do not remit to states any amounts relating to initiation deposits that are

eligible to be refunded to members based upon our interpretation of the applicability

of such laws to initiation deposits.") 29

ClubCorp Refuses to Provide Information.

       31.    It is fundamental that the comptroller should be, and is, authorized to

examine the books and records of entities that hold other people's property. TEX.

PROP. CODE § 74.702. ClubCorp has refused to allow an audit that would show

whether it is holding its members' and former members' unclaimed property-and

how much. In 2008, the comptroller advised ClubCorp that the state was commencing

a non-voluntary audit and examination of the books and records of ClubCorp, Inc.

and all related subsidiary entities, to determine compliance with the state's

unclaimed property statutes. See Exhibit C, a July 17, 2008, letter to Mr. Eric

Affeldt, Chief Executive Office and President of ClubCorp.




       28 See ClubCorp Holdings, Inc. 2016 10-K, p. 23, Item lA, Risk Factors: "We could be
required to make material cash outlays in future periods if the number of initiation deposit
refunds requests we receive materially increases or if we are required to surrender unclaimed
initiation deposits to state authorities under applicable escheatment laws."




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      32.    Rather than comply, on or around August 26, 2009, Mr. Affeldt created

27 Oklahoma entities, then under individual plans of merger executed documents to

merge the 27 Texas-chartered ClubCorp entities into newly created Oklahoma

entities with similar names. The Oklahoma entities were the survivors of the mergers

and continue to exist. According to the merger documents all ownership shares of the

Texas entities were converted to shares in the Oklahoma entities. ClubCorp slashed

the amount of unclaimed property held by Texas-chartered entities within the state,

but this act by ClubCorp did not extinguish the members' or former members'

ownership rights in their property, or ClubCorp's liability for the unclaimed property

now in the possession of the resulting entities, wherever they are today, as long as

they hold the unclaimed refundable membership deposits of any Texas member or

former member. See Exhibit D, August 26, 2009, Articles of Merger of University

Club of Dallas, Inc., into OK University Club of Dallas, Inc., signed by Eric Affeldt,

President of both.

      33.    ClubCorp has shared with the Texas comptroller only select information

about the refundable deposits it holds, limiting its disclosures to Texas-chartered

entities and omitting the formerly-Texas-chartered entities now merged into

Oklahoma corporations. ClubCorp has steadfastly refused to produce information

about deposits held in other states, contending such information is irrelevant to

concerns of the Texas comptroller, and that ClubCorp is not a "holder." Even so,

ClubCorp in 2015 provided the comptroller with a database entitled




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                                   ClubCorp
                        Texas Unclaimed Property Audit
                 Matured (and dormant) Member Loan Payments.

This database provided the name and address of certain Texas members along with

the club, date of the "maturity" of the deposit and the amount. Although ClubCorp's

lawyer, who provided the database, advised that it was "preliminary subject to

additional work," this initial list showed 13,131 Texas members (or former members)

for whom ClubCorp was holding "matured" (over 30 years old), and "dormant" (held

by ClubCorp an additional three years) money. The last page of this database, with

names and addresses of members redacted, is attached as Exhibit E. (According to

ClubCorp's records, it, or its identified entities, was holding at least $5,835,005.02 in

matured, dormant deposits for 13,131 Texas members or former members as of

October 2015.)

      34.      On June 1, 2010, a representative of ClubCorp wrote to the state's

auditor seeking information that, "[A]s we have discussed before, the membership

deposits that you refer to in your letter are atypical and it is ClubCorp's position that

they do not fall within the state unclaimed property laws." See Exhibit F. ClubCorp's

lawyer stated in an email (October 29, 2010) that

               ClubCorp continues to believe that none of the initiation
               payments it receives from members constitutes unclaimed
               property... simply because the members are not unknown to
               ClubCorp. As you no doubt appreciate Texas Property Code
               Section 72.l0l(a) requires an owner of property to be unknown to
               the holder of property before it can be classified as abandoned.
               The vast majority of initiation payments received from ClubCorp
               are from known members.




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      35.    ClubCorp has refused to provide information for the audit the

comptroller has sought to verify ClubCorp's assertions that its members and former

members are "not unknown to ClubCorp." (If ClubCorp has notified the members and

former members it supposedly knows how to contact about their refundable deposits,

ClubCorp has not informed the comptroller.) Instead, ClubCorp has shared only

select, limited information.

      36.    In July 2015, ClubCorp's lawyer sent a memo explaining the company's

legal position. See Exhibit G. ClubCorp argued that the "course of dealing" between

ClubCorp and its members "strongly illustrates that the initiation deposits have been

treated as forgivable loans and not deposits." (Emphasis added).

ClubCorp Will "Vigorously Defend," Won't Refund Refundable Deposits.

      37.    In September 2015, the comptroller responded with an offer to settle "all

unclaimed property liability for initiation deposits due and held by ClubCorp." See

Exhibit H. The offer did not require ClubCorp to pay all matured initiation

deposits-to its members and former members, or to the comptroller. It invited

ClubCorp to demonstrate the legitimacy of its claim that its members and former

members, in fact, considered the initiation deposits they had paid over thirty years

ago to be forgivable loans. The offer called on ClubCorp to send each Texas member

an election form in which the member would choose whether the matured initiation

deposit would be "returnable to the member or may be retained by ClubCorp."

ClubCorp would also have been required to pay the unclaimed deposits for members

who ·d not respond to the election form and begin reporting (paying) the deposits




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coming due every year. The offer required ClubCorp to allow an audit of the records

of all operating affiliates with Texas members.

      38.    ClubCorp did not accept this offer. Despite numerous requests,

ClubCorp failed to provide the membership initiation deposit records required to

enable the Texas comptroller to complete an audit of this property. At ClubCorp's

request, the comptroller sent two staff members to ClubCorp's office in one more

effort to obtain the information.   "Unfortunately, during that meeting, ClubCorp

failed to provide our staff with the requested membership deposit source information.

Without being able to review source documents and complete membership account,

we cannot determine the accuracy of the $5.8 million amount ClubCorp quoted as

abandoned membership deposit funds due to Texas." See Exhibit I. A February 2016,

letter from the comptroller extended yet another offer "giving ClubCorp a final

opportunity to comply with the auditor and comptroller requests for the membership

source information."ao

       39.   Additional efforts to obtain this information from ClubCorp were

unsuccessful, and in December 2017, the comptroller made a demand on ClubCorp

for $53,425,800.00, based on information disclosed in ClubCorp's SEC filings and

ClubCorp's filings with the comptroller. See Exhibit J. The comptroller offered to

waive penalties ($5,342,580.00) and interest ($25,534,564.30) if ClubCorp made full

payment and delivered complete reports by February 19, 2018.




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      40.    ClubCorp rejected the comptroller's offer, sending a letter dated

February 9, 2018, explaining its legal argument, beginning with a complaint that the

comptroller was directing its demand to the wrong entity-the parent company

(ClubCorp Holdings, Inc.) rather than each individual club. The letter explains that

Club Corp "assists with the maintenance of the books and records for the individual

subsidiary clubs, provides administrative services to the clubs, and facilitates any

audits of the clubs. ClubCorp also implements a centralized cash-management

process that results in cash received by clubs passing through ClubCorp's bank

account. Intercompany movement of money is documented on ClubCorp's records and

on the individual clubs' records." The letter concludes that "ClubCorp is not the

'holder' of the initiation payments and cannot be deemed as such simply because of

its relationship to individual clubs." See Exhibit K.

      41.    This lawsuit seeks to stop ClubCorp from continuing to withhold

information-and owners' money. Whether its members' or former members'

unrefunded deposits or any other property remains at the local subsidiary club level

or is controlled by a parent/management/operation/holding company, ClubCorp is

required to allow the comptroller to perform an audit and to turn over to the State of

Texas the money it now holds that belongs to its former members.

  VI. TEXAS LAW APPLICABLE TO UN-REFUNDED DEPOSITS HELD BY CLUBCORP.

Authority

      42.    The comptroller, along with the attorney general, 1s charged with

      · g Texas unclaimed property laws.




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             To enforce this chapter and to determine whether reports have
             been made as required by this chapter, the comptroller, the
             attorney general, or an authorized agent of either, at any
             reasonable time, may examine the books and records of any
             holder.

TEX. PROP. CODE§ 74.702(a) (Examination of Records).

             The comptroller and the attorney general may employ, in the
             office of either official, additional personnel necessary to enforce
             this title.

TEX. PROP. CODE § 7 4. 703(a) (Additional Personnel).

             (a)    On request of the comptroller, the attorney general shall
                    bring an action in district court, in the name of the state,
                    to compel a holder to deliver property or to file a property
                    report.

             (b)    Venue for a suit brought under this section is in Travis
                    County.

             (c)    The fact that a suit seeks enforcement of this section from
                    more than one holder is not grounds for an objection
                    concerning misjoinder of parties or causes of action.

             (d)    When introduced into evidence, the verified property
                    report, unless rebutted, is sufficient evidence that the
                    property is abandoned and subject to delivery under this
                    chapter and for entry of a judgment transferring custody of
                    the property to the comptroller.

             (e)    The attorney general, on behalf of the comptroller, may
                    recover reasonable attorney's fees from the holder in
                    addition to recovery of any unclaimed property accrued or
                    a penalty or interest due.

             (f)    In addition to a penalty or interest assessed on delinquent
                    property, a holder who fails to pay or deliver property or
                    who fails to file a property report within the time
                    prescribed by this chapter is subject to a civil penalty not
                    to exceed $100 for each day of violation.

           CODE § 7 4. 709 (Suit to Compel Delivery of Property and Civil Penalties.)



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43.   Abandoned property is subject to Chapter 72 of the Property Code if:

      (1)   the last known address of the apparent owner, as shown on
            the records of the holder, is in this state;

      (2)   the records of the holder do not disclose the identity of the
            person entitled to the property, and it is established that
            the last known address of the person entitled to the
            property is in this state;

      (3)   the records of the holder do not disclose the last known
            address of the apparent owner, and it is established that:

            (A)    the last known address of the person entitled to the
                   property is in this state; or

            (B)    the holder is a domiciliary or a government or
                   governmental subdivision or agency of this state and
                   has not previously paid or delivered the property to
                   the state of the last known address of the apparent
                   owner or other person entitled to the property;

      (4)   the last known address of the apparent owner, as shown on
            the records of the holder, is in a state that does not provide
            by law for the escheat or custodial taking of the property or
            is in a state in which the state's escheat or unclaimed
            property law is not applicable to the property, and the
            holder is a domiciliary or a government or governmental
            subdivision or agency of this state;

      (5)   the last known address of the apparent owner, as shown on
            the records of the holder, is in a foreign nation and the
            holder is a domiciliary or a government or governmental
            subdivision or agency of this state; or

      (6)    the transaction out of which the property arose occurred in
             this state and:

             (A)   the last known address of the apparent owner or
                   other person entitled to the property is:

                   (i)    unknown; or




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                          (ii)   in a state that does not provide by law for the escheat
                                 or custodial taking of the property or in a state in
                                 which the state's escheat or unclaimed property law
                                 is not applicable to the property; and

                   (B)    the holder is a domiciliary of a state that does not
                          provide by law for the escheat or custodial taking of
                          the property or a state in which the state's escheat
                          or unclaimed property law is not applicable to the
                          property.

TEX. PROP. CODE§ 72.00l(a). (Application of Chapter.)

      44.    A holder of property presumed abandoned is subject to the procedures

of Property Code Chapter 74. TEX. PROP. CODE§ 72.00l(d).

What is a "Holder?"

      45.    A "holder" under Texas law is a person, wherever organized or

domiciled, who is (1) in possession of property that belongs to another; (2) a trustee;

or (3) indebted to another on an obligation. TEX. PROP. CODE§ 72.00l(e).

      46.    A person does not shed the obligations of a holder by transferring

property to an affiliate or spending it. Any person holding property on March 1 of any

year becomes a trustee "for the benefit of the state on behalf of the missing owner and

is liable to the state for the full value of the property, plus any accrued interest and

penalty." TEX. PROP. CODE§ 74.708. Likewise, if an individual ClubCorp club signed

a contract with a member, that individual club is indebted to the member, and if the

individual club transferred the member's deposit to another ClubCorp affiliate, that

affiliate is a holder by virtue of being in possession of the money. Even under

ClubCorp's theory that its members have extended forgivable, interest-free thirty-




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year loans, the money is still presumed abandoned, and ClubCorp is still a "holder,"

subject to Texas unclaimed property law.

What is "Abandoned Property?"

      4 7.         Generally, personal property is presumed abandoned if, for longer than

three years:

       (1) the existence and location of the owner of the property is unknown to the
       holder of the property; and (2) according to the knowledge and records of the
       holder of the property, a claim to the property has not been asserted or an act
       of ownership of the property has not been exercised.

TEX. PROP. CODE §72.lOl(a) (emphasis added).

       48.         The fact that thirty years ago ClubCorp knew the "existence and

location" of people who paid refundable membership deposits is not the test: If

ClubCorp does not now know this information for a current or former member, then

that member's refundable deposit is abandoned property under Section 72.101.

What is the Legal Obligation of a Holder of Abandoned Property?

       49.         The legal obligation of anyone holding someone else's abandoned

property is set out in Property Code Section 7 4. 708:

                   A holder who on March 1 holds property presumed abandoned under
                   Chapters 72-75 holds the property in trust for the benefit of the state
                   on behalf of the missing owner and is liable to the state for the full
                   value of the property, plus any accrued interest and penalty. A
                   holder is not required by this section to segregate or establish trust
                   accounts for the property provided the property is timely delivered to
                   the comptroller in accordance with Section 74.301.

TEX. PROP. CODE§ 74.708 (Property Held in Trust) (Emphases added).

       50.         Banks, utility companies, insurance companies-these entities typically

                  people's money for long periods without having to report it as abandoned
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property. The key to this exception is twofold: (1) the entity knows where the property

owners are, and (2) the property owners communicate with the entity and assert some

act of ownership over the property.

      51.     ClubCorp could easily avoid being forced to "remit" its members' money

to the comptroller by simply showing that the former and current members have been

properly informed that ClubCorp holds their money which can be immediately

refunded and that those former members have authorized ClubCorp to continue

holding it. ClubCorp has declined to do so, however, resulting in ClubCorp enjoying

use of its current and former members' deposit money not just for thirty-plus years

but forever, unless the members (or their descendants) make a written claim to

ClubCorp that satisfies whatever procedural requirements ClubCorp has most

recently imposed as a condition for repayment of the "unconditional" refund.

       52.    ClubCorp allows that it "may be subject to various states' escheatment

laws with respect to initiation deposits that have not been refunded to members." 31

(Emphasis added). In fact, Club Corp, like any other holder of other people's property,

is subject to Texas law "with respect to initiation deposits that have not been refunded

to members." However, ClubCorp, in contravention of Texas' unclaimed property

laws, has chosen to enrich itself at the expense of its current and former members by

quietly keeping millions of dollars in mature membership deposits rather than

repaying the money or, in the alternative, reporting and delivering the property to

the state, as required by law.


             e ClubCorp Holdings, Inc. 2016 10-K, p. 23.




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How Does ClubCorp Explain its Position?

      53.     ClubCorp,     either   through     its    individual    clubs    or    its

parent/holding/managing/operations entities, holds the millions of dollars collected

from its members and former members as refundable initiation deposits. Whether

that money has been moved among or between various ClubCorp entities does not

change the fact that any person or entity in possession of that money, indebted to the

owner, or a trustee by virtue of holding the money on March 1 of any year (TEX. PROP.

CODE§ 74.708), is a "holder" under TEX. PROP. CODE§ 72.001 and subject to Texas

unclaimed property law.

      54.     ClubCorp has determined that it is not subject to the law in Texas, and

other states, requiring that a person may not hold another person's property forever.

ClubCorp refers to these laws, erroneously, as "escheatment laws." When property

escheats to the state, the state acquires title to that property. 32 The money at issue

in this case does not escheat to the state; it remains the property of the people who

paid the initiation deposits or, if they are deceased, their heirs and devisees. TEX.

PROP. CODE§ 74.501. This money will be held in the custodial care of the comptroller

for the reported owners until claimed.

       55.    ClubCorp has stated its intention to keep its members' and former

members' money. ("We currently do not remit to states any amounts relating to



       32See Chapter 71 of the Texas Property Code. (If an individual dies intestate and
without heirs, the real and personal property of that individual is subject to escheat.
"Escheat" means the vesting of title to property in the state in an escheat proceeding. §
7            PROP. CODE.)




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initiation deposits that are eligible to be refunded to members based upon our

interpretation of the applicability of such laws to initiation deposits ...."33 [Emphases

added].

        56.            ClubCorp's "interpretation of the applicability" of Texas law to the

deposits its clubs hold is that the law does not apply to ClubCorp Holdings, Inc.

(which it deems an "indirect parent company") because ClubCorp Holdings, Inc. is

not a "holder." ClubCorp has advised34 that "the Comptroller is pursuing the wrong

entity here to obtain the property it contends is abandoned and subject to Chapter

74 ...." ClubCorp claims that only the individual clubs are the holders-because the

individual clubs contracted for and originally received the deposits from the members

and former members.

         57.           ClubCorp also argues, however, that the property is not presumed

abandoned because the "existence and location of' its long-ago members is (or was)

known by ClubCorp, so the money is not presumed abandoned under Property Code

Section 72.101. 36 This theory is undermined by ClubCorp's own research showing

that members maintain active golf club memberships for only seven years (three

years for other clubs). The ClubCorp Holdings, Inc. 2016 10-K, under "Revenue


         33   See Form 10-K for ClubCorp Holdings, Inc., filed February 27, 2017, p. 23, Item lA.

         34   See Exhibit J, a February 9, 2018, letter from Curtis Osterloh to Joani Bishop.

              P]ersonal property is presumed abandoned if, for longer than three years: (1)
         35 [ •••

the existence and location of the owner of the property is unknown to the holder of the
property; and (2) according to the knowledge and records of the holder of the property, a claim
to the roperty has not been asserted or an act of ownership of the property has not been
          ~TEX. PROP. CODE§ 72.lOl(a).
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Recognition," says: "The expected lives of active memberships are calculated annually

using historical attrition rates .... During [fiscal years 2014-2016,] ... the weighted-

average expected life of a golf and country club membership was approximately

seven years and the expected life of a business, sports and alumni club membership

was approximately three years." 36 This means, based on the reported weighted

averages, that ClubCorp members resign their membership and terminate their

business activities with ClubCorp approximately 23 to 27 years prior to becoming

eligible to recover their membership deposit. So, ClubCorp's claim that it maintains

up-to-date contact information on former members that have had no business activity

with the company for approximately two decades, is an extraordinary claim. And if

ClubCorp knows how to inform its former members that their refundable deposits are

in fact eligible for refund, it could do so today.

       58.      Even if ClubCorp once knew the name and address of each member,

thirty-three years ago, that fact does not preclude the initiation deposit from being

presumed abandoned today. See Melton v. State, 993 S.W.2d 95, 98 (Tex. 1999). 37

       59.      Another argument ClubCorp presents is that the unconditionally

refundable membership deposits are actually loans from the members and former

members, and that repayment of these loans has been forgiven by the members and




       36   See ClubCorp Holdings, Inc., 2016 10-K, p. 74. (Emphases added).

        "The fact that the defendant's "existence and location" may have been "known"
       37

when the [bail] bond was filed does not mean that it is "known" after the passage of more
t t:c~~g ears with no request from the defendant for the bond's release."

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former members. The comptroller rejects this proposition. 38 Whatever C;ubCorp's

justification is for holding its members' and former members' money in perpetuity,

the comptroller seeks by this lawsuit to expose and stop it. ClubCorp states that it

would suffer financially if it honored its contractual obligations and were "forced to

remit" to the comptroller the money it owes its members and former members. It

intends to "vigorously defend" against any lawsuit "seeking to have us remit initiation

deposits eligible to be refunded to any of our members ...."

                     However, if we are ultimately unsuccessful in arguing our right
                     to continue holding such amounts, we may be forced to pay such
                     amounts to the claiming states. While we believe we have strong
                     arguments against claims for the escheatment of unclaimed
                     initiation deposits made under state escheatment laws, if a
                     material portion of the initiation deposits otherwise eligible to be
                     refunded were awarded or remitted to any state(s), our financial
                     condition could be materially and adversely affected and
                     we may be required to reduce or delay capital expenditures,
                     reduce or eliminate planned dividend payments, sell assets or
                     operations, or seek additional capital in order to raise the
                     corresponding cash required to satisfy such amounts. 39

(Emphases added).

        60.          In the 1996 10-K filed by ClubCorp International,           4   °   ClubCorp's

discussion of liquidity and capital said:


        38If a ClubCorp member were to exercise an act of ownership of the money paid as a
refundable membership deposit, such as clearly and in writing forgiving the specific and
identified sum allegedly "loaned," the money would not be "abandoned property" under
Property Code Section 72.101, and ClubCorp would have no liability to the state for that
money. ClubCorp has presented zero evidence that this has ever happened.

        39   See ClubCorp Holdings, Inc., 2016 10-K, p. 23, Item lA.

        40
                      See     1996     ClubCorp      International  1996     10-K,    p.          28.
             ~      .sec.gov/Archives/edgar/data/929455/0000929455-97-000003-index.html.
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             Management does not consider maturities of membership
             deposits over the next five years to be material.
ClubCorp certainly did not warn its members, former members, or shareholders in

1996 that its financial condition "could be materially and adversely affected" ifit were

required to deliver its members' and former members' matured deposits to the states

where its clubs are.   41   When ClubCorp was taken private in 2017, the Proxy

Statement42 revealed that consideration of state demands for audits, reporting, and

disgorgement of unclaimed property were part of the potential buyers' due diligence

process.

             During the period from February 21, 2017 through March 8,
             2017, at the request of each of Party A, Party C, Party H, Party
             P, and Party Q, management held multiple due diligence
             sessions with each such party and their respective advisors,
             which sessions covered business, financial and legal matters,
             including with respect to membership initiation deposits.

Proxy Statement and Merger Agreement, p. 49. (Emphasis added)
             During the period from June 1, 2017 through June 27, 2017, at
             Apollo's request, management held multiple due diligence
             sessions with Apollo and its advisors covering risk management
             and insurance related matters, human resources matters,
             accounting, finance, tax, information technology and general
             legal matters, procurement and shared services matters, and
             membership initiation deposits.




      41 In fact, it is the former members who bear the risk of loss as the refundable

membership deposits are unsecured, and ClubCorp's liability grows daily as deposits mature.
These members have no recourse and no voice in ClubCorp's governance.




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Proxy Statement and Merger Agreement, p. 52. (Emphasis added).

      61.          In addition, when evaluating an appropriate share value for selling the

company, ClubCorp assumed that the new, surviving entity would continue to keep,

and not refund, members' membership deposits. (These calculations assumed "no

additional cash outlays beyond historical levels" for paying the unconditionally

refundable membership deposits.) (The ClubCorp Holdings, Inc. 2016 10-K (p. 23)

acknowledged that "historically, only a small percentage of initiation deposits eligible

to be refunded have been requested by members.") The "Financial Analysis"

discussion in the Proxy Statement contained the following sentence, from each of two

companies (Jefferies LLC ("Jefferies") and Wells Fargo Securities, LLC ("Wells Fargo

Securities")) serving as financial advisors to ClubCorp in connection with the merger:

                    Approximate implied equity value per share reference range
                    derived for ClubCorp from the discounted cash flow analysis
                    described below assumes no additional cash outlays beyond
                    historical levels for membership initiation deposit
                    liabilities and no escheatment payments.
Proxy Statement, p. 64 (Jefferies) p. 72 (Wells Fargo Securities).

       62.           ClubCorp has no rights in the property at issue as the unclaimed

property is an asset of the lost owners - its former Texas members - and the property

is subject to claim by Texas, as the state of the owners' last known address. See Texas

v. New Jersey, 85 S.Ct. 626 (1965). ClubCorp's actions demonstrate why unclaimed

property laws exist-they protect owners of property by ensuring their property is

returned to them rather than being converted and remaining permanently with the

indebted entity.




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        63.    Alternatively, ClubCorp has argued that its obligation to make an

unconditional refund arises only after the member or former member submits a

written request. ClubCorp's attempt to circumvent Texas' unclaimed property law by

imposing this requirement, even if by an amendment to a contract, is prohibited by

law. A corporation may not act to take or divert funds or personal property by any

method for the purpose of circumventing the unclaimed property process. TEX. PROP.

CODE § 74.309 ("Private Escheat Agreements Prohibited.")

        64.     Whatever justification ClubCorp chooses, however, its own 2016 Annual

Report filed with the SEC stated that as of December 27, 2016, the amount of

unrefunded initiation deposits due to its members and former members "currently"

was $170.4 million. That liability increased to more than $178 million in June of

2017. 43

                                  VII. CAUSES OF ACTION

        65.     ClubCorp, through its individual entities or through its organizational

control and management, holds property presumed abandoned and is, accordingly,

subject to the procedures of Texas Property Code Chapters 72 and 74.

        66.     Regardless of any transfers of its members' or former members' deposits

ClubCorp has made over the years, between or among its various subsidiaries,

affiliates, parents, or holding companies, any ClubCorp entity that is in possession

of this money now is a holder, as is any ClubCorp entity that held the money in trust

on March 1 of any year, or that is now indebted to these members and former


              ubCorp Holdings, Inc. 2017 10-Q, p. 5.


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members. TEX. PROP. CODE§ 72.00l(e). Texas law requires ClubCorp to preserve its

former members' property and prohibits ClubCorp from transferring or otherwise

reducing the value of the property it holds for its members or former members. TEX.

PROP. CODE§ 72.103.

      67.    Based on the above-stated law and facts, the State of Texas seeks

judgment for the following relief, against ClubCorp, including its subsidiaries and

affiliates who are found to have violated the law:

Judgment to Compel Examination of ClubCorp Books and Records

      68.    The comptroller and the attorney general, or an agent of either, 1s

authorized to examine, at any reasonable time, the books and records of any holder.

TEX. PROP. CODE§ 74.702.

      69.    ClubCorp has refused to permit a complete examination of its books and

records. This contravenes the State of Texas's sovereign authority to verify

ClubCorp's compliance with Texas unclaimed property law and to recover property

which has been unclaimed or abandoned by its lawful Texas owner in excess of the

dormancy period. The state's rights are superior the rights of the holder. See Texas v.

New Jersey, 85 S.Ct. 626 (1965), Delaware v. New York, 113 S.Ct. 1550 (1993).

       70.   The State of Texas seeks judgment requiring ClubCorp to allow full

access, to its books and records, to the comptroller, the attorney general, or an agent

of either, to perform a full and complete examination as mandated by TEX. PROP.

CODE§ 74.702.




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Judgment to Compel ClubCorp to Report Property

      71.    Each holder who on March 1 holds abandoned property "shall file a

report of that property on or before the following July 1." TEX. PROP. CODE§ 74.101.

      72.    ClubCorp has, since 1990, failed to file any property reports on the

membership initiation deposits it once promised to "unconditionally repay." ClubCorp

thus holds, and has refused to report, property presumed abandoned under TEX.

PROP. CODE § 72.101, in violation of TEX. PROP. CODE §§ 74.101 and 74.301. The

comptroller seeks from ClubCorp the information that will allow correct calculation

of the money ClubCorp owes to its members and former members. The obfuscation

ClubCorp has employed for years prevents the comptroller from claiming an amount

that accurately reflects the matured initiation deposits owed by ClubCorp to Texas

residents, former Texas residents, or people otherwise entitled to money under

Property Code Section 72.00l(a).

       73.   The State of Texas accordingly seeks judgment requiring any ClubCorp

entity that is a holder by virtue of being (1) in possession of abandoned property,

including but not limited to property in the form of refundable deposits owned by

ClubCorp members and former members, (2) a trustee under Texas Property Code

Section 72.00l(e)(2), or (3) indebted to any ClubCorp member or former member for

refundable membership deposits, or to any other person for any reason, to file a report

for all such property presumed abandoned for each year from 1990 to the date of

judgment.




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Judgment to Compel ClubCorp to Deliver Property

      7 4.   ClubCorp has refused to deliver abandoned property it holds that

belongs to its current and former members, in violation of TEX. PROP. CODE§ 74.301.

      75.    The State of Texas accordingly seeks judgment requiring any ClubCorp

entity that is a holder to deliver all property in its possession, including but not

limited to membership deposits, that is presumed abandoned in an amount of at least

$53,425,800.00 or such other amount as may be proven at trial.

                                   VIII.   INTEREST

      76.    The comptroller seeks interest at an annual rate of ten percent on the

property found to be due under Chapter 7 4, starting on the date the property should

have been paid or delivered until the date the property is actually paid or delivered.

TEX. PROP. CODE§§ 74.705 and 74.709(e).

                                    IX. PENALTIES

      77.    The comptroller seeks a penalty of five percent of the property found to

be due under Chapter 74, plus an additional five percent of the value of the property

found to be due for all property ClubCorp failed to pay or deliver before the 31 st day

after it was due. TEX. PROP. CODE§§ 74.706 and 74.709(e).

      78.    The comptroller seeks against each defendant holder, in addition to any

penalty or interest assessed on delinquent property, a penalty of $100 for each day

the holder failed to pay or deliver property, or failed to file a property report, within

the time prescribed by Chapter 74. TEX. PROP. CODE§ 74.709(£).




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                                 X. ATTORNEY FEES

      79.      The State of Texas seeks reasonable attorney fees. TEX. PROP. CODE

§ 74.709(e).

                                     XI.   PRAYER

      80.      The State of Texas seeks monetary relief over $1,000,000, which is

within the jurisdictional limits of the Court, judgment to compel examination of

ClubCorp's books and records, judgment to compel ClubCorp to report and deliver

property as required by law, judgment for interest, penalties and attorney fees, and

judgment for all other relief to which the State of Texas is entitled.

                                  Respectfully submitted.

                                  KEN PAXTON
                                  Attorney General of Texas

                                  JEFFREY C. MATEER
                                  First Assistant Attorney General

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     EXHIBITS TO PLAINTIFF'S ORIGINAL PETITION

A     1984 Membership Applications, club will "unconditionally repay."

B     1995 Membership Application, "upon written demand" club will
      "unconditionally repay."

C     July 17, 2008, letter from comptroller to ClubCorp CEO- notice of
      audit.

D     August 26, 2009, Articles of Merger of University Club of Dallas,
      Inc., into OK University Club of Dallas, Inc.

E     Last page of ClubCorp database provided to comptroller; holding
      $5,835,005.02 dormant deposits for 13,131 Texans.

F     October 29, 2010, email from ClubCorp lawyer to comptroller's
      auditor arguing money at issue is not unclaimed property.

G     July 8, 2015, letter and brief from ClubCorp's lawyer to comptroller
      re "forgivable loans," stating why Texas unclaimed property laws
      are not applicable.

H     September 30, 2015, letter from comptroller to ClubCorp's lawyer,
      offering to settle if ClubCorp notifies its members of money held,
      allows an audit, and starts filing reports.

I     February 29, 2016, letter from comptroller to ClubCorp's CPA, re
      ClubCorp failure to provide information and final settlement offer

J     December 15, 2017, demand letter from comptroller to ClubCorp's
      CEO offering to waive penalties and interest if ClubCorp turns over
      money and files required reports.

K     February 9, 2018, letter from ClubCorp's lawyer to CPA- initiation
      deposits not subject to unclaimed property law.
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           EXHIBIT A
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       Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 54 of 207




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           EXHIBITB
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                    Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 60 of 207




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                                                          PAYMENT OF MEMBERSHIP ACCOUNT
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July 17, 2008

Mr. Eric L. Affeldt
Chief Executive Officenmd President
ClubCorp Inc.
3030 LBJ Freeway, Ste. 600
JJl.lllas, Texas 75234


Dear Mr. Affeldt


The Texas Comptroller of Public Accounts (the "State"), pursuant to authority granted wider the Texas Property
Code, Title 6 Chapters 74 -75 (the "Statute"), hereby provides this Written notice that the State is comrnencing a
non-voluntary audit and examination of the books and records of" ClubCorp Inc, FEIN: 752778488 (the
"Holder"), and all related or subsidiary entities, for the putp0se of determining reporting cQmplian<:e with the
Si:/J.tes l.lJlclaimed property Statutes. This audit and examination relates to aU property deemed escheatable to the
State under the Statute.

The audit and examination will be condn<:ted by Audit Services, U.S., LLC (the "Contractor") as the State's
a11thorized agent Contractor has been directe~ to determine all property deemed escheatable to all states in order
to establish that portion rightfully owing to the State. The Contractor wilt contact you to schedule a date to begin
this audit $Id examination and will advise you of the documents, books and records and personnel that must be
made accessible for the. examination,

The Contractor, acting as a custodian of the State, is authorized by the State to take delivery of all property,
penalties and interest found due and owing to the State at the conclusion of this audit and examination.
Contractor will deliver all such property. penalty and interest to the State within the terms of their cotitnlct with
the State.

This is a non-voluntary audit; penalty and interest will be assessed. Waiver of penalty and interest is allowed only
oh voluntary audits. To be cdnsidered a voluntary audit the attached fonns . must be completed and returned to the
Contractor within fourteen (14) days of this letter's date.

If you Jiave any questions please contact Lee Hines Audit Services, (J.S., LLC, at 919.-772-7998,
1Wnes@;,mditservicesus.com or Wayne Kachelriess, Audit Services, U $. LLC at 843--815-6206,
wkachelriess@allditservicesus.com. If there are any unresolved issues orquestioliS please contact me at
mark. land@cpa.state.tx.us.




UP Contract Audit Pr 9ect Manl'lger
Audit Division
Texas Comptroller of Public Ac<:ounts




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           EXHIBITD
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                                                                                         Flo'fn~~tl\e
                                ARTICLES OF MERGER
                                        OF                                      seJ::'; of State of Te)(IS
                         UNIVERSITY CLUB OF DALLAS, INC.                                f\UG 2 6 '2009
                                      INTO
                        OK UNIVERSITY CLUB OF DALLAS, INC.                      Cofl>Orations sedlon
To the Secretary of State
State of Texas

Pursuant to the provisions of the Texas Business Corporation Act, the domestic corporation and
the foreign corporation herein named do hereby adopt the following articles of merger for the
purpose of merging the domestic corporation with and into the foreign corporation.

1.     The names of the constituent corporations are University Club of Dallas, Inc., which is a
business corporation organized under the laws of the State of Texas, and which is subject to the
provisions of the Texas Business Corporation Act, and OK University Club of Danas, Inc.,
which is a business corporation organized under the laws of the State of Oklahoma.

2.      Annexed hereto is the Plan of Merger for merging University Club of Dallas, Inc. with
and into OK University Club of Dallas, Inc. as approved by the directors and the shareholders of
the said constituent corporations.

3.     The number of shares of University Club of Dallas, Inc. which were outstanding at the
time of the approval of the Plan of Merger by its shareholders and their adoption of a resolution
authorizing the merger is 1,000, all of which are of one class.

4.      Toe approval of the Plan of Merger by the shareholders of University Club of Dallas, Inc.
was by written consent, which has been given in accordance with the provisions of Article 9.10
of the Texas Business Corporation Act, and any written notice required by that Article has been
given.

5.    Toe approval of the Plan of Merger was duly authorized by all action required by the
laws under which OK University Club of Dallas, Inc. was incorporated and by its constituent
documents.

6.     OK University Club of Dallas, Inc. will continue to exist as the surviving corporation
under the name OK University Club of Dallas, Inc. pursuant to the provisions of the laws of the
State of Oklahoma and will be governed by said laws.




                                            ~fiZLAS,fflC.
Executed on August 26, 2009




                                            Name: E. Affid
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                                             OK UNIVERSITY CLUB OF DALLAS, INC,                     • ·: '

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  Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 66 of 207




                              TEXAS PLAN OF MERGER
                                       OF
                         UNIVERSITY CLUB OF DALLAS, INC.
                                      INTO
                        OK UNIVERSITY CLUB OF DALLAS, INC.


PLAN OF MERGER APPROVED on August 10, 2009 by University Club of Dallas, Inc., a
corporation of the State of Texas, and by resolution adopted by its Board of Directors on said
date, and approved on August 10, 2009 by OK University Club of Dallas, Inc., a corporation of
the State of Oklahoma, and by resolution adopted by its Board of Directors on said date.

1.      University Club of Dallas, Inc. and OK University Club of Dallas, Inc. shall, pursuant to
the provisions of the Texas Business Corporation Act and of the laws of the State of Oklahoma,
be merged with and into a single corporation, to wit, OK University Club of Dallas, Inc., which
shall be the surviving corporation upon the effective date of the merger and which is sometimes
hereinafter referred to as the "surviving corporation," and which shall continue to exist as said
surviving corporation under the name OK University Club of Dallas, Inc. The surviving
corporation shall be governed by the laws of the State of Oklahoma, which is the jurisdiction of
its organization. The separate existence of University Club of Dallas, Inc., which is sometimes
hereinafter referred to as the "terminating corporation," shall cease upon the effective date of the
merger in accordance with the provisions of the Texas Business Corporation Act.

2.      The articles of incorporation of the surviving corporation as in force and effect upon the
effective date of the merger in the jurisdiction of its organization shall be the articles of
incorporation of said surviving corporation and said articles of incorporation shall continue in
full force and effect until amended and changed in the manner prescribed by the laws of the
jurisdiction ofits organization.

3.      The bylaws of the surviving corporation as in force and effect upon the effective date of
the merger will be the bylaws of said surviving corporation and will continue in full force and
effect until changed, altered, or amended as therein provided and in the manner prescribed by the
provisions of the laws of the jurisdiction of its organization.

4.      The directors and officers in office of the surviving corporation upon the effective date of
the merger shall be the members of the first Board of Directors and the first officers of the
surviving corporation, all of whom shall hold their directorships and offices until the election and
qualification of their respective successors or until their tenure is otherwise tenninated in
accordance with the bylaws of the surviving corporation.

5.      Each issued share of the terminating corporation shall, upon the effective date of the
merger, be converted into 1,000 shares of the surviving corporation. The issued shares of the
surviving corporation shall not be converted in any manner, but each said share which is issued
as of the effective date of the merger shall continue to represent one issued share of the surviving
corporation.

        The Plan of Merger herein made and approved shall be submitted to the shareholders of
         inating corporation for their approval or rejection in the manner prescribed by the
          s of the Texas Business Corporation Act and to the shareholders of the surviving
           n for their approval or rejection in the manner prescribed by the laws of the
        ion of its organization.
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7.      In the event that the Plan of Merger shall have been approved by the shareholders of the
terminating corporation and the merger shall have been authorized by their duly adopted
resolution in the manner prescribed by the provisions of the Texas Business Corporation Act,
and in the event that the Plan of Merger shall have been approved by the shareholders of the
surviving corporation in compliance with the provisions of the laws of the jurisdiction of its
organization, the terminating corporation and the surviving corporation hereby stipulate that they
will cause to be executed and filed and/or recorded any document or documents prescribed by
the laws of the State of Texas and of the State of Oklahoma, and that they will cause to be
perfonned all necessary acts therein and elsewhere to effectuate the merger.

8.      The Board of Directors and the proper officers of the terminating corporation and of the
surviving corporation, respectively, are hereby authorized, empowered, and directed to do any
and all acts and things, and to make, execute, deliver, file, and/or record any and all instruments,
papers, and documents which shall be or become necessary, proper, or convenient to carry out or
put into effect any of the provisions of this Plan of Merger or of the merger herein provided for.

9.      The surviving corporation will be responsible for the payment of all fees and franchise
taxes required by law, and that the surviving corporation will be obligated to pay such fees and
franchise taxes if the same are not timely paid.
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           EXHIBITE
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                                                                                                                  ClubCorp
                                                                                                       Texas Unclaimed Property Audit
                                                                                                Matured (and dormant) Member Loan Payments


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131031Walnut Creek Management Corp.                               (325.00)1                                                                  MANSFIELD    TX
13104;Walnut Creek Management Corp.                              (300.00)                                                                    ARLINGTON    TX
13105 jWalnut Creek Management Corp.                             (275.00)         __ .. ,. __                                                ARLINGTON    TX
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13107:Walnut Creek Management Corp.                              (250.00)                   ,                                                ARLINGTON    TX
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13109 'Walnut Creek Management Corp.                             (250.00)         ·•·~•• --J•                                                MANSFIELD    TX
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13114!Walnut Creek Management Corp.                              (250.00)                                                                    MANSFIELD    TX
13115:Walnut Creek Management Corp.                              (250.00)         01-AC                                                      FORT WORTH   TX
13116:Walnut Creek Management Corp.                              (250.00)                                                                    ARLINGTON    TX
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13125!Walnut Creek Management Corp.                              (175.00)         -· • --                                                                 TX
13126/Walnut Creek Management Corp.                               (17!i:ooj'      01-Acr-oa                                                               TX
13127!Walnut Creek Management Corp.····                           (125.00)                                                                                TX
13128:Walnut Creek Management Corp.                               (125.oojf       __ ..,. --                                                               TX
13129:Walnut Creek Management Corp.                               (125.00)i                                                                                TX
13130[~~1-~~! _Creek Management Corp.                             (100.00),       __
                                                                                  01-AD                                                      DE SOTA      lTX
13131'Walnut creek Management Corp.                               (100.00)                                                                   MANSFIELD    ITX
                                                            (5,835,005.02)




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           EXHIBITF
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From:                Curtis Osterloh <costerloh@scottdoug.com>
Sent:                Friday, October 29, 2010 4:10 PM
To:                  Lee Hines
Cc:                  Mark Land
Subject:             RE: Club Corp
Attachments:         Club Corp



Dear Lee,

I apologize for the delay in responding to this email. I was out of pocket last week. Please accept
this response to both this email and your email of today (See attached). A couple comments on
your email below:

      1.    When Mark Eidman and I met with Mark Land and Kevin Koller regarding the ClubCorp
           unclaimed property audit we did not agree to speak with Noel Hall regarding figures
           associated with potentially escheatable amounts for nontraditional unclaimed property
           items. We told Mr. Land and Mr. Koller that we did not know the amount at issue for such
           items. We did, however, agree to speak and have spoken to ClubCorp regarding the
           initiation payment issue.
      2.   ClubCorp continues to believe that none of the initiation payments it receives from members
           constitutes unclaimed property. As we discussed with Mr. Land and Mr. Koller we believe that
           the vast majority of the initiation payments cannot constitute unclaimed property simply
           because the members are not unknown to ClubCorp. As you no doubt appreciate Texas
           Property Code Section 72.101 (a) requires an owner of property to be unknown to the holder of
           property before it can be classified as abandoned. The vast majority of the initiation
           payments received by ClubCorp are from known members.
      3.   One of the options we discussed with Mr. Land and Mr. Koller was determining how ClubCorp
           could go about confirming that the initiation payments it has received relate to known
           members. We have spoken with ClubCorp regarding this aspect and they are evaluating
           options to determine how best to go about confirming its known members. These includes
           such things as a mailing which we discussed with Mr. Land and Mr. Koller.
      4.   ClubCorp is currently evaluating how best to confirm the existence of its members and how to
           best relate them to the initiation payments. The issue is complex because of the high number
           of members, the many years at issue, the length of time that has expired, and the multiple
            clubs.
      5.    ClubCorp's currently goal is to be able to present an action plan to you and the state of Texas
           relating to the determination of its membership by the end of the year. Only once we
            determine who is a known member can we go to the next stage. However, even if there are
           unknown members ClubCorp still believes their initiation payments cannot constitute unknown
            property. The ClubCorp business model has been adopted by clubs across the country and is
            a common industry practice. Indeed, the only decision to consider whether such initiation
            payments were escheatable involved a club not affiliated with ClubCorp and the ruling of
            that state Supreme Court held that the payments were not escheatable. See Quail Creek
            Golf Country Club v. Oklahoma Tax Commission, 913 P.2d 302 (3/5/96).




                                                         1
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ClubCorp works towards what is everyone's goal - determining their correct amount of unclaimed
property.

Best,
Curtis

Curtis J. Osterloh, Esq., C.P.A.
Partner
Scott, Douglass & Mcconnico, LLP
600 Congress Avenue, 15th Floor
Austin, TX 78701
voice: (512) 495-6300
fax:     (512) 47 4-0731
email: costerloh@scottdoug.com


From: Lee Hines [mailto:LHines@auditservicesus.com]
Sent: Thursday, October 14, 2010 11:27 AM
To: Curtis Osterloh
Cc: Mark Land
Subject: Club Corp

Curtis:
During a recent meeting with Mark Land you indicated that you would talk with Noel Hall in order to get him to release
some figures that would enable ASUS to advise Texas on any settlement. Also, ASUS would need figures on the
membership deposits in order to know exactly what any potential findings would be.
Have you had this conversation with Noel and if so, what was the results?
Please let me know if you have any questions.
Best regards,
Lee


Lee R. Hines, Sr.
Audit Services US LLC
1402 Claymore Drive
Gamer, N. C. 27527
tel: 919-772-7998
fax: 919-772-7922
cell: 614-204-9799
lhines@auditservicesus.com


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SCOTT
DOUGLASS
McCONNICO
                                                 July 8,. 2015



   VIA HAND DELIVERY
   Joani Bishop
   Texas Comptroller of Public Accounts
   Unclaimed Property Claims Section
   111 East 17th St.
   Austin, TX 78701

    Re:     CIUbCorp

    Dear Ms. Bishop:

            We appreciated the opportunity to meet with Comptroller Hegar, you and your

    colleagues concerning the escheat issue associated with the forgivable loans members have

    with ClubCorp's dubs. As promised, this is a follow up submission in support of ClubCorp's

    position that the laws of escheat have no application to these .loans.

            You may recall that we discussed two additional matters that support ClubCorp's

    position. First, the course of dealing between the parties strongly illustrates that the initiation

    payments have been treated as forgivable loans and not deposits. Second, demanding that

    ClubCorp escheat the forgiven loans will place the State in the position of also having collected

    franchise tax on the debt forgiveness income, In effect, the State Will have double collected

    both the forgiven loans and the associated franchise tax paid on the forgiven loans. This would

    be in addition to the federal income tax ClubCorp has already paid to the IRS on the debt

    forgiveness.

            As we have previously stated, there are two types of initiation payments; (i) initiation

    fees that are not refundable and (ii) initiation deposits that are refundable and forgivable by the




                             Scott Douglass & Mcconnico LLP I Attorneys at Law
303 Colorado Street, Suite 2400, Austin, TX 78701 l p : 512.495.6300   f: 512.495.6399   1   www.scotldoug.com
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rnembers (the "loans"). Both forms qf initiation payments have unique characteristics,

However, and importantly, neither form of initiation payment is held by ClubCorp or the

individual dub for the account of the paying rnernber and neither rnay be used by the paying

rnember to satisfy or offset against that rnernber's other financial obligations under the

Membership Agreement. Instead, ClubCorp may, and has, used the initiation payments at its

discretion. The initiation payments have been used for working capital and neither form of

initiatlon payment was,.or is, held in security, reserve or in any escrow account.

       When a mernber makes an initiation payrnent in the forrn of an initiation deposit upon

joining a club, the arnount is. refundable upon written dernand so long as the demand is made

thirty (30) years after the rnember Joined the club, The amount paid is treated by CIUbCorp as

a non-interest bearing loan a.nd pursuc1nt to the Membership Agre1;ment, the respective

ClubCorp club will repay the loan amount to the member (or the member's heir or successor)

upon such timely request ClubCorp is not aware of any circumstances in which         a club has
failed to refund a matured loan payment upon receiving a request from the. rnernber or his/her

representative, including a famil}' member.

        Audit Services, the Comptroller's third-party contingent fee auditor,. has taken the

position on behalf ofthe Comptroller that these loans qualify as unclaimed property because

the Membership Agreements use the word "deposit" to describe the initiation payment.

ClubCorp disagrees that the l.oans are unclaimed property under Te><as law.
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                                      LAW & DISCUSSION

        A.     Texas Law specifically provides that parties to a contract can jnterprgt and even
               modify it through their course of performance.
        In our last meeting counsel for the agency noted the Membership Agreements

ClubCorp had submitted referrec:1 to the initiation payment as a •tdeposit" instead of using the

word "loan." Irrespective of the use of the word "deposit," course of dealing illustrates the

parties have consistently treated the initiation payments as a loan. The course of performance

between the parties can be demonstrated in a wide variety of ways including direct testimony,
 ,,i)

implication from the conduct of the parties, and the particular facts and circumstances of the

case. See Tillison v, Bailey1 No. 06-05-00071-CV, 2006 WL 1445611, at *4 (Tex. App........,

Texarkana May 26, 2006, no pet.} (finding a modification of the original contract's payment

terms through among other things, the conduct of the parties). The course c,f performance by

ClubCorp and its members clearly establishes these initiation payments were in fact forgivable

loans. -- not deposits.

        Texas law has also long recognized that the parties to a contract can by their own

conduct modify terms in the contract. fyjimotoy. Rio Grande      Pickle Co,, 414 F.2d 648, 656
(5th Cir. 1969) (holding under Texas law that contrary written language was modified by

parties' performance and stating that "[i]t is well established that parties to a contract can, by

mutual agreement, modify or rescind a contract and adopt in its stead a new agreement. An

agreement to change the terms of a contra.ct may be shown by the conduct of the parties, as

well as by evidence of an explicit agreement to rnodify."}. In Enserch Corp.    y. Rebich, 925
S.W.2d 75, 83~84 (Tex. App.-Tyler 1996, writ dism'd) a Texas Court of Appeals held a local

distribution compc1ny's course of performance in paying lower prices to natural gas producer
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under a gas contract, combined with .the producer's conduct in accepting the lower prices, was

effective to modify the original contract.

                  1.      Deposits are generally used to secure future payment.

          Unlike a deposit designed to secure future payment, the Membership Agreements do

not permit the member to offset any charges against the initiation payment. ihe purpose of

the loan during its term is for the discretionary use of ClubCorp's club, not the member. We

do not see why your Office would dispute that the relationship of club members to the

business operating the club fundamentally differs from the relationship of consumers of goods

and services with an ordinary commercial business. 1 The agreements that the ClubCorp clubs

have with their members establishes fees, rules,. and regulations, not only to provide revenue

for the operating businesses, but also to promote the common goals of the clubs' members.

The revenue plan for each club must be calculated to provide for both services and fac;ilities to

continue indefinitely for the benefit of the members.

          ClubCorp can easily establish that members made the initiation payments to fund the

working capital needs of the ClubCorp club they and their guests use. The Membership

Agreements do not require that the member make a long-term financial commitment to remain

a member, and the member may make the choice to forgive that member's loan after maturity.

This is an element not found in a traditional deposit agreement such as deposit to secure cable

1V or natural gas service to a residence.




1
    When construing a contract, courts must be mindful of the business activity sought to be served.
 Gamma Group, Inc. v. Transatlantic Reinsurance Co., 242 S.W.3d 203, 214 ITex.App.-Dallas 2007, pet.
denied).
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                2.      Deposits are often held in separate accounts.

         The non-deposit character .of the initiation payments is consistent with the result in the.

only case ClubCorp has found dea.ling with whether club "depositstt eschet;1t to the state if not
reclaimed. In Quall Creek Golf and Country Club v. Oklahoma Tax Comm'n, 913 P.2d 302

(Okla. 1996), the club required each member to purchase a $500.00 twenty-year bearer bond
so that that the dub could finance sorne improvements. "The club never created a sinking

fund or other money account from which to redeem the bonds. Instead, the bonds were listed
as an item of long-terrn debt in the club's financial statements.'' Id, 913 P.2d at 303. When

the bonds matured, some of them were not redeemed by their holclers. Aft:er five years, the

club decided to retire the bonds because the statute of limitation for presentment had run.

         The Oklahoma Supreme Court reversed a previous finding the bonds were unclaimed

property agreeing with the club which argued that general debt funds not segregated in an

asset account were not subject to the applicable unclaimed property requirements. The Court

ruled:

                 Neither version of the Act applies to the bonds which the Club
                 issued because no money account or sinking fund was created to
                 redeem them.


Id, 913 P.2d at 304. (emphasis suppl.ied) In essence, Quail Creek stands for the proposition
that while "monies deposited to redeem bonds" may be escheatable, where a club never

deposits any s.uch "monies" into t;1 segregated t;1Ccount means there is no obligation to

escheat.

         ClubCorp and its dubs did not set up segregated accounts to hold the loans for the

thirty years. The loans received from members were immediately available for club use as
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general operating funds. When a member becomes eligible to request repayment, and does

so under the terms of the individual Membership Agreement, re.. payment is made out of

general funds-not any specific: reserved account for the loans or for .repayment of the loans.

               3.     Secured deposits are generally disbursed in accordance with the
                      depositor's instruc:tions.

       These loans also do not serve as a bank deposit, where a bank generally agre.es to

disburse the funds only in accordance with the depositor's instructions. See; e.g., La Sara

Grain Co. v; F/rstNat. Bank of Mercedes, 613 S.W.2d 558,564 (Tex.1984). A member may not

instruct the club to offset charges against the initiation payment, nor instruct the club to refund

the initiation payment in contradiction of the terms ohhe loan. Unlike a secured bank deposit,

the initiation payment is used   by the club in its discretion and not at the direction ofthe
member.

       B.      Escheatment of the initiation payments will result jn a triple recqvery of the
               initiation payments and the federal and state taxes paid on the forgiveness of
               debt income.

       We noted in our initial written submission that a 1996 IRS Memorandum determined a

matured unclaimed initiation payment creates new income not abandonment:

               C.lea. rly the S. ervice should inve.$1:igate potential adJustm. en.ts in
               this case for IDs which are scheduled for refund after [redacted]
               years but are not refunded. We suspect that it would not be
               unusual for taxpayer to lose track of some members after
               {redacted] years. [Redacted] must recognize discharge from
               indebtedness. income for deposits after [redacted] years. See,
               I.R.C. § 61(a)(12). ~~section 108. [Bold emphasis added.}

Pursuant to that IRS requirement, since 1996 ClubCorp has included in its federal taxable

income matured unclaimed initiation payments and has paid tax on that income.. In addition,
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ClubCorp has faithfully included the discharge of indebtedness Income in its reported Texas

franchise tax base under both the prior and current version of the Texas franchise tax. The

State of Texas has directly benefited from franchise tax.payments on the very income it now

seeks to reclassify as abandoned property. In addition, ClubCorp is barred by the four year

statute of limitations from filing refund claims to recover franchise taxes it previously paid.

ClubCorp would be potentially subject to a triple whipsaw of the return of initiation payments

that years ago were used for the benefit of the clubs' members, the inability to recover

previously paid federal corporate income tax for years prior to 2013 under the federal three

year statute of limitations, and the inability to recover Texas franchise tax paid prior 2012 under

the state's four year statute of limitations. This would hardly be fair or consistent with Texas

public policy,


                                          CONCLUSION
        Escheats are not favored by the law. See,    Roblns v. State, 87 S.W.2d 297,298
(Tex.Civ.App.,-EI Paso 1935, writ dism'd). Any doubt as to whether property is subject to

escheat is resolved against the State. 34 Tex. Jur. 3d, Escheat, § 2, citing Taylor v. Br:mham, 46

U.S. 233 (1847}. In this instance, these policies together with the terms of the Membership

Agreements as bolstered by the course of performance, and ClubCorp's tax treatment of the

loans, which the State has benefitted by, do not support escheat claims by the Comptroller.

 Pursuing escheatment of private agreements and transactions between parties that provided

the parties the intended benefits of a loan is unwarranted.
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            PageB




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            ~ tr\~bv-...,r...,~
            Steve McConnico                         R ph Du gins
            Curtis J .. Osterioh                    Cantey Hanger LLP
            Scott Douglass & McConnico LLP          600 West 6th Street, Suite 300
            303 Colorado, Suite 2400                Fc,rt Worth, TX 76102
            Austin, TX 78701                        817.877.2824
            512.495.6300                            ajuggins@canteybanger.com
            smcconnicg@scottdoug.com




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       GLENN REGAR                          TEXAS COMPTROLLER OF PUBLIC ACCOUNTS

                                       P.O.Box 13528 • Austin.TX 78711-3528



     September 30, 2015



     Mr. Curtis Osterloh
     Scott, Douglas & Mcconnico LLP
     303 Colorado Street, Suite 2400
     Austin, Texas 78701

     Re: Resolution of claims against ClubCorp, Inc. subsidiaries holding initiation fees
         due to members whose last known addresses are in Texas

     Dear Mr. Osterloh:

     The Comptroller of Public Accounts (CPA) makes the following offer in full settlement of all
     unclaimed property liability for initiation deposits due and held by ClubCorp, Inc. and its
     affiliated entities (collectively, "ClubCorp"):

          1. Within 60 days of agreeing to the terms herein, ClubCorp will contact all former and
             current members who paid initiation deposits prior to March 1, 1985 and whose last
             known addresses are in Texas ("Texas Members''). The written communication will be
             sent to the last known address, advise the Texas Member of the amoµnt of the initiation
             deposit and ask whether the Texas Member requests that the initiation deposit be
             refunded or retained by ClubCorp. The communication will include a form, returnable to
             ClubCorp, in which the member chooses whether the refund will be returnable to the
             member or may be retained by ClubCorp ("election form").

                  The election form will be returnable within 30 days of the date of the ClubCorp
                  correspondence and state that if the election form is not received by ClubCorp within 30
                  days of that date, the initiation deposit will be paid to the Texas Comptroller of Public
                  Accounts Unclaimed Property Division.

                   Within 30 days of receipt of the election form, ClubCorp will refund those initiation
                   deposits that Texas Members have elected to have refunded.

          2. Within 30 days of agreeing to the terms herein, ClubCorp will allow Audit Services U.S.,
             LLC (the "Auditors1') to review the records of all operating affiliates with Texas
             Members.

                  Within 120 days of agreeing to the terms herein, ClubCorp will provide the Auditors, in
        --:::.--'lb..
               ~1
        ~<:.'""'             ormat requested by the Auditors, a report including the names of all Texas Members
      t ..,._,_,"__,.,,..;.% id not respond to the election form ("nonresponding Texas Members"), those
      \                    "" sponding Texas Members' last known addresses, the amount of the initiation
:c      'ti 1'1;x1,.'ii R


                    Comptroller.Texas.Gov   •   51 2·463·4000   •   Toll Free 1-800-5 31 •5441   •   Fax 512-305·9711
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                      Mt; Curtis Osterloh
                      September 30, 2015
                      Pa$eTwo


                                                            deposits and.all other information set forth in Property Code Section 74.101, ClubCorp
                                                            will remit to the Comptroller the aggregate of the initiation fees set forth irt the report
                                                            provided.to the A:µditor at the time the report is provided to·the auditor.

                                      4. ClubCorp will commence filing annual reports and submitting payments for those
                                         initiation fees. that become due during the twelve month period ending March I of each
                                         year that were not retµmed to Texas Members or kept by ClubCorp by agreement. The
                                         first such report will be due on July 1, 2016,                          ·

                                          5. If the time parameters set forth in this offer are·met by ClubCorp, the Comptroller will
                                             waive the statutory penalty and interest set forth in Property Code Section 74. 705 and
                                             74.706.

                          Please note that CPAis offer to waive interest and penalty relates solely to the matters proposed
                         to be resolved through this offer and does not prejudice CPA's rights to collect statutory interest
                         artd penalty in connection.with any other uncfaimed property matters involving ClubCorp or any
                         subsequent action to enforce the Unclaimed Property statutes; the offer of waiver likewise does
                         not apply if this offer does not result in ,I resolution pf this matter in the immediate future under
                         the time line set forth herein.

                          1f you would like to discuss this proposal further, I invite you to contact Joani Bishop, director of
                          Unclaimed Prpperty Dhifsion, ,at St 2-463-4557 or Joani.Bishop@cpa.texas.gov.




                           cc;: Joani Bishop




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            EXHIBIT I
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                  TEXAS COMPTRQLI.t~R QF PUBLlC ACCOUNTS

                                 tJni;lai:meci Property Division
                            P.O.Box 12046 • AU$tin, 'l"X 78711-8046




    February 29, 2016


    Mr. Todd M. Pupuis, CPA
    Chief Accounting Officer
    ClubCorp, Inc.
    3030 LBJ freeway - Suite 500
    DallasTexas 75234-7703

    Dear Mr. Dupuis:

    The Comptroller's .office au.thorized Audit Services U.S., LLC to conduct an unclaimed
    property audit for the years 1998 to 2008 of your company on July l 7, 2008. Despite
    numerous requests PY the auditor and Comptroller'S office, CiubCorp has failed to
    provide the membership deposit records required lo complete this audit Dueto the hick
    of progress, the Comptroller's office has decided to extend the audit period to include
    membership deposits reportable as unclaimed property as .of July 1, 2015..

    At your request, we sent two staff to your office on February l 0, 2016, in one more effort
    to obtain the information. Unfortunately; during that meeting Clµb Corp failed. to provide
    pur staff with the requested membership deposit source information. Without being able
    to review source documents and complete membership account information, we cannot
    determine the accuraqy 9f the $5.8 million amount ClubCorp quoted as abandoned
    membership deposit funds due to Texas,

    In an effort to resolve this matter, this office is giving Club Co1-p a final opportunity to
    comply with the auditor and Comptroller requests for the membership account source
    information. Attachment A. details the membership deposit accmtrtt information and other
    company records we require to complete our review. Please submit the requested
    information 110 later than March 29. 20161 in an electronic format that is easily
    searchable.

    Additionally, ClubCorp must commence filing annual reports and submitting payments
    for those initiation deposits that become abandoned during the twelve month period
    ending March 1 of each year that were not returned to the owner whose last known
    address is jn Texas. The first such report will be due on July l, 2016.

         reminder, Texas Property Code Section74.702 states, ''the comptroller, attorney
            r an authorized agent of either, may examine the books and records of any


-            exas Property Code Section 74.709 provides that, in addition to penalties @d
              holder who fails to pay or file a property report timely, is subject to a civil


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Mr. Todd M. Dupuis
February.29, 2016
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penalty not to exceed $100 per day for each day the report or payment is delinquent.

While this office seeks to resolve this matter whhout the need for legal action, ClubCorfs
failure to provide the requested information by the requested date muy leave this office
with no other options.

If you have questions about uny of the items included in Attachment A, contact Valerie
Davis or Matthew Angus at upac.udministration@cpa.tex11s.gov or 844-519-5675.

Sincerely.


~~
Joani Bishop
Director

Enclosure

cc:     Phillip Ashley. Associate Deputy Ce>mptrolter
        Serena. Kuvet. Assistant General Counsel




                                         ClalmltTexas.org
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                                 ATTACHMENT A
                       Records Required for Comptroller Review

  •    Company chart of accounts
  •    Company trial balance for 2014
  •    2014 general ledger detail for all membership deposit accounts
  •    For each club ever affiliated with CiubCorp, Inc.:
          ►     the club name;
          ►     company-assigned club number;
           ►    operation begin date; and for clubs already in operation when ClubCorp
                acquired them, the date the club opened, and when ClubCorp began
                operating it;
           ►    operation close and/or dissolution date, if applicable;
           ►    complete physical address;
           ►    dba name, if applicable~ and
           ►    any outstanding membership deposit amounts for the closed and/or
                dissolved clubs
   •   For each membership deposit account:
            ►   the account number;
            ►   member name;
            ►   company-assigned club number;
            ►   member's last known address;
            ►   initial deposit maturity date~
            ►    all debits and credits made to the account; and
            ►   current account balance
   •   List of all refunded, transferred or kept by agreement membership deposits and
       the supporting documentation
   •   List of all dormant membership deposits transferred to another account and a
       transaction history of the account.

Additional information may be needed as the above data is analyzed.




                                          ClalmltTexas.o,g
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            EXBIBITJ
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                    TEXAS COMPTROLLER OF PUBLIC ACCOUNTS

                                   Unclaimed Property Division
                               P.O. Box 12046 • Austin, TX 78711-2046




December 15, 2017



Mr. Eric L. Affeldt
Chief Executive Officer
Constellation Club Parent, Inc.
Constellation Merger Sub Inc.
ClubCorp Holdings, Inc.
3030 LBJ Freeway, Ste 600
Dallas, Texas 75234

RE: Demand for Overdue Unclaimed Property Payment and Report

Dear Mr. Affeldt:

As you are aware, on July 17, 2008, the Texas Comptroller of Public Accounts (Comptroller) authorized
Audit Services U.S., LLC to conduct an unclaimed property audit of your company for the years 1998 to
2008. In correspondence from this office to Mr. Todd M. Dupuis, Chief Accounting Officer of
ClubCorp, Inc., dated February 29, 2016, your company was informed that, due to ClubCorp's refusal to
provide membership deposit records necessary to complete the audit, the decision had been made to
extend the audit period to include membership deposits reportable as unclaimed property as of July 1,
2015. Further, this office urged ClubCorp to provide the requested membership deposit information no
later than March 29, 2016, and to commence filing annual reports and delivering payment of abandoned
initiation deposits, with the first such report to be submitted no later than July 1, 2016. Your company
was advised that this would be its "final opportunity", and that under Texas law, a holder of unclaimed
property who fails to make a required payment or file a property report in a timely manner may be
assessed penalties and interest, and is subject to the imposition of civil penalties not exceeding $100 per
day for each day the payment or report remains delinquent.

Since the date of the aforementioned correspondence the Comptroller has yet to observe any meaningful
effort on ClubCorp' s part to resolve the matter of its outstanding unclaimed property liabilities. Rather,
ClubCorp has consistently declined to make complete source records and other requested information
available, despite having been afforded ample time and opportunity to do so. Accordingly, the
Comptroller has estimated amounts due based on the best information available.




                                              CfaimltTexas.org

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Mr. Eric L. Affeldt
December 15, 2017
Page Two


This letter serves as a formal demand by the Comptroller's office for payment by ClubCorp Holdings,
Inc., its wholly owned subsidiaries, predecessors, successors, parents, divisions, affiliates, joint ventures,
and operated businesses (ClubCorp) of $53,425,800.00 to the State of Texas. This amount represents
Texas' estimated pro rata share of matured membership initiation deposit properties presumed
abandoned under Texas Property Code Section 72.001 et seq., which ClubCorp is holding in violation of
Texas law.

The Comptroller further demands that, together with this payment, ClubCorp deliver a report of the
names and last known addresses of the rightful owners of any portion of these funds, in accordance with
the reporting requirements set forth in Texas Property Code Section 74.101 et seq. Payment and
delivery of the required reports must be made no later than February 19, 2018 to:

                         Texas Comptroller of Public Accounts
                         Unclaimed Property Division
                         P.O. Box 12046
                         Austin, Texas 78711-2046

The Comptroller will waive penalties and interest if ClubCorp makes full payment of the demanded
amount and delivers the complete reports to the Comptroller by the date stated herein. Otherwise the
Comptroller will assess penalties of $5,342,580.00 and interest of $25,534,564.30 which continue to
increase with time.

The $53,425,800.00 figure provided above is based upon the best information available to the
Comptroller as of the date of this correspondence, using data (further described in Attachment A to this
letter):

    1. regarding current liability amounts attributable to matured and unpaid membership initiation
       deposits as of June 13, 2017, as reported by ClubCorp Holdings, Inc. in its Quarterly Report
       submitted to the Securities and Exchange Commission pursuant to Section 13 or 15(d) of the
       Securities Exchange Act of 1934 and for the quarterly period ended June 13, 2017;

    2. regarding the number and location of ClubCorp business, sport, alumni, golf and country clubs
       and facilities:

             a.   as described by ClubCorp to the Comptroller via electronic mail on January 20, 2015
                  (Clubs by state-Attachment A) and

             b. as reflected on the "global company list" submitted by ClubCorp to the Comptroller via
                electronic mail on April 13, 2016 (in attachment labeled "CC Entity List"); and

    3. regarding gross receipts or sales reported by ClubCorp in franchise tax reports filed with the
       Comptroller during report years 2008-2016.

The Comptroller reserves the right to adjust this amount should it become aware, through audit,
discovery or otherwise, that additional overdue unclaimed property is owed, and to reflect the imposition
of all interest and penalties that may be assessed under Texas Property Code Chapter 74 against a holder
of ·        ent property.


                                                ClaimltTexas.org
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Mr. Eric L. Affeldt
December 15, 2017
Page Three



ClubCorp's failure to comply with this demand or to meet the deadline stated above may result in the
State of Texas taking legal action to enforce its rights, as well as the rights of its citizens and residents.

Please be advised that under Texas Property Code Section 74.709, the Attorney General of Texas is
authorized, on request of the Comptroller of Public Accounts, to bring an action in district court to
compel a holder to deliver unclaimed property or to file a property report. In addition to penalties and
interest, the Attorney General may recover reasonable legal fees. Further, failure on the part of a holder
of unclaimed property to comply with an audit, or with a demand for payment of unclaimed property or
delivery of a report may constitute a criminal offense under Texas Property Code Section 74.710, for
which violators are subject to punishment as a Class B misdemeanor.

To ensure that compliance with these demands can be verified, and in anticipation oflitigation in the
event that ClubCorp's cooperation and compliance is not received, the Texas Comptroller of Public
Accounts reasserts its demand that ClubCorp preserve all documents, tangible things and electronically
stored information potentially relevant to this matter.

If you have any questions regarding this demand for payment and report, you may contact Matthew
Angus at (844) 519-5675 or by email at upac.administration@cpa.texas.gov.

Sincerely,




Joani Bishop
Director

cc:   Phillip Ashley, Associate Deputy Comptroller
      Texas Comptroller of Public Accounts
      Mr. Steve Mcconnico
      Scott, Douglass & McConnico, LLP

      Ms. Ingrid Keiser, Mr. Mark Burnett, Mr. Curt D. McClellan
      Constellation Club Parent, Inc.
      ClubCorp Holdings, Inc.
      Mr. Leon Black, Mr. Joshua Harris, Mr. Marc Rowan
      Apollo Global Management, LLC

Attachment




                                                 ClaimltTexas.org
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Attachment A




                                                                 Texas Club% of
                                                                 Po ulation                                            i
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AR              1 AL              S Clu~•.~y~tate
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           EXHIBITK
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 95 of 207



 SCOTT
 DOUGLASS
 McCONNICO                                      February 9, 2018


    VIA EMAIL joani.bishop@cpa.texas.gov
    AND HAND DELIVERY
    Joani Bishop
    Texas Comptroller of Public Accounts
    Unclaimed Property Division
    111 East 17th Street
    Austin, TX 78701

    Re:       Comptroller Demand

    Dear Ms. Bishop:

            This letter responds to the Texas Comptroller's demand letter ("Demand") that is dated
    December 15, 2017 and was received by ClubCorp Holdings, Inc. ("ClubCorp") on December
    21, 2017. The Demand pertains to initiation payments made by club members to their
    individual clubs, each of which is a registered spedal-purpose entity (SPE). The Demand,
    however, iS directed to the clubs' indirect parent company, ClubCotp. To the. extent that the
    Demand has any rnerit, which ClubCorp continues to contest, the Demand is misdirected
    because ClubCorp is not the statutorily defined "holder" of the initiation payments at issue. 1

              The Demand identifies Chapter 7 4 of the Unclaimed Property Act?- as the basis for
    ClubCorp's purported obligation to (1}. provide the Comptroller with a report relating to
    initiation payments presumed abandoned under Chapter 72 of the Act, and (2) pay the State of
    Texas $53,425,800.00, which is characterized as representing "Texas' estimated pro rata sharel'
    of mah.ired initiation payments presumed abandoned under Chapter 72 of the Act and as
    being based "upon the best information available to the Comptroller[.]" 3 Demand at 2. Also
    in reli,;ince on Chapter 74 of the .Act, the Demand threatens an assessment of interest and


     1
       While ClubCorp has not reiterated herein the reasqns for its position that the initiation payments are
     not. subject to the Unclaimed Property Act (Tex. Prop, Code §§ 71.001-76.704), ClubCorp respectfully
     refers the Comptroller to its prior communications regarding the inapplicability of the Act. ClubCorp is
     willing to provide further explanations and submit further briefing upon your request.
     2
         Tex. Prop. Cqde §§ 71.001-76.704.
     l The data in Attachment A to the Demand is characterized as the ''best information available" to the
     Comptroller. ClubCqrp disputes that characterization, as the Comptroller itself has contended
     previously that $5.8 million is the amount at issue for the audit period ending in 2008. ClubCorp also
     disputes the Comptroller's use of the data ih Attachment A as the basis for estimating the amount of the
     initiation payments at issue. At best, the data reflect nothing more than the type of estimate, or
     reasonable approximation, that the United States Supreme Court has rejected as a basis for determining
     th       -!...~~be escheated. See Delaware v. New York, 507 U.S. 490,508, 1135. Ct. 1550, 1561 m(1993···).
                                                                                                              :
                   s
                  J            Scott Douglass & Mc:Connico LLP   I Attorneys at Law                        K
303 Colorado Street, Suite 2400, Austin, TX 78701     p : 512.495.6300     f: 512.495.6399    www,scottctoug.com
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Joani Bishop
February 9, 2018
Page 2

penalties, a civil proceeding that would include a request for attorney's fees, and potential
criminal liability if ClubCorp does not provide the report and payment demanded. Id at 2-3.

       On its face, Chapter 74 of the Unclaimed Property Act applies only "to a holder of
property that is presumed abandoned under Chapter 72" of the Act. Tex. Prop. Code
§ 74.001(a) (emphasis added);4 accord Highland Homes Ltd v. State, 448 S.W.3d 403, 409
(Tex. 2014). The term "holder" is defined to mean "a person, wherever organized or
domiciled, who is: (1) in possession of property that belongs to anotheri (2) a trustee; or (3)
indebted to another on an obligation." Tex. Prop. Code § 72.001(e). This definition of
;'holder'' has been part of the Unclaimed Property Act since 1987. Act effective Sept. 1, 1987,
70th Leg., R.S., ch. 426, § 2, sec. 72.001,1987 Tex. Gen. Laws (codified at Tex. Prop. Code
§ 72.001 (e)).

        Like the Unclaimed Property Act itself, Texas courts have made it clear that a person
(including an entity) is not subject to Chapter 74 of the Act in relation to any purportedly
abandoned property unless the entity is a "holder" of that property. For example, in Highland
Homes Ltd, the Supreme Court of Texas conduded that the Act did not apply to a c,y pres
award consisting of undistributed class-action settlement funds and, as part of its analysis,
rejected the State's assertion that the settlement administrator was a "holder'1 of the funds.
448 S.W~3d at 410-11; see also id. at 411 ("The settlement administrator no longer has
property belonging to the settlement class members and is not indebted to them because they
have agreed, through class representatives, to exercise their right to payment under the
settlement agreement within 90 days.... Thus, the settlement administrator is no longer a
'holder' to which Chapter 74 applies.").

        In Metromedia Restaurant Services, Inc. v. Strayhorn, the Third Court of Appeals
addressed "the requirements to be a 'holder"' in relation to two subsidiaries-Steak & Ale of
Texas, Inc. ("Steak & Ale") and Metromedia Restaurant Services, Inc. ("Metromedia")-and
their parent company, S & A Restaurant Corporation ("S&A"). 188 S.W.3d 282, 284 (Tex.
App.-Austin 2006, pet. denied}, The case involved unclaimed wages of Steak & Ale
employees. Id Annually, Metromedia prepared unclaimed-property reports relating to the
unclaimed wages on S&A's behalf, and S&A submitted the reports and funds to the
Comptroller. Id at 285. But through an audit conducted at Metromedia's office, the
Comptroller reviewed S&A's and Steak & Ale's financial records and discovered that, for
several years, S&A had retained a $15 processing fee for each unclaimed check from the funds
that S&A delivered to the Comptroller. Id In seeking to recover the retained funds, the
Comptroller assessed Metromedia but did not assess S&A or Steak & Ale. Id Metromedia
disputed the assessment via a declaratory judgment action, the Comptroller answered and
filed counterclaims against Metromedia for delivery of the retained funds and penalties, and
the two parties were ultimately realigned by agreed order. See id
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Joani Bishop
February 9, 2018
Page 3


        At trial., the Comptroller contended that Steak & Ale, Metromedia, and S&A were "all
holders of the unclaimed property at issue[,]" even though Metromedia was the only named
party. Id The jury agreed and also found that Metromedia "'operated as a single business
enterprise"' with S&A and Steak & Ale. Id. The trial court entered judgment against the three
entities, jointly and severally, for the retained funds, statutory penalties, and attorney's fees. Id

         The court of appeals analyzed the roles of and relationships among the entities, as well
as the flow of the funds at issue, and held that Metromedia was not liable for a failure to remit
the funds because there was insufficient evidence that it was a "holder" of those funds, as
required by Chapter 74 of the Unclaimed Property Act. Id at 285-89.5 The court rejected as
evidence of "holder" status the fact that Metromedia (1) handled payroll responsibilities for
S&A and its subsidiaries, (2) had an account on which some of the unclaimed payroll checks at
issue were written, (3} provided "home office administrative services" to S&A and Steak & Ale,
(4) provided c;1dministrative services with respect to the reporting of the unclaimed wages, and
(5) maintained the books and records for both S&A and Steak & Ale. See id at 284, 288-89.
The court also concluded that 1'[e]vidence to the effect that funds for clairnedwages, ie., funds
for checks. presented for payment, would pass through the Metromedia account [was] not
evidence that Metromedia [possessed] funds representing the unclaimed wages of Steak & Ale.
 . . . employees.'' Id at 289. Finally, the court deemed it noteworthy that Metromedia's bank
 account, like all of S&A's other subsidiaries' accounts, was a zero-balance account. Id at 288.

         As in Metromedia, the Comptroller is pursuing the wrong entity here to obtain the
property it contends is abandoned and subject to Chapter 74 of the Unclaimed Property Act.
More specifically, ClubCorp is not the "holder" of the property at issue-Le., the matured
membership initiation payments-even if that property is subject to the Unclaimed Property
Act, As a starting point, members delivered the initiation payments to individual clubs-i.e., to
ClubCorp's subsidiaries, not to ClubCorp. Each club is a registered, functioning SPE with its
own books and records, including separate balance sheets a.nd profit-and-loss statements.
Each club recorded its members' initiation payments on its books and used those payments to
fund its operating expenses or its capital expenditures.6 Consistent with the IRS field advice
that is referenced in ClubCorp's April 2015 white paper directed to Frances Torres, the
initiation payments are treated as long-term debt for the 30~year period in which members
loan the payments to their respective clubs-with the liability reflected on the books of each of
the individual clubs at issue-and, when initiation payments are not returned to members, they

5 In Metromed1';J,. the two "holder" definitions at issue were (1) a person in possession of property that
belongs to another and (2) a person indebted to another on an obligation. Metromedia, 188 S.W.3d at
288 (referring to Tex. Prop. Code § 72.001(e)(1), (e)(3)). Presumably, the Comptroller is assuming one or
both of these definitions also apply to ClubCorp, as there is no colorable argument that ClubCorp is
susceptible to the "holder" definition of "trustee" in Section 72.001 (e)(2) of the Unclaimed Property Act.

            the clubs that received the initiation payments vary in operation and financial strength, the
                iated with running a club typically exceed the initiation payments received by that club.
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Joani Bishop
February 9, 2018
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are recognized as discharge-of-indebtedness income. Both the federal government and the
State have benefitted from that treatment, via discharge-of-indebtedness-income taxation.

         Similar to Metromedia's role in relation to S&A and its other subsidiaries, ClubCorp
assists with the maintenance of the books and records for the individual subsidiary clubs,
provides administrative services to the clubs, and facilitates a.ny audits of the clubs. ClubCorp
also implements a centralized cash-management process that results in cc;1sh received by clubs
passing through ClubCorp's bank account. lntercompany movement of money is documented
on ClubCorp's records and on the individual clubs' records. Of note, however, initiation
payments are not earmarked or segregated from other cash in ClubCorp's account. Rather,
recordation relating to initiation payments is handled at the club (subsidiary) level, as it is the
clubs. that receive the initiation payments and use the initiation payments to cover their
operating expenses or capital expenditures. Upon demand, an amount equivalent to the
initiation payment previously received (at least 30 years prior to the date of the demand) can
be paid to the member or the member's heir. While the amount returned may be pulled from
ClubCorp's bank account, Metromedia makes clear that this fact does not render ClubCorp a
''holder" under the Unclaimed Property Act.

       The Demand suggests that the Comptroller Wants to sidestep the "holder" issue by
lumping ClubCorp together with "its wholly owned subsidiaries, predecessors, successors,
parents, divisions, affiliates, joint ventures, and operated businesses" and demanding payment
from them collectively. Demand at 2. That approach ignores the definition of "holder'' in
Section 72.001 (e) of the Unclaimed Property Act, ignores Metromedia, and ignores the general
rule against disregarding the existence of a corporation (such as ClubCorp) as a separate legal
entity. See, e.g., SSP Partners v. .Gladstrong Investments (USA) Corp., 275 S.W.3d 444, 455
(Tex. 2008) ("We have never held corporations liable far each other's obligations merely
because of centralized control, mutual purposes, and shc1red finc1nces. There must also be
evidence of abuse . . . . Such abuse is necessary before disregarding the existence of a
corporation as a separate entity."). In sum, ClubCorp is not the ''holder" of the initiation
payments and cannot be deemed as such simply because of its relationship to individual clubs.

       Although ClubCorp continues to contest that the initiation payments at issue are
subject to the Unclaimed Property Act, ClubCorp is wHling to continue to work with the
Comptroller. Please let me know whether the Comptroller is willing to schedule a meeting to
address the matters at hand, and please contact me if you have any questions about this letter.
         Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 99 of 207




Joani Bfshop
February 9, 2018
Page5

cc:       Matthew Angus, via email, upac@administration@cpa.tex.as.gov
          Phillip Ashley, via email, phillip.ashley@cpa.texas.gov
          Steve McConnico, via email, smcconnico@scottdoug.com
          Kennon l... Wooten, via email, kwooten@s.:ottdoug.com




      I, VB..VA L PRICE, District Clerk. TrmfJS C<wnty.
      Texu, do hereby certify that this Is a true and
      corroot copy as tmme appears of record in my
      offict:t. WitrlM$ my hand and ie&i of offiee
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              By Deputy:   es
              DISTRICT CLERK
                                                             By SalmonC at 1:29 pm,
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 100 of 207


                                                   C I T A T I O N
                                       T HE      S T A T E     0 F     T E XA S
                                            CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                 , Plaintiff
      vs.
CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC., WALNUT CREEK                    , Defendant
MANAGEM.ENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB 1 INC; HILL
COUNTRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORT.ER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOOSE
CORPORATION, D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, INC .. D/B/A HALIFAX CLUB, INC. OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
MISS D/8/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO,INC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.

TO:   OK 2001 BRYAN TOWER CLUB INC.
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      10300 GREENBRIAR PL.
      OKLAHOMA CITY, OKLAHOMA 73159-7653

Defendant, in the above styled and numbered cause:

YOO HAVE BEEN SUED.     You may employ an attorney. If you or your attorney do not file a written
answe:i;- with the clerk who issued this citation by 10:00 A.~. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFFS ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JAi.~UARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GWEN UNDER MY HAND AND SEAL of said Court at office, January 10, 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                 Velva L. Price
PO BOX 12548                                                             Travis Coun~ District Clerk
AUSTIN, TX 78711-2548                                                    Travis CoUn~ Courthouse
BlJSINESS PHONE: (512) 936-1313 FAX: (512) 477-2348                      1000 Guadalupe, P.O. Box 679003 (78767)
                                                                         Austi~ TX 78701


                                                                        PREPARED BY: RUBEN TAMEZ

                                                      RETURN
Came to hand on the             day of                        _ _ _ _ at _ _ _ _ o'clock _ _M., and
executed at - - - ~ - - - - - - - - - - - - - - - - - - - - - within the County of
_ _ _ _ _ _ _ _ _ _ _ on the _ _ day of                    _ _ _ _ , at          o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together with the PLAINTIFFS ORIGINAL PETITION, LAWYER
                      ing pleading, having first atta.ched such copy of such citation to such copy of
                       ed oh such copy .of citation the date of delivery.


                                                                     Sheriff/ Constable/ Authorized Person
                 Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 101 of 207



Sworn to and subscribed before me this the                           By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


       day of _ _ _ _ _ __
                                                                     Printed Name of Server


                                                                     _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas

Notary Public, THE STATE OF TEXAS

D-l-GN-19-000119                                             SERVICE FEE NOT PAID             POl - 000073350
l'.JJ Original            O,service Copy




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            Texas, do hereby cemiy that this Is a true and
            comKlt copy as     :same appears of record In my
            offtc(e.   Witneu my hand and Hal of   ()fflee
            On _ _ _ _ _ _ _ _ _ _ _~ - - -


                           VAL. PRICE
                                                                       APPROVED
                        DISTRICT CLERK                                 By SalmonC at 1:2
                        By Deputy:   tS
               Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 102 of 207


                                                    C I T A T I O N
                                       T H E     S T A T E      0 F     T E X A S
                                             CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                  , Plaintiff
v.
CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP, D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC., WALNUT CREEK
MANAGEMENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
COUNTRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
CORPORATION, D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, INC. D/B/A HALIFAX CLUB, INC. OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSI'l'Y CLUB OF JACKSON,
MISS D/B/A UNIVERSITY CLtJB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO,INC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.      vs.

                                                                                                   , Defendant

TO:   OK VITA CENTER MANAGEMENT CORP., ALSO 0/B/A VITA CENTER MANAGEMENT CORP
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      10300 GREENBRIAR PL.
      OKLAHOMA CITY, OKLAHOMA 73159-7653

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.      You may employ an attorney. If you or your attorney do not file a written
answer '!(i.th the. clerk who issued this citation by 10:00 .rt..M. on the Monday next following the
expiration of twenty days after you were :,erved this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFFS ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 10, 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                          '-"...nr:1ve1va L Price
PO BOX 12548                                                                Travis County District Clerk
AUSTIN, TX 78711-2548                                                       Travis Coynty Courthouse
BUSINESS PHONE: (512)936-1313 FAX: (512)477-2348                            1000 Guadalupe, P .o. Box 679003 {78767)
                                                                            Austin, TX 78701


                                                                        PREPARED BY: RUBEN TAMEZ

                                                       RETURN
Came to hand on the              day of _ _ _ _ _ _ __         _____ at               o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                               on the       day of ~ - - - - - - - _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by                           within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in pers                                          together with the PLAINTIFFS ORIGINAL PETITION, LAWYER
                         C
REFERRA     citl::llrtll!a'l'ill.""m.ng plea.ding, having first attached such copy of such citation to such copy of
                 5
                     *
           cfl'J~~mli(orsed   on such copy of citation the date of delivery.
               Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 103 of 207



Service Fee:   $
                                                               Sheriff/ Constable/ Authorized Person
Sworn to and subscribed before me this the
                                                               By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      day of _ _ _ _ _ __
                                                               Printed Name of Server


                                                               _ _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas
Notary Public, THE STATE OF TEXAS

D-l-GN-19-000119                                       SERVICE FEE NOT PAID               P0l - 000073351
cB Original          i:Bservice Copy




          I, VELVA L PRICE, District   ~   Travis C<wnly,
          Texu, do hereby oonffy that this Is a true and
          comd copy as ume appears of record in my
          office. Witneo my hand and tiffll of otl'iM
          On-----------~----




                   By   Deputy:   ts                             APPROVED
                                                                 By SalmonC at 1:29 pm, F
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 104 of 207


                                                    C I T A T I ON
                                       T H E     S T AT E       0 F     T E XA S
                                             CAUSE NO. D-1-GN-19-000119

STAT.E OF TEXAS
                                                                                                  , Plaintiff
     vs .
CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC., WALNUT CREEK                     , Defendant
MANAGEMENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
COUNTRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
CORPORATION, D/B/A THE .RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, INC. D/B/A HALIFAX CLUB, INC, OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
MISS D/B/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO,INC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.

TO:   CITRUS CLUB,INC. ALSO D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      1201 HAYS STREET
      TALLAHASSEE, FLORIDA 32301-2525

Defendant, in the above styled and .numbered cause:

YOU HAVE BEEN SUED.      You may employ an attorney. If you or your attorney do not file a written
ans,i-eJ:' with the clerk who issued this citation by 10:00 A,M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFFS ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Te:x:as.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, Januaty 10, 2019.

REQUESTED BY:
ANN HARTLEY
                                                                                                      .
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                  Velva l. Prk:e
PO BOX 12548                                                              Travis counfy District Clerk
AUSTIN, TX 78711-2548                                                     Travis county COUl1:house
BUSINESS PHONE: (512) 936-1313 FAX: (512) 477-2348                        1000 Guadalupe, P.O. Box 679003 (18767)
                                                                          Austin.,TX 78701

                                                                        PREPARED BY: RUBEN TAMEZ

                                                       RETURN
Came to hand on the ___ day of _ _ _ _ _ _ __                at _ _ _ _ o'clock _ _M., and
e:x:ecuted at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
_ _ _ _ _ _ _ _ _ _ _ on the                day of _ _ _ _ _ _ _ _ _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together With the PLAINTIFFS ORIGINAL PETITION, LAWYER
REFERRAL              ing pleading, having first attached such copy of such citation to such copy of
pleadin                ed on such copy .of citation the date of delivery.

Service
                                                                      ShE:=riff / Constab1.e / Authorized Person
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 105 of 207



Sworn to and subscribed before me this the                       By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      day of _ _ _ _ _ __
                                                                  Printed Name of Server


                                                                 _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas

Notary Public, THE STATE OF TEXAS

D-l-GN:..19-000119                                       SERVICE FEE NOT PAID              P0l - 000073352
ED original           L'.Dservice Copy




           I, VELVA L PRICE, Dlttrict Clerk. Travis County.
           Tens, do hereby cett1ty that this Is a true and
           a:irrect copy as &81119 appuns of rm:ord in my
           omce. Witneu my hand and seat of office
           On------,----------.----                               APPROVED -·
                                                                  By Salmona af f .·2t
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 106 of 207


                                                    C I T A T I O N
                                       T HE      S T A T E      0 F     T E XA S
                                             CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                  , Plaintiff
      vs.
CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC.' WALNUT CREEK                      ' Defendant
MANAGEMENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
COUNTRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
CORPORATION, D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, INC. D/B/A HALIFAX CLUB, INC. OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
MISS D/B/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO,INC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.

TO:   OK PRE 12-30-98 OPERATOR OF HALIFAX CLUB,INC. ALSO, D/B/A HALIFAX CLUB, INC OR HALIFAX
      INVESTMENT CLUB
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      10300 GREENBRIAR PL.
      OKLAHOMA CITY, OKLAHOMA 73159-7653

Defendant, in the. above styled and numbered cause:

YOU IU\.VE BEEN SUED.  You may emp1oy an attorney.  If you or your attorney do not file a written
answer with the clerk who issued this citation by 10: 00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be. taken against you.

Attached is a copy of the PLAINTIFFS ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 10, 2019.

REQUESTED BY:
ANN HARTLEY                                                                                             '
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                  Velva L. Price
PO BOX 12548                                                              Travis Coun~ District Clerk
AUSTIN, TX 78711-2548                                                     Travis C::ounW Courthouse
BUSINESS PHONE: (512)936-1313 FAX: (512)477-2348                          1000 Guadah.ipe, P.O. Box 679003 (78767)
                                                                          Austin, TX 78701


                                                                        PREPARED BY: RUBEN TAMEZ

                                                       RETURN
Came to hand on the             day of _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
_ _ _ _ _ _ _ _ _ _ _ on the                day of _ _ _ _ _ _ _ _ _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each

in                    copy of this citation together with the PLAINTIFFS ORIGINAL PETITION, LAWYER
                       ·ng pleading, having first attached such copy of such citation to such copy of
                       ed on such copy of citation the date of delivery.

Service
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 107 of 207


                                                                 Sheriff/ Constable/ Authorized Person
Sworn to and subscribed before me this the
                                                                 By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      day of _ _ _ _ _ __
                                                                 Printed Name of Server

                                                                 _ _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas
Notary Public, THE STATE OF TEXAS

D-1-GN-19-000119                                         SERVICE FEE NOT PAID               P0l - 000073353
(j Original          EJservice Copy




          I, VELVA L PRICE, District ·Clerk. Travis Coorlty.
         Texas, do hereby certify that this is a lrue and
         cam,ct copy as same appeans of record in my

          ~ - Witnets my hand and teal of office
          °"-----------~----
                                                                    APPROVED
                                                                    By SalmonC at 1:29 p

                   By Deputy:   ts
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 108 of 207


                                                    C I T A T I ON
                                       T H E     S T AT E       0 F     T E XA S
                                            CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC., WALNUT CREEK                   I   Defendant
MANAGEMENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
COUNTRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
CORPORATION, D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, INC. D/B/A HALIFAX CLUB, INC. OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
MISS D/B/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO,INC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.

TO:   OK PRE 12-23-99 OWNER LAFAYET1'E CLUB, ALSO D/B/A LAFAYETTE CLUB, INC. OR THE LAFAYETTE CLUB,
      INC.
      BY SERVING ITS .REGISTERED AGENT, CORPORATION SERVICE COMPANY
      10300 GREENBRIAR PL.
      OKLAHOMA CITY, OKLAHOMA 73159-7653

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
answer with the .clerk who issued this citation by 10:00 A.M .. on the Monday next following the
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County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 10, 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                  Velva L. Price
PO BOX 12548                                                              Travis County District Clerk
AUSTIN, TX 78711-2548                                                     Travis County Courthouse
BUSINESS PHONE: (512)936-1313 FAX: (512)477-2348                          1000 Guadalupe, P.O. Box 679003 (78767)
                                                                          Austin,TX 78701


                                                                         PREPARED BY: RUBEN TAMEZ

                             - -- -                    RETURN
Came to hand on the             day of                  - - - - at - - - - o'clock _ _M., and
executed at                      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                             on the day of                   _ _ _ _ , at _ _ __ o'clock _ _M,,
by delivering to the within named _ _ _ _  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in                    copy of this citation together with the PLAINTIFFS ORIGINAL PETITION, LAWYER
                        ng pleading, having first attached such copy of such citation to such copy of
pleadin                 ed on such copy of citation the date of delivery.

 Service
               Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 109 of 207


                                                                  Sheriff/ Constable/ Authorized Person
Sworn to and subscribed before me this the
                                                                  By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      day of _ _ _ _ _ __
                                                                  Printed Name of Server


                                                                  _ _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas
Notary Public, THE STATE OF TEXAS

D-l-GN-19-00011.9                                         SERVICE FEE NOT PAID               P0l - 000073354
Eil Original          Eilservice Copy




          I, VELVA L PRICE, Distri~ Clerk, Tra'ti'i9 Coooty,
          iexn, do hereby cenify that this Is a true and
          corred copy as nme appeens of record in my
           <>ffk:e. W'itneo my hand and ieiid of office
           On __________________
                                                                   APPROVED
                                                                   By SatmonC at 1:29

                    By Deputy:   ts
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 110 of 207


                                                    C I T A T I O N
                                       T H E     S T A T E      0 F     T E XA S
                                            CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                   , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC., BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC., WALNUT CREEK                      , Defendant
MANAGEMENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
COUNTRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
CORPORATION, D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, INC. D/B/A HALIFAX CLUB, INC. OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
MISS D/B/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO, INC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.

TO:   METROPOLITAN CLUB OF CHICAGO,INC. ALSO D/B/A THE PLAZA
      BY SERVING ITS REGISTERED AGENT ILLINOIS CORPORATION SERVICE
      801 ADLAI STEVENSON DRIVE
      SPRINGFIELD, ILLINOIS 62703-4261

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
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County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 10, 2019.

REQUESTED BY:
ANN HARTLEY                                                                                              '
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                  Velva L Price
PO BOX 12548                                                              Travis County District Clerk
AUSTIN, TX 78711-2548                                                     Travis ~ courthouse
BUSINESS PHONE: (512)936-1313 FAX: (512)477-2348                          1000 Guadaltioe~ P .o. Box 679003 (78767)
                                                                          Aus~ TX 78701


                                                                         PREPARED BY: RUBEN TAMEZ

                                                       RETURN
Came to hand on the      day of                   _ _ _ _ at _ _ _ _ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                       on the       day of                  _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together with the PLAINTIFFS ORIGINAL PETITION, LAWYER
                      ing pleading, having first atta.ched such copy of such citation to such copy of
plea.din               ed on such copy .of citation the date of delivery.


                                                                      Sheriff/ Constable/ Authorized Person
               Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 111 of 207



Sworn to and subscribed before me this the                       By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      day of _ _ _ _ _ __
                                                                 Printed Name of Server


                                                                 _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas

Notary Public, THE. STATE OF TEXAS

D-l-GN-19-000119                                         SERVICE FEE NOT PAIO             P0l - 000073355
LiJ Original         Lilservice Copy




          I, VELVA L PRICE, District Clerk. Tra'llis Coooty,
          Texas, do hereby ceftify that this Is a true and
          correct copy as same appeans of record In my
           office. Wilneu my hand and   ~    of   ~
          On ____________-.-_ __


                                                                APPROVED
                   By Deputy:   es
                   DISTRICT CLERK                               By SalmonC at 1:29 pm,
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 112 of 207


                                                   C I T A T I O N
                                         T HE    S T A T E     0 F     T E XA S
                                            CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                  , Plaintiff
      vs.
CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC., WALNUT CREEK                     '   Defendant
MANAGEMENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
Ok CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
COUNTRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
CORPORATION, D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, INC. D/B/A HALIFAX CLUB, INC, OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC,, D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
MISS D/B/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO,INC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUN'rRY CLUB, INC.

TO:   UNIVERSITY CLUB OF JACKSON,MISS ALSO D/B/A UNIVERSITY CLUB OF JACKSON
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      5760 I 55 N., STE. 150
      JACKSON, MISSISSIPPI 39211-2654

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
answer with the clerk who issued this citation by .10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFFS ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GWEN UNDER MY HAND AND SEAL of said Court at office, January 10. 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                 Velva L. Price
PO BOX 12548                                                             Travis county District Clerk
AUSTIN, TX 78711-2548                                                    Travis Couo~ Courthouse
BUSINESS PHONE: (512)936-1313 FAX: (512)477-2348                         1000   Guadalulio1P.O.Box 679003 (78767)
                                                                         Austin, TX 7


                                                                        PREPARED BY: RUBEN TAMEZ

                                                      RETURN
Came to hand on the             day of                                   at _ _ _ _ o'clock _ _M., and

executed a t - - - - - - - - - - - - ~ - - - - - - - - - - - - within the County cf
                       on the       day of _ _ _ _ _ _ _ _ _ _ _ _ , at _ _ _ _ o'clock _ _M.,

by deiivering to the within n a m e d - - - - - - - - - - - - - - - ~ - - - - - - - - - - - - - ' each
in                                   together with the PLAINTIFFS ORIGINAL PETITION, LAWYER
                           pleading, having first attached such copy of such citation to such copy of
                           on such copy of citation the date of delivery.



                                                                     Sheriff/ Constable/ Authorized Person
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 113 of 207



Sworn to and subscribed before me this the                       By: _ _ _ _ _ _ _ _ _ _ _ _ _~ - - - -


      day of _ _ _ _ _ __
                                                                 Printed Name of Server


                                                                 - - - - - - - - ~ - - - - County, Texas
Notary Public, THE STATE OF TEXAS

D-1-GN-19-000119                                         SERVICE FEE NOT PAID             P0l - 000073356
EJ Original              E'.Jservice Copy




         I, VELVA L PRICE, District Clerk. Travis Coonty.
         Texas, do hereby cemfy that this ls a true and
          COffl!d copy as same appeans of record in my
          (;){fice.   WttneQ my hand and HM of afi'lCe
         °"------------~---

                                                               APPROVED
                       By Deputy:   ts                         By Sa/monC at 1:30 p
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 114 of 207

                                                     C I T A T I ON
                                       T H E     S T AT E       0 F     T E XA S
                                             CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                 , Plaintiff
      vs.
CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, TNC., WALNUT CREEK                    , Defendant
MANAGEMENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
COUNTRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
CORPORATION, D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, INC. D/B/A HALIFAX CLUB, INC. OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
MISS D/B/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO,TNC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.

TO:   OK JEFFERSON CLUB MANAGEMENT CORPORATION, ALSO D/B/A JEFFERSON CLUB, INC.
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      100 SHOCKOE SLIP, FL 2,
      RICHMOND, VIRGINIA 23219-4100

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
answer with the clerk who issued this citation by .10:00 A.M. on the Monday nex.t following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFFS ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 10. 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                  Velva L Price
PO BOX 12548                                                              Travis County District Clerk
AUSTIN, TX 78711-2548                                                     Travis Councy Courthouse
BUSINESS PHONE: (512) 936-1313 FAX: (512) 477-2348                        1000 Guadalupe, P.O. Box 679003 (78767)
                                                                          Austi~ TX 78701


                                                                        PREPARED BY: RUBEN TAMEZ

                                                       RETURN
Came to hand on the ___ day of                                            at _ _ _ _ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
_ _ _ _ _ _ _ _ _ _ _ on the                day of                         _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together with the PLAINTIFFS ORIGINAL PETITION, LAWYER
REFERRAL              ing pleading, having first attached such copy of such citation to such copy of
pleadin                ed on such copy of citation the date of delivery.


                                                                      Sh1:riff /Constable/ Aµthorized Person
               Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 115 of 207


Sworn to and subscribed before me this the                      By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      day of _ _ _ _ _ __
                                                                Printed Name of Server


                                                                _ _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas

Notary Public, TBE STATE OF TEXAS

D-l-GN-19-000119                                        SERVICE FEE NOT PAID               P0l - 000073357
151 Original         LJlservice Copy




           I, VELVA L PRICE, Diitrict Clerk. Travis Coooty.
          Texn, do hereby c:ertffy that this is a true and
           ooued copy as same appears of record In my
           (>{ffee. Witneo my hand and ,em of cfliee
           On ___________----.-_ _ __

                                                                APPROVED
                                                                BySalmonC
                   DISTRICT CLERK
                   By Deputy:   tS
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 116 of 207

                                                     C I T A T I O N
                                       T H E     S T A T E      0 F     T E XA S
                                             CAUSE NO. D-1-GN-19-000119

STAT.E OF TEXAS
                                                                                                 , Plaintiff
      vs.
CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC., WALNUT CREEK                    , Defendant
MANAGEMENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
COUNTRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
CORPORATION, D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, INC. D/B/A HALIFAX CLUB, INC. OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
MISS D/B/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO,INC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.

TO:   PLAZA CLUB OF SAN ANTONIO,INC.
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      D/B/A CSC - LAWYERS INCORPORATING SERVICE COMPANY
      211 EAST 7TH STREET, STE. 620
      AUSTIN, TEXAS 78701-3218

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.    You may employ an attorney.  If you or your attorney do not file a written
answer with the clerk who issued this citation by 10: 00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
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Attached is a copy of the PLAINTIFFS ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 10, 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                  Velva L. Price
PO BOX 12548                                                              Travis County Distrfct Clerk
AUSTIN, TX 78711-2548                                                     Travis County Courthouse
BUSINESS PHONE: (512)936-1313 FAX: (512)477-2348                          1000 Guadalupe, P.O. Box 679003 (78767)
                                                                          Austin,TX 78701


                                                                        PREPARED BY: RUBEN TAMEZ

            - -- -                                     RETURN
Came to hand on the            day of                            at _ _ _ _ o'clock _ _M., and
executed at                    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                            on the          day of                         _ _ _ _ , at _ _ __     o' clock _ _M. ,
by delivering to the within named
                                      - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ' each
in                    copy of this citation together with the PLAINTIFFS ORIGINAL PETITION, LAWYER
REFERRA                ng pleading, having first attached such copy of such citation to such copy of
pleadin                ed on such copy of citation the date of delivery.

Service
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 117 of 207

                                                                Sheriff/ Constable/ Authorized Person
Sworn to and subscribed before me this the
                                                                By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      day of _ _ _ _ _ __
                                                                Printed Name of Server

                                                                _ _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas
Notary Public, THE STATE OF TEXAS

D-l-GN-19-000119                                        SERVICE FEE NOT PAID               P0l - 000073358
CO Original          C'.Oservice Copy




          I, VB.VA L PRICE, Distfi(:l a&rk, Tl'tWi9 C<Mlty,
          Texu, do hereby cenify 1hat this is a lrue and
          cmrect copy as l6Bffle appeans of n,cord in my
          office. Wttneo my hand and teal of office
          On-----------~----
                                                               APPROVED
                                                               By SalmonC at 1:30
                   DISTRICT CLERK
                   By Deputy:   tS
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 118 of 207

                                                    C I T AT I ON
                                       T H E     S T AT E       0 F     T E XA S
                                             CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                   , Plaintiff
      vs.
CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC., WALNUT CREEK                       I   Defendant
MANAGEMENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
COUNTRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
CORPORATION, D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, INC. D/B/A HALIFAX CLUB, INC. OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
MISS D/B/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO,TNC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.

TO:   TOWER CLUB,INC.
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      1201 HAYS STREET
      TALLAHASSEE, FLORIDA 32301-2525

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.     You may employ an attorney. If you or your attorney do not file a written
answe:r;- with the clerk who issued this citation by 10:00 A.~. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
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County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 10, 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION
                                                                 t)4Jl;.i¥::;:~
                                                                   •    ·    Velva L. Price
PO BOX 12548                                                                 Travis County District Clerk
AUSTIN, TX 78711-2548                                                        Travis Counw CQurthQUSe
BUSINESS PHONE: (512) 936-1313 FAX:: (512) 477-2348                          1000 Guadaluoe, P.O. Box 679003 (78767)
                                                                             Austin, TX 78701


                                                                            PREPARED BY: RUBEN TAMEZ

                                                       RETURN
Came to hand on the             day of            - - - - at - - - - o'clock _ _M., and
executed a t - - - ~ - - - - - - - - ~ - - - - - - - - - - - - within the County of
                      on the       day of _ _ _ _ _ _ _ _ _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together with the PLAINTIFFS ORIGINAL PETITION, LAWYER
                        ing pleading, having first attached such copy of such citation to such copy of
                    ~
pleadin                 ed on such copy .of citation the. date of delivery.


                                                                       Sheriff/ Constable/ Authorized Person
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 119 of 207



Sworn to and subscribed before me this the                     By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

_ _ day of _ _ _ _ _ __
                                                               Printed Name of Server


                                                               _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas

Notary Public, TBE STATE OF TEXAS

D-l-GN-19-000119                                       SERVICE FEE NOT PAIO             P0l - 000073359
(j Original           Lilservice Copy




         I, VELVA L PRICE, DIW'ict aerk, Travis ~ty.
         Texas, do hereby cenify that this Is a true and
                          :same appear& of record in my
          CClfTec:t copy as
          oft'ice. Witmau my hand and Mil of office
          On ____________-.-_ __

                                                                 APPROVED
                                                                 By SalmonC at 1: 3
                                e.s.
                   DISTRICT CLERK
                   By Deputy:
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 120 of 207

                                                    C I T A T I O N
                                         T HE    S T A T E      0 F     T E XA S
                                             CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                , Plaintiff
      vs.
CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC., WALNUT CREEK                    I   Defendant
MANAGEMENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
COUN.TRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
CORPORATION, D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, INC. D/B/A HALIFAX CLUB, INC. OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
MISS D/B/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO,INC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.

·ro:   OK AKRON CLUB MANAGEMENT, CORP.
       BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
       10300 GREENBRIAR PL.
       OKLAHOMA CITY, OKLAHOMA 73159-7653

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you. or your attorney do not file a written
answer with the clerk who issued this citation by .10:00 A.M. on the Monday next following the
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                                                                 e...•s. ..~
ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 10. 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                  VeJva L. Price
PO BOX 12548                                                              Travis Coun~ District Clerk
AUSTIN, TX 78711-2548                                                     Travis CounW Courthouse
BUSINESS PHONE: (512) 936-1313 FAX: (512) 477-2348                        1000 Guadalupe, P.O. Box 679~ (78767)
                                                                          Austin,TX 78701

                                                                        PREPARED BY: RUBEN TAMEZ

                                                       RETURN
Came to hand on the             day of                         _ _ _ _ at _ _ _ _ o'clock _ _M., and
executed a t - - ~ ~ - - - - - - - - ~ - - - - - - - - - - - - within the County of
                       on the       day of                   _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together. with the PLAINTIFFS ORIGINAL PETITION, LAWYER
                           pleading, having first attached such copy of such citation to such copy of
pleadin                ed on such copy of citation the date of delivery.

Service
                                                                      Sheriff / Co.nstable / Authorized Person
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 121 of 207



Sworn to and subscribed before me this the                        By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      day of _ _ _ _ _ __
                                                                  Printed Name of Server


                                                                  _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas

Notary Public, THE STATE OF TEXAS

D-l-GN-19-000119                                          SERVICE FEE NOT PAID               P0l - 000073360
DJ Original          oJservice Copy




         I, VELVA L PRICE, District Clerk. Travis C®nty,
         Texas, do hereby c-ertffy that thir. is a true and
         cmrect copy as aarne appmsra of record in my
          office. Witneu my hand and seal of offite
          On ________________


                                                                   APPROVED •·
                                cs
                   DISTRICT CLERK
                   By Deputy:
                                                                   By SalmonC qt 1'.:3Qj:J
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 122 of 207

                                                   C I T AT I ON
                                         T H E   S T AT E      0 F     T E XA S
                                             CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                  , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC., WALNUT CREEK                     , Defendant
MANAGEMENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
COUNTRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
CORPORATION, D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, INC .. D/B/A HALIFAX CLUB, INC. OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
MISS D/B/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO,INC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.

TO:   OK ATLANTA CITY CLUB,INC.
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      10300 GREENBRIAR PL.
      OKLAHOMA CITY, OKLAHOVJA 73159-7653

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.     You may employ an attorney.  If you or your attorney do not file a written
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ISSUED AND GWEN UNDER MY HAND AND SEAL of said Court at office, January 10, 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                 Velva L. Price
PO BOX 12548                                                             Travis County District Clerk
AUSTIN, TX 78711-2548                                                    Travis Coun~ Courthouse
BUSINESS PHONE: (512)936-1313 FAX: (512)477-2348                         1000 Guadalupe, P.O. Box 679003 (78767)
                                                                         Austin., TX 78701


                                                                       PREPARED BY: RUBEN TAMEZ

                                                      RETURN
Came to hand on the             day of                                   at _ _ _ _ o'clock _ _M., and
                                                              ----
executed at - - ~ - - - - - - - - - ~ - - - ~ - - - - - - - - within the County of
_ _ _ _ _ _ _ _ _ _ _ on the        day of                 _ _ _ _ , at          o'clock _ _M.,

by delivering to the within n a m e d - - - - ~ - - - - - - - - - - - - - - - - - - - - - - - - ' each
in person, a true copy of this citation together with the PLAINTIFFS ORIGINAL PETITION, LAWYER
                      ing pleading, having first attached such copy of such citation to such copy of
pleadin                ed on such copy .of citation the date of delivery.



                                                                     Sheriff/ Constable/ Authorized Person
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 123 of 207



Sworn to and subscribed before me this the                        By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      day of _ _ _ _ _ __
                                                                  Printed Name of Server


                                                                  - - - - - - - - ~ - - - - County, Texas
Notary Public, THE STATE OF TEXAS

D-1-GN-19-000119                                          SERVICE FEE NOT PAID              P0l - 000073361
DI Original              olservice Copy




         I, VB.VA L PRICE, District Clerk. Travis Ctmnty.
         Texas, do hereby certify thelt this Is a true and
         cam,ct copy as same appean; of reoord in my
          offict).   Wiffieo my hand and Mal of oflie:e
         On _ _ _ _ _ _ _ _ _ _ _~ - - -
                                                                     APPROVED
                                                                     By Sa/monC at 1:30 p

                      By Deputy:   ts
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 124 of 207

                                                    C I T A T I O N
                                       T H E     S T AT E       0 F     T E XA S
                                             CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                 , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC., WALNUT CREEK                      , Defendant
MANAGEM~NT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
COUNTRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
CORPORATION; D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, INC. D/B/A HALIFAX CLUB, INC. OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
MISS D/B/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT COReORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO, INC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.

TO:   OK ATRIUM CLUB, INC.
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      10300 GREENBRIAR PL.
      OKLAHOMA CITY, OKLAHOMA 73159-7653

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
answer with the clerk who .i ssued this citation by 10:00 1\..M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFFS ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 10, 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                  Velva L Price
PO BOX 12548                                                              Travis Coun~ District Clerk
AUSTIN, TX 78711-2548                                                     Travis Comty Courthouse
BUSINESS PHONE: (512) 936-1313 FAX: (512) 477-2348                        1000 Guadah,jpe, P.O. Box 679003 (78767)
                                                                          Austin. TX 78701


                                                                        PREPARED BY: RUBEN TAMEZ

                                                       RETURN
Came to hand on the      day of                   _ _ _ _ at _ _ _ _ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
_ _ _ _ _ _ _ _ _ _ _ on the                day of _ _ _ _ _ _ _ _ _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together with the PLAINTIFFS ORIGINAL PETITION, LAWYER
                      ing pleading, having first attached such copy of such citation to such copy of
           ~~~~t~:Jed on such copy of citation the date of delivery.



                                                                      Sheriff/ Constable/ Authorized Person
               Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 125 of 207



Sworn to and subscribed before me this the                      By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


_ _ day of _ _ _ _ _ __
                                                                Printed Name of Server


                                                                _ _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas

Notary Public, THE STATE OF TEXAS

D-1-GN-19-000119                                        SERVICE FEE NOT PAID               POl - 000073362
EiJ Original         EiJservice Copy




          I, VELVA L PRJCE, District aertt. Travis County.
          Texu, do hereby cemfy that this is a true and
          carnd copy as same appears of record in my
           office. Witl1en my hand and teal of office
          On---....---------,,-----
                                                                  APPROVED
                                                                  BySalrnonC

                   DISTRICT CLERK
                   By Deputy:   tS
·----·--· - - - -- - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - - - - - - - - -
                       Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 126 of 207

                                                              C I T A T I ON
                                                T H E     S T A T E     0 F     T E X A S
                                                     CAUSE NO. D-1-GN-19-000119

        STATE OF TEXAS
                                                                                                         , Plaintiff
             vs.
        CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
        CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC.' WALNUT CREEK                    ' Defendant
        MANAGEMENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
        OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
        COUNTRY GOLF, INC., D/B/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
        COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
        CORPORATION, D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
        AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
        CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
        OPERATOR OF HALIFAX CLUB, INC. D/B/A HALIFAX CLUB, INC. OR HALIFAX INVESTMENT
        CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
        METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
        MISS D/B/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
        D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN .II_NTONIO,INC.; TOWER CLUB, INC;
        OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
        INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.

         TO:   OK HERITAGE CLUB, INC
               BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
               10300 GREENBRIAR PL.
               OKLAHOMA CITY, OKLAHOMA 73159-7653

         Defendant, in the above styled and numbered cause:

        YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
        answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
        expiration of twenty days after you were served this citation and petition, a default judgment may
        be taken against you.

         Attached is a copy of the PLAINTIFFS ORIGINAL PETITION of the PLAINTIFF in the above styled and
         numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
         County, Austin, Texas.

         ISSUED AND GWEN UNDER MY HAND AND SEAL of said Court at office, January 10, 2019.

         REQUESTED BY:
         ANN HARTLEY
         FINANCIAL LITIGATION AND CHARITABLE .TRUSTS
         DIVISION                                                                 Velva L. Price
         PO BOX 12548                                                             Travis County District Clerk
         AUSTIN, TX 78711-2548                                                    Travis COUOf.:Y CourthCUJ$8
         BUSINESS PHONE: (512) 936-1313 FAX: (512) 477-2348                       1000 Guadalupe, P.o. Box 679003 (78167)
                                                                                  Austin, TX 78701


                                                                                 PREPARED BY: RUBEN TAMEZ

                                                                RETURN
         Came to hand on the      day of                   _ _ _ _ at _ _ _ _ o'clock _ _M., and
         executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                                     on the          day of                        _ _ _ _ , at             o'clock _ _M.,
         by delivering to the within n a m e d - - - - - - - - - - - - - - - - - - - ~ - - - - - - - - - ' each
         in person, a true copy of this citation together with the PLAINTIFFS ORIGINAL PETITION, LAWYER
                               ing pleading, having first attached such copy of such citation to such copy of
                                ed on such copy .of citation the date of delivery.


                                                                              Sheriff/ Constable/ Authorized Person
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 127 of 207



Sworn to and subscribed before me this the                       By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      day of _ _ _ _ _ __
                                                                 Printed Name of Server


                                                                 _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas

Notary Public, THE STATE OF TEXAS

D-l-GN-19-00011.9                                        SERVICE FEE NOT PAID              P0l - 000073363
BJ Original           BJservice Copy




          I, VELVA L PRICE, Dlatriet Clerk. Travis Coonty.
          Texas, do hereby cedffy that this is a true and
          correct copy as ilS8ffl8 appean1 of record In my
          office. Witne:u my hand and seal of office
          On ____________-.-_ __
                                                                  APPROVED
                 ~~~
                 ~Pfii
                                                                  By SalmonC at 1: 3()'p

                                 e.,s
                    DISTRICT CLERK
                    By Deputy:
              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 128 of 207

                                                    C I T A T I O N
                                       T H E     S T A T E      0 F        T E XA S
                                            CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                       , Plaintiff
      vs.
CLUBCORP HOLDINGS, INC.; BROOKEHAVEN COUNTRY CLUB, INC.; RICHARDSON COUNTRY CLUB
CORP. D/B/A CANYON CREEK COUNTRY CLUB; OK CENTURY II CLUB, INC., WALNUT CREEK                          I   Defendant
MANAGEM,ENT CORP; KINGWOOD COUNTRY CLUB, INC; OK UNIVERSITY CLUB OF HOUSTON, INC;
OK CIPANGO MANAGEMENT CORPORATION; OK FOREST OAK COUNTRY CLUB, INC; HILL
COUNTRY GOLF, INC., D/8/A LOST CREEK COUNTRY CLUB; CLUBCORP PORTER VALLEY
COUNTRY CLUB, INC., D/B/A PORTER VALLEY COUNTRY CLUB, INC; OK THE RELAY HOUSE
CORPORATION, D/B/A THE RELAY HOUSE; THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB
AT DOWNTOWN; OK 2001 BRYAN TOWER CLUB INC; OK VITA CENTER MANAGEMENT CORP;
CITRUS CLUB, INC, D/B/A CITRUS CLUB OR CITRUS ATHLETIC CLUB; OK PRE 12-30-98
OPERATOR OF HALIFAX CLUB, .INC. D/B/A HALIFAX. CLUB, INC. OR HALIFAX INVESTMENT
CLUB; OK PRE 12-23-99 OWNER LAFAYETTE CLUB, D/B/A LAFAYETTE CLUB, INC; THE
METROPOLITAN CLUB OF CHICAGO, INC., D/B/A THE PLAZA; UNIVERSITY CLUB OF JACKSON,
MISS D/B/A UNIVERSITY CLUB OF JACKSON; OK JEFFERSON CLUB MANAGEMENT CORPORATION,
D/B/A JEFFERSON CLUB, INC.; THE PLAZA CLUB OF SAN ANTONIO,INC.; TOWER CLUB, INC;
OK AKRON CLUB MANAGEMENT CORP; OK ATLANTA CITY CLUB, INC.; OK ATRIUM CLUB,
INC.; OK HERITAGE CLUB, INC; CLUBCORP BRAEMAR COUNTRY CLUB, INC.

TO:   CLUBCORP BRAEMAR COUNTRY CLUB,INC.
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      251 LITTLE FALLS DRIVE
      WILMINGTON, DELAWARE 19808

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.    You may employ an attorney.  If you or your attorney do not file a written
answel;' with the clerk who issued this citation by 10: 00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFFS ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas,

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 10. 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION
PO BOX 12548
AUSTIN, TX 78711-2548
BUSINESS PHONE: (512) 936-1313 FAX: (512) 477-2348
                                                                 a.•s:~~
                                                                   ,. .
                                                                      ·
                                                                              Velva L. Price
                                                                              Travis County District Clerk
                                                                              Travis County Courthouse
                                                                             1000 Guadalupe, P.O. Box 679003 (78767)
                                                                              Austln,TX 78701                    .

                                                                            PREPARED BY: RUBEN TAMEZ

                                                       RETURN
Came to hand on the             day of _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                            on the          day of _ _ _ _ _ _ __              _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in                                                together with the PLAINTIFFS ORIGINAL PETITION, LAWYER
                           pleading, having first attached such copy of such citation to such copy of
                           on such copy of citation the date of delivery.


                                                                          Sheriff/ Constab],e / Authorized Person
                 Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 129 of 207



Sworn to and subscribed before me this the                          By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


       day of _ _ _ _ _ __
                                                                    Printed Name of Server


                                                                    _ _ _ _ _ _ _ _ _ _ _ _ _ County, Texas

Notary Public, THE. STATE OF TEXAS

D-l-GN-19-000119                                            SERVICE FEE NOT PAID             P0l - 0000733~4
l'.JJ Original         l'.Jlservice Copy




            I, VELVA L PRICE, Dlatrict Clerk. Travis Coonty,
            Texas, do hereby cett.ify that this Is a true and
            couect copy as ame appears of mcord in my
            ofl'iee. Wrtneu my hand and seal of offiCe
            On _ _ __,___ _ _ _ _ _ _-.--_ __

                                                                   APPROVED···
                                                                  By Sal.monC at 1:3Q ff ·
                Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 130 of 207

                                                    C I T A T I ON
                                         T H E    S T A T E     0 F     T E XA S
                                             CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                   , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC.;ET AL
                                                                                                   , Defendant

TO:   CLUBCORP HOLDINGS INC
      BY SERVING ITS REGISTERED AGENT, CSC SERVICES OF NEVADA, INC
      2215-B RENAISSANCE DRIVE
      LAS VEGAS, NEVADA .8 9119

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SOED.   You may employ an attorney.   If y0\1. or your attorney do not file a written
answer with the clerk who issued this citation by 10: 00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINT!FF'S ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7,2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, 'l'exas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 10. 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                  Velva L. Price
PO BOX 12548                                                              Travis Counfy District Clerk
AUSTIN, TX 78711-2548                                                     Travis Coun~y Courthouse
BUSINESS PHONE:(512)936-1313 FAX: (512)477-2348                           1000 Guadalupe, P.O. Box 679003 (78767)
                                                                          Austin, TX 78701


                                                                        PREPARED BY: VICTORIA BENAVIDES

                                                       RETURN
Came to hand on the             day of                                    at _ _ _ _ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                       on the       day of _ _ _ _ _ _ __    _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and endorsed on such copy of citation the date of delivery.

Service Fee: $
         I, VB.VAL PRICE, Dimet Clerk. Travis Coonty.                 Sheriff/ Constable/ Authorized Person
sworn to ~9§\:::ff~ ~#l~thl'1!~ atln!e end
         corred copy 1:1a mime appears of record in my                By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~
        day ~ - Witneo my hand ~and Hal of ~
            On _________________
                                                                   APPRtJVED           ;)e;r;:n:

                                                                   By SalmonC at 1:30p

                    ey Deputy: A C
D-l-GN-19-000119               L,0                        SERVICE FEE NOT PAID                           P0l - 000073366
 tJI Original          IJlservice Copy
               Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 131 of 207

                                                     CITATION
                                       T HE      S T A T E      0 F     T E XA S
                                            CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                     , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC.;ET AL
                                                                                                     , Defendant

TO:  BROOKHAVEN COUNTRY CLUB INC
     BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
     D/B/A CSC - LAWYERS INCORPORATING SERVICE COMPANY
     211 EAST 7TH STREET, STE. 620
     AUSTIN, TEXAS 78701-3218
Defendant, in the above styled and numbered cause~

YOtJ HAVE BEEN SUED.  You may employ an attorney,   If yo11 or your cilttorney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFF'S ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in .t he 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND .AND SEAL of said Court at office, January   to, 201.9.
REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                    Velva l. Price
PO BOX 12548                                                                Travis County District Clerk
AUSTIN, TX 78711-2548                                                       Travis County Courthouse
BUSINESS PHONE: (512) 936-1313 FAX: (512) 477-2348                          1000 GuadctlUpe. P.O, BQX 679003 (78767)
                                                                            Austin.TX 7a701


                                                                        PREPARED BY: VICTORIA BENAVIDES

                                                      RETURN
came to hand on the      day of - ~ - - - - ~ - - - - ~ a t ~ - - - o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
_ _ _ _ _ _ _ _ _ _ _ on the                day of                           _ _ _ _ , at            o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and endorsed on such copy of citation the date of delivery.

Service Fee: $
         I, VB.VA L PRICE, District    ~      Travis County,          She.riff / Constable / Authorized Person
sworn to   JMSfu~H.~ ~~lh!td.~ at.mie and
            comK:t copy as same appe21n; of record in my              By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       day . . . WitneM my hand ;ind seal of ~
            On _________________




D-l-GN-19-000119               wC
                    By Deputy: /\
                                                           SERVICE FEE NOT PAID                            P0l - 000073367
 ED Original           ED service   Copy
                Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 132 of 207

                                                       C I T A T I O N
                                          T H E     S T A T E    0 F     T E XA S
                                               CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                 , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC.;ET AL
                                                                                                 , Defendant

TO:   RICHARDSON COUNTRY CLUB CORP
      D/B/A CANYON CREEK COUNTRY CLUB
      BY SERVING ITS REGISTERED AGENT, CORPORATION $ERVICE COMPANY
      211 EAST 7TH STREET, STE. 620
      AUSTIN, TEXAS 78701-3218

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
answer with the clerk who issued this citation by 10: 00 A,M. on the Monday next following the
expiration of twenty days after you were served this citation and. petition, a default judgment may
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numbered cause, which was filed on JANUARY 7,2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 10, 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION
PO BOX 12548
                                                                 (!)vSs=1~Travis Coun~ District Clerk
AUSTIN,. TX 78711-2548                                                    Travis Coun~ Courthouse
BUSINESS PHONE: (512) .936-1313 FAX: {512) 477-2348                       1000 Guadalupe. P.O. Box 679003 (78767)
                                                                          Austin, TX 78701


                                                                         PREPARED BY: VICTORIA BENAVIDES
                                                   RETURN
Came to hand on the               day of _ _ _ _ _ _ __                   at _ _ _ _ o'clock _ _M., and
executed at - - - - - - - - - - - - - - - - ~ - - - ~ - - - - within the County of
_ _ _ _ _ _ _ _ _ _ _ on the        day of                  _ _ _ _ , at          o'clock _ _M.,
by delivering to the within hamed _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation togethe.r with the PLAINTIFF' s ORIGINAL. PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and endorsed on such copy of citation the date of delivery.

Service Fee: $ _ _ __
         I, VELVA L PRICE, District       Travis Coun.ty.
                                          ~                            Sheriff/ Constable/ Authorized Person
Sworn to ~:1Jao9'i~ e&tfff1h~ttlieli atOOe and
         correct copy as smne appears of record in my                  By; _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         day Gfflce. Witnets my hand .and seal of Qffh::e
             On ____,_--------...-----


Notary

               i::at•Dep•-•~
D-l-GN-19-000119-,   .."7.                                  SERVICE FEE NOT PAID                   P0l - 000073368
 EJI Original            EiJServi    ·   opy
                Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 133 of 207

                                                    C I T A T I O N
                                        T H E     S T A T E      OF      TEXAS
                                             CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                    , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC.;ET AL
                                                                                                    , Defendant

TO:   OK CENTURY II CLUB INC
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      10300 GREENBRIAR PL
      OKLAHOMA CITY; OKLAHOMA 73159-7653

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney .  If you or your attorney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on the Moriday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFF'S ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7,2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said.Court at office, January i 0. 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                   Velva L. Price
PO BOX 12548                                                               Travis County District Clerk
AUSTIN, TX 78711-2548                                                      Travis County Courthouse
BUSINESS PHONE: (512)936-1313 FAX: (512)477-2348                           1000 Guadalupe, P.O. Box 679003 (78767)
                                                                           Austin,TX 78701                  .


                                                                         PREPARED BY: VICTORIA BENAVIDES

                                                       RETURN
came to hand on the      day of                   - - ~ - a t _ _ __ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                             on the          day of _ _ _ _ _ _ _ _ _ _ _ _ , at _ __ _             o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, each
in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and endorsed on such copy of citation the date of delivery.

Service Fee: $
            I. VELVA L PRICI:, District Clerk. Travis Coonty,         Sheriff/ Constable/ Authorized Person
Sworn to    J~~M.~ ~#lffktli!'1!% a.:tme and
            cam,d copy   as same appears of record in my              By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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                                 C
                     By Deputy: /\
D-1-GN-19-000119                Lu                         SERVICE FEE NOT PAID                       POl - 000073369
 ElJ Original           l'.jservice Copy
                  Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 134 of 207

                                                       C I T A T I ON
                                         T HE      S T A T E     0 F     T E XA S
                                              CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                 , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC.;ET AL
                                                                                                 , Defendant

TO:   WALNUT CREEK MANAGEMENT CORP
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      D/B/A CSC - LAWYERS INCOEtPORATING SERVICE COMPANY
      211 EAST 7TH STREET, STE. 620
      AUSTIN, TEXAS 7B701-3218

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFF'S ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7,2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 10, 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                  Velva L Prk;;e
PO BOX 12548                                                              Travis Coun~ District Clerk
AUSTIN, TX 78711-2548                                                     Travis Co~ Courthouse
BUSINESS PHONE: {512) 9.3 6-1313 FAX: (512) 477-234B                      1000 Guadalupe, P.O. Box 679003 (78767)
                                                                          Austin~TX 78701

                                                                         PREPARED BY: VICTORIA BENAVIDES
                                                  RETURN
Came to hand on the              day of _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
_ _ _ _ _ _ _ _ _ _ _ on the                  day of                       _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , .each
in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and endorsed on such copy of citation the date of delivery.

Service Fee: $ _ _ __
         I, VB.VAL PRICE, District       Clerk. Travis Coonly,         Sheriff/ Constable/ Authorized Person
Sworn to ~~io9,~~ BedB'f1h~tttii-ti atOOe and
         CCllTIICt copy as same appnns of record in my                 By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         day office. Witness my hand .and seal of Office
             On _________________                                      Printed Name of Server

                                                                       APPROVED
Notary                                                                 By Sa/monC at 1;31zp ·
D-1-GN-19-000119By Deputy:       f\ (                       SERVICE FEE NOT PAID                   POl - 000073370
 l'.JI Original          l'.Jlservi~opy
               Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 135 of 207

                                                    CIT A· TIO N
                                         T H E    S T A T E       0 F    T E XA S
                                             CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                     , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC.;ET AL
                                                                                                     , Defendant

TO:   KINGWOOD COUNTRY CLUB INC
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      D/B/A CSC - LAWYERS INCORPORATING SERVICE COMPANY
      211 EAST 7TH STREET, STE. 620
      AUSTIN, TEXAS 7B701-3218

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
answer with the. clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFF'S ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7,2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January I 0, 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                            - - - - Velva L. Price
PO BOX 12548                                                                Travis County District Clerk
AUSTIN, TX 7B711-254B                                                       Travis Counw Cwrthouse
BUSINESS PHONE: (512) 936-1313 FAX: (512) 477-234B                          1000 Guadalupe, P.O. Box 679003 (78767)
                                                                            Aust~ TX 78701


                                                                          PREPARED BY: VICTORIA BENAVIDES
                                                 RETURN
Came to hand on the      day of                   _ _ _ _ at _ _ _ _ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
_ _ _ _ _ _ _ _ _ _ _ on the                 day of _ _ _ _ _ _ _ _ _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and endorsed on such copy of citation the date of de.livery.




Swo;rn to   ~;1~~--
Service Fee: $
         I, VELVA L PRICE, District~ Travis Coonty,
                               E&tfffltM'ffili 1tOOe and
             correct copy as S8ffl8 appears of record In my
         day dfiee. Witness my hand ,and teal of office
                                                                        She:t:iff /Constable/ Authorized Person


                                                                        By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


             On ___....,....____________                                Printed Name of .Server



Notary
                                                                     APPROVED__~
                                                                    By Sal.monC at 1:31'i:.> ·.
D-1-GN-19-000119By       Deputy:   A(_                        SERVICE FEE NOT PAID                         P0l - 000073371
 ED Original            L'.Dservi~opy
                Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 136 of 207

                                                    C I T A T I O N
                                         T 1-1 E   S T A T E     0 F     T E XA S
                                               CAUSE NO. D-1-GN-19-000119

STAT.E OF TEXAS
                                                                                                    , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC.;ET AL
                                                                                                    , Defendant

TO:   OK UNIVERSITY CLUB OF HOUSTON INC
      BY SERVING ITS REGIST.ERED AGENT, CORPORATION SERVICE COMPANY
      10300 GREENBRIAR PL
      OKLAHOMA CITY; OKLAHOMA 73159-7653

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   I£ you or your attorney. do not file a written
answer with the clerk who issued this citation by 10: 00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFF'S ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7,2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January l 0,2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                   Velva L. Price
PO BOX 12548                                                               Travis County District Clerk
AUSTIN, TX 78711-2548                                                      Travis Counfy Courthouse
BUSINESS PHONE: (512) 936-1313 FAX: (512) 477-2348                         1000 Guadalupe, P.O. Box 679003 (78767)
                                                                           Austln,TX 78701


                                                                         PREPARED BY: VICTORIA BENAVIDES

                                                       RETURN
Came to hand on the             day of _ _ _ _ _ _ _ _          - - - - ~ at _ _ _ _ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                       on the       day of _ _ _ _ _ _ __    _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and endorsed on such copy of citation the date of delivery.

Service Fee:     $
            I, VELVA L PRICE, Dlltrict Clerlc:. Travis C®nty,          Sheriff/ Constable/ Authorized Person
sworn to   .1dP§u~lft· ~#lltett\lfi!~ ~Ima and
            C0fflld copy as smne appe8ns of rooord in my               By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        day~- Witnen my hand ~•nd teal of ~ffice
            On ___- - , - - - - - - - - - - . - - - -                  Printed Name of Server

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                     TfflS~ G'felti(XAS

D-l-GN-19-000119
                      ey Deputy: A
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                                     <                     SERVICE FEE NOT PAID                           POl - 000073372
 cil Original           cilservice Copy
                Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 137 of 207

                                                       C I T A T I O N
                                        T HE        S T A T E        0 F     T E XA S
                                                CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                       , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC.;ET AL
                                                                                                       , Defendant

TO:   OK CIPANGO MANAGEMENT CORPORATION
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      10300 GREENBRIAR PL
      OKLAHOMA CITY, OKLAHOMA 73159~7653

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
answer with the clerk who issued this citation by 10: 00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFF'S ORIGINAL PETITION of the PLAlNTIFF in the above styled and
numbered cause, which was filed on JANUARY 7,2019 in the 261ST JUDlCIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said. Court at office, January 10.2019.

REQUESTED BY;
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                      Velva L. Price
PO BOX 12548                                                                  Travis County District Clerk
AUSTIN, TX 78711-2548                                                         Travis Coun~ Courthouse
BUSINESS PHONE: (512)936-1313 FAX: (512)477-2348                              1000 Guadalupe, P.ll. Box 679003 (78767)
                                                                              AllStln#TX 78701

                                                                             PREPARED BY: VICTORIA BENAVIDES

                                                         RETURN
Came to hand on the ___ day of - - ~ - - - - -                                at           o'clock _ _M., and
                                                                                   ----
executed at                                                                        within the County of
                       on the       day of _ _ _ _ _ _ _ _ _ _ _ _ , at - ~ - - o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and endorsed on such copy of citation the date of delivery.

Service Fee: $
            I, VELVA L PRICE, District Cklf1t. Travis Coonty.              Sheriff/ Constable/ Authorized Person
Sworn to   .1~M:MMJ ~~lktl'l!td~ 21t11We and
            comK:t copy as SilU'l18 appears   of record in my              By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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        day ~ - Witn,m my hand
            On __________________
                                                                           APPRfJ'VE(J;,r\;~r
                                                                           BySa/monC at1:3
                    By Deputy: (\   C
D-l-GN-19-000119                L,0                             SERVICE FEE NOT PAID                         POl - 000073373
 ell Original          ell service   Copy
                Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 138 of 207

                                                      CITATION
                                         T H E     S T A T E    0 F     T E XA S
                                              CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                   , Plaintiff
      vs.
CLUBCORP HOLDINGS, INC.;ET AL
                                                                                                   , Defendant

TO:   OK FOREST OAK COUNTRY CLUB INC
      BY SERVING ITS REGIST.ERED AGENT, CORPORATION SERVICE COMPANY
      10300 GREENBRIAR PL
      OKLAHOMA CITY; OKLAHOMA 73159-7653

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attc:>rney. do not fil111 a written
answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition; a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFF'S ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7,2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, 'l'exas.

ISSUED AND GIVEN UNDER MY HANO AND SEAL of said Court at office, January iO. 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                  Velval.Prlce
PO BOX 12548                                                              Travis Counfy District Clerk
AUSTIN, TX 78711-2548                                                     Travis Coun~ Courthouse
BUSINESS PHONE:(512)936-1313 FAX: (512)477-2348                           1000 Guadalupe~ P.O. Box 679003 (78767)
                                                                          Austin, TX 78701


                                                                        PREPARED BY: VICTORIA BENAVIDES

                                                           RETURN
Came to hand on the      day o f - - - - - ~ - -          at _ _ _ _ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within t.he County of
_ _ _ _ _ _ _ _ _ _ _ on the                 day of                        _ _ _ _ , at _ _ _ _ o'clock _ _M . .,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and endorsed on such copy of citation the date of delivery.

Service Fee: $
         I, VB.VA L PRICE, District Clerk. Travis County,             Sheriff/ Constable/ Authorized Person
Sworn to    ~M::IH.. . wMtl::~lt\!.,d~ at.we and
            com!Ct c:opy as same appm!rs of record in my              By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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            On _________________
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                    ~~M(XAS
                                                                   By Salmon0at.l i31p :k

                    By Deputy:   AC
D-l-GN-19-000119                 L,i_}                      SERVICE FEE NOT PAID                         POl - 000073374
 Ell Original          l'.Jlservice Copy
               Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 139 of 207

                                                      C I T A T I O N
                                         T H E     S T AT E        0 F     T E XA S
                                              CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                    , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC. ; ET AL
                                                                                                    , Defendant

TO:   HILL COUNTRY GOLF INC
      D/B/ALOST CREEK COUNTRY CLUB
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      211 EAST 7TH STREET, STE. 620
      AUSTIN, TEXAS 78701-3218

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do. not file a written
answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and. petition, a default judgment may
be taken against you.

Attached is a copy Of the PLAINTIFF'S ORIGINAL PETITION of the PLAINTIFF in the above styled arid
numbered cause, which was filed on JANUARY 7,2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER I'vfY HAND AND SEAL of said Court at office, January 10, 2019.

REQUESTED BY:
ANN HARTLEY                                                                                              '
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                     Velva L Price
PO BOX 12548                                                                 Travis County District clerk
AUSTIN, TX 78711-2548                                                        Travis county Cow'thouse
BUSINESS PHONE: (512) 936-1313 FAX: (512) 477-2348                           1000 Guadalupe, P.O. Box 679003 (78767)
                                                                             Austin, TX 78701                ..


                                                                           PREPARED BY: VICTORIA BENAVIDES
                                                  RETURN
Came to hand on the _ _ day of                    _ _ _ _ at          o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                      on the                  day of _ _ _ _ _ _ __   _ _ _ _ , at ~ - - ~ o'clock _ _M.,
-----------
by delivering to the within hamed          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having fi.rst attached such copy of such citation to such copy of pleading
and. endorsed on such copy of citation the date of delivery.

Service Fee: $ _ _ __
          I, VELVA L PRICE, District Clerk. Travil Coonty,               Sheriff / Constab.l e / Authorized Person
Sworn to ~~Jao91ii~ e&tfff,t,~tffleli tfttt:ie and
          correct copy as ame appe,.in; of record in my                  By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      day mice. Witneo my hand ..and teal of offlct!t
            On _________________


Notary                                                                   BySatmorre~at--t-;3

D-l-GN.- 19-000119By Dep...uty
                            . : {\ ( ..                     SERVICE FEE NOT PAID                       POl - 000073375
Ell Original         Ellservi~~opy
        Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 140 of 207

                                                                                          1/11/2019 3:33 PM
                                                                                                           Velva L. Price
                                                                                                          District Clerk
                                                                                                          Travis County
                                   CAUSE NO, D-1-GN-19-000119                                          D-1-GN-19-000119
                                                                                                       Sandra Henriquez
STATE OF TEXAS.                                      §
PLAINTIFF                                            §
                                                     §                IN THE _ _ _ _ _ __
vs.                                                  §
                                                     §                             TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,                      §
DEFENDANT                                            §
                                                     §

                                         RETURN OF SERVICE

ON Friday, January 11, 2019 AT 05:50 AN.
CITATION, PLAINTIFF'S ORIGINAL PETITION, EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D,
EXHIBIT E, EXHIBIT F, EXHIBIT G, EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K for service on
BROOKHAVEN COUNTRY CLUB INC C/O REGISTERED AGENT CORPORATION SERVICE COMPAm
D/B/A CSC-LAWYERS INCORPORATING SERVICE COMPANY came to hand.

ON Friday, January 11, 2019 AT 02:11 PM, I, Barbara Stinnett, PERSONALLY
DELIVERED THE ABOVE-NAMED DOCUMENTS TO: BROOKHAVEN COUNTRY
CLUB INC C/O REGISTERED AGENT CORPORATION SERVICE COMPANY D/B/A CS<
-LAWYERS INCORPORATING SERVICE COMPANY, C/O DESIGNATEI
AGENT:ADAM WAYS, 211 EAST 7TH STREET STE 620, AUSTIN, TRAVIS COUNTY
TX, 78701.


My name is Barbara Stinnett. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server certified by the Texas Judicial Branch Certification
Commission (PSC 1181, expires Friday, July 31, 2020). My date of birth is December 28,
1961. I am in all ways competent to make this statement, and this statement is based on
personal knowledge. I am not a party to this case, and have no interest in its outcome. I declare
under penalty of perjury that the foregoing is true and correct.

Executed in Travis County, Texas on Friday, January 11, 2019


/S/ BARBARA STINNETT




   I, VELVA L PRICE, Dl$tri~ ·Clerk. Travi$ Cottnty,
   TeX8$, do hereby cenify that this is a true and
   com,ct copy as same appears of record in my
      office. Witnets my hand and seal of office
   On----------..----

                                                         APPROVED
                                                         By SalmonC at 1: 32. p'm; ·
                                                                  :       '   ·'    ··.   ,.··/
                  Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 141 of 207

                                                    C I T A T I ON
                                       T H E     S T A T E      0 F     T E XA S
                                             CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                   , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC. ET AL.
                                                                                                   , Defendant

TO:   CLUBCORP PORTER VALLEY COUNTRY CLUB, INC.
      D/B/A PORTER VALLEY COUNTRY CLUB, INC.
      BY SERVING ITS REGISTERED AGENT, CORPORATION $ERVICE COMPANY
      251 LITTLE FALLS DRIVE
      WILMINGTON, DELAWARE 19808

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy Of the PLAINTIFF'S ORIGINAL PETITION o.f the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 15, 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                  Velva L. Price
PO BOX 12548                                                              Travis County District Clerk
AUSTIN, TX 78711-2548                                                     Travi$ Coun~ Courthouse
BUSINESS PHONE: (512) 936-1313 F.A.X: (512) 477-2348                      1000 Quadalupe* P.O. Box 679003 (78767)
                                                                          Austin, TX 78701

                                                                           PREPARED BY: CARRISA ESCALANTE

                                                       RETURN
Came to hand on the      day of                   _ _ _ _ at _ _ _ _ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                            on the          day of _ _ _ _ _ _ _ _         _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within n a m e d - - - - - - - - - - - - - - ~ ~ - - - - - - - - - - - - - ' each
in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and endorsed on such copy of citation the date of delivery.

Service Fee: $
         I, VELVA L PRICE, District Clerk. Travis Coonty.             Sheriff/ Constable/ Authorized Person
Sworn to    ~;11itcfl1ii~ e&tfff~ffili 1fftue and
             can-ect c:opy as ume appeans of record in my             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         day dk:e. Wttrlen my hand .and teM bf office
             On-----------------
                                                                        By SalmonC at 1:32 pm, Feb 1
Notary

D-1-GN-19-000119By Deputy:      f\ (                        SERVICE FEE NOT PAID                         POl - 000073449
 l'.jl Original         Ei1servi~"--d9PY
                 Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 142 of 207

                                                      C I T A T I O N
                                           T H E   S T A T E      0 F             TEXAS
                                               CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                                              , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC, ET AL.
                                                                                                                              , Defendant

TO:   OK THE RELAY HOUSE CORPORATION
      D/B/A THE RELAY HOUSE
      BY SERVING ITS REGISTERED AGENT, CORPORATION $ERVICE COMPANY
      10300 GREENBRIAR PL.
      OKLAHOMA CITY, OKLAHOMA. 73159-7653

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFF' s ORIGINAL .PETITION o.f the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 15, 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGA'rION AND CHARITABLE TRUSTS
DIVISION
PO BOX 12548
AUSTIN, TX 78711-2548
BUSINESS PHONE: (512) 936-1313 FAX: (512) 477-2348
                                                                   a•½=<~
                                                                     •                    Velva L. Price ·
                                                                                          Travis County District Clerk
                                                                                          Travis County Courthouse
                                                                                          1000.Guadalt.ipe, P.O. Box 679003 (78767)
                                                                                          Austin,TX 78701

                                                                                          PREPARED BY: CARRISA ESCALANTE

                                                        RETURN

Came to hand on the               day of                                                  at                        o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                       on the       day of                   _ _ _ _ , at ~ - - - o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each

in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and endorsed on such copy of citation the date of delivery.

Service Fee: $
               I, VB.VAL PRICE, District Clerk. Travis County.           Sheriff/ Constable/ Authorized Person

Sworn to       ~V1ao9'ii~ ~1hiifffili atooe and
               correct copy as aame appeans of record in my              By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         day   Gfflee. Wrtness my hand .and seal of oft'ice
               On ____________~ - - - -
                                                                  APPROVED
                                                                  By Salmonc at 1:~2,pm/ "
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Notary


o-1-GN-H-0001198Y Dep.uty: (\ ' .                             SERVICE FEE NOT PAID                                                 P0l - 000073450
 Ell Originctl            Eilservi~~opy
                  Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 143 of 207

                                                        C I T A T I O N
                                            T HE      S T A T E       0 F    T E X AS

                                                 CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                        , Plaintiff
     vs .
CLUBCORP HOLDINGS, INC. ET AL.
                                                                                                        , Defendant

TO:   CLUBCORP PORTER VALLEY COUNTRY CLUB, INC.
      D/B/A PORTER VALLEY COUNTRY CLUB, INC.
      BY SERVING ITS REGISTERED AGENT, CSC - LAWYERS INCORPORATING SERVICE
      2710 GATEWAY OAKS DRIVE, STE. 150N
      SACRAMENTO, CALIFORNIA 95833

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
answer with the clerk. who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFF'S ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 15, 2019.

REQUESTED BY:
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                       Velva L. Price
PO BOX 12548                                                                   Travis County District Clerk
AUSTIN, TX 78711-2548                                                          Travis Coun~ Courthouse
BUSINESS PHONE: (512) 936-1313 FAX: (512) 477-2348                             1000 Guadalupe# P.O. Box 679003 (78767)
                                                                               Austin,TX 78701

                                                                               PREPARED BY: CARRISA ESCALANTE

                                                             RETURN
came to hand on the                day of                            _ _ _ _ at _ _ _ _ o'clock _ _M., and
executed a t - - - - - - - - - - - - - ~ - - - - - - - - - - - within the County of
                       on the       day of _ _ _ _ _ _ _ _ _ _ _ _ , at _ _ _ _ o'clock _ _M.,
by delivering to the within named _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , each
in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and. endorsed on such copy of citation the date of· delivery.

Service Fee: $
             I, VELVA L PRICE, D1$bict Clerk. Travis C®nly,                 Sher:iff /Constable/ Authorized Person
Sworn to    ~;11acffil½~ eedfff 1h~ttNrii atbue and
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             On _________________
                                                                       APPROV'ED~t          t~Gmh,t•

                                                                       By SalmonC at 1:32 pmi .
Notary

D-1-GN-19-000119By Deputy:(\. (                                   SERVICE FEE NOT PAID                        1?01 - 000073451
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               Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 144 of 207

                                                       C I T A T I O N
                                         T H E     S T A T E     OF      TEXAS
                                              CAUSE NO. D-1-GN-19-000119

STATE OF TEXAS
                                                                                                 , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC. ET AL.
                                                                                                 , Defendant

TO:   OK THE RELAY HOUSE CORPORATION
      D/B/A THE RELAY HOUSE
      BY SERVING ITS REGISTERED AGENT, CSC LAWYERS INCORPORATING SERVICE, INC.
      150 S. PERRY STREET
      MONTGOMERY, ALABAMA 36104-4227

Defendant, in the above styled and numbered cause;

YOU HAVE BEEN SUED.   You may employ an attorney.   If you or your attorney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFF'S ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, January 15, 2019.

REQUESTED BY:
ANN HARTLEY
                                                                                                     .
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                  Velval.Price
PO BOX 12548                                                              Travis County District Clerk
AUSTIN, TX 78711-2548                                                     Travis County Courthouse
BUSINESS PHONE: (512) 9.36-1313 FAX: (512) 477-2348                       1000 Guadaltipe, P.O. Box 679003 (78767)
                                                                          AlJstin, TX 78701

                                                                          PREPARED BY: CARRISA ESCALANTE

                                                         RETURN
Came to hand on the      day of                           at _ _ _ _ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                             on the           day of                       _ _ _ _ , a t ~ - - - o'clock _ _M.,
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by delivering to the within n a m e d - - - - - - ~ - - - - - - - - - - - - - - - - - - - - - - ' each
in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and endorsed on such copy of citation the date of delivery.

Service Fee: $
             I, VELVA L PRICE, District Clerlt, Travis Coooty,        Sheriff/ Constable/ Authorized Person
Sworn to    ~;11acfl'i'~ ~~d'iieti ,fbue and
             cam!Ct copy as same appeeni of record in my              By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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             On------------.....-----
                                                                      By SalmonC at 1:32 p
Notary

o-1-GN-l9-000119 8 Y Deputy:     A(                         SERVICE FEE NOT PAID                    POl - 000073452
 ED Original            EJservi~opy
               Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 145 of 207


                                                         C I T A T I ON
                                            T H E      S T A T E     0 F     T E XA S
                                                 CAUSE NO. D-1-GN-19-000119
STATE OF TEXAS
                                                                                                          , Plaintiff
     vs.
CLUBCORP HOLDINGS, INC. ET AL.
                                                                                                          , Defendant

TO:   THE DOWNTOWN CLUB, INC.
      0/B/A THE PLAZA CLUB AT DOWNTOWN
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      D/B/A CSC - LAWYERS INCORPORATING SERVICE COMPANY
      211 EAST 7TH STREET, STE. 620
      AUSTIN, TEXAS 78701-3218

De.fendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED,   You may employ an attorney.   If you or your attorney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFF'S ORIGINAL PETITION of the PLAINTIFF in the above styled and
numbered cause, which was filed on JANUARY 7, 2019 in the 261ST JUDICIAL DISTRICT COURT of Travis
County, Austin, Texas.

ISSUED AND GIVEN lJNDERMY HAND AND SEAL of said Court at office, January l 5, 2019.

REQUESTED BY:                                                                                                  ,.
ANN HARTLEY
FINANCIAL LITIGATION AND CHARITABLE TRUSTS
DIVISION                                                                       Velva L Price
PO BOX 12548                                                                   Travis County District Clerk
AUSTIN, TX 78711-2548                                                          Travis coun~ Courthouse
BUSINESS PHONE: (512) 936-1313 FAX: (512) 477-2348                             1000 Guadalupe, P.O. Box 679003 (78767)
                                                                               Austin. TX78701

                                                                               PREPARED BY: CARRISA ESCALANTE

                                                            RETURN
Came to hand on the      day of                   _ _ _ _ at _ _ _ _ o'clock _ _M., and
executed at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ within the County of
                               on the            day of _ _ _ _ _ _ __          _ _ _ _ , at _ _ _ _ o'clock _ _M.,

by delivering to the within n a m e d - - - - ~ - - - - - - - - - - ~ - - ~ - - - - - ~ - - - - ' each
in person, a true copy of this citation together with the PLAINTIFF'S ORIGINAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of pleading
and endorsed on such copy of citation the date of delivery.

Service Fee: $
         I, VELVA L PRICE, Dittrict         ~       Travis Cotmly,         Sherif.f / Constable / Authorized Person
Sworn to    ~"11W::t1it1i~ --tilif:tHisi:1. atwe and
            cam,ct   copy as   :imme   appeans of n,cord in my             By: _ _ _ _ _~ - - - - - - - - - - - - -
         day ~ - Witneu my hand ,afld HM of offiee
            On ____ , _ - - - - - - - - - . - - - -
                                                                           APPROVEb         30
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                                                                        By SalmonC atJ:32..
Notary

o-1-GN-19-0001198YDeputy:         A<:..                          SERVICE FEE NOT PAID                         P0l - 000073481
 EP Original            Ei'Jservi~opy
      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 146 of 207

                                                                             1/18/201911:35 AM
                                                                                              Velva L. Price
                                                                                             District Clerk
                                                                                             Travis County
                                 CAUSE NO, D-1-GN-19-000119                               D-1-GN-19-000119
                                                                                           Raeana Vasquez
STATE OF TEXAS                                        §
PLAINTIFF                                             §
                                                      §            IN THE _ _ _ _ _ __
vs.                                                   §
                                                      §                    TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,                       §
DEFENDANT                                             §
                                                      §


                                        RETURN OF SERVICE

ON Friday, January 11, 2019 AT 07:57 AN.
CITATION, PLAINTIFF'S ORIGINAL PETIDON, EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D,
EXHIBIT E, EXHIBIT F, EXHIBIT G, EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K for service on
CLUBCORP HOLDINGS INC C/O REGISTERED AGENT CSC SERVICES OF NEVADA, INC came to hand.

ON Tuesday, January 15, 2019 AT 09:55 AM, I, R.R. McMahan, PERSONALL\:
DELIVERED THE ABOVE-NAMED DOCUMENTS TO: CLUBCORP HOLDINGS INC
C/O REGISTERED AGENT CSC SERVICES OF NEVADA, INC, C/O FRANCES
GUTIERREZ, SERVICES LIAISON, AUTHORIZED TO ACCEPT SERVICE., 2215-B
RENAISSANCE DRIVE, LAS VEGAS, CLARK COUNTY, NV, 89119.


My name is R.R. MCMAHAN. My address is 724 South 8th Street;Las Vegas, Nevada 89101,
USA. My date of birth is February 25, 1954. I am over the age of 18, and have no interest in
this case. I am authorized to serve process within the state of NV.I am in all ways competent to
make this statement, and this statement is based on personal knowledge. I am not a party to this
case, and have no interest in its outcome. I declare under penalty of perjury that the foregoing
is true and correct.

Executed in Clark County, NV, on Tuesday, January 15, 2019


/5/ R.R. MCMAHAN




   I, VELVA L PRICE, District ·Clerk, Tnwi$ eoonty,
   Texas, do hereby certify that this is a true and
   carred copy as same appears of record In my
   office. WrtneM my hand and seat of office
   On _ __ _ , . - - - - - - ~ . - - -
                                                          APPROVED
                                                          By SatmonC at 1;32 pnj
          9ll61IlilCT CLERK
           By Deputy:   tS
      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 147 of 207

                                                                             1/22/2019 3:32 PM
                                                                                             Velva L. Price
                                                                                             District Clerk
                               CAUSE NO, D-1-GN-19-000119                                   Travis County
STATE OF TEXAS,                              §                                            D-1-GN-19-000119
PLAINTIFF                                    §                                     Hector Gaucin-Tijerina
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 07:05 AM- CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 18, 2019 at 10:52 AM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: CLUBCORP BRAEMAR COUNTRY CLUB, INC. C/O
REGISTERED AGENT CORPORATION SERVICE COMPANY AT 251 LITTLE
FALLS DRIVE, WILMINGTON, NEW CASTLE COUNTY, DE 19808 VIA CERTIFIED
MAIL; RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9279 30)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Friday, January 18, 2019.

/S/ Orlando Ochoa




DocID: 259292-002
   Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 148 of 207




I, VELVA L PRICE, Dittrict CSerk. Travis Cotlnty,
Texas, do hereby certtfy that this is a true and
CGffl1Ct copy as same appears of record in my
offic:e. Witne.,. my hand and teat or office
On _ _-.-_ _ _ _ _ _ _ _ _ _ __


                                                    APPROVED
        DISTIUCT CLERK                              By SalmonC at 1:32 pm,
         By Dep!.lty:   t5
     Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 149 of 207

                                                                             1/22/2019 3:32 PM
                                                                                              Velva L. Price
                                                                                             District Clerk
                        CAUSE NO, D-1-GN-19-000119                                           Travis County
STATE OF TEXAS,                     §                                                     D-1-GN-19-000119
PLAINTIFF                           §                                                             Irene Silva
                                    §           IN THE                261ST DISTRICT COURT
vs.                                 §
                                    §                                     TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,     §
DEFENDANT                           §
                                    §

                                DECLARATION OF MAILING

On January 16, 2019 at 07:05 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 18, 2019 at 10:52 AM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: CLUBCORP PORTER VALLEY COUNTRY CLUB, INC. D/B/A
PORTER VALLEY COUNTRY CLUB, INC. C/O REGISTERED AGENT
CORPORATION SERVICE COMPANY AT 251 LITTLE FALLS DRIVE,
WILMINGTON, NEW CASTLE COUNTY, DE 19808 VIA CERTIFIED MAIL; RETURN
RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9279 30)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Friday, January 18, 2019.

/S/ Orlando Ochoa




DocID: 259292-004
   Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 150 of 207




                                           0
                                           m




I, VB.VA L PRICE, District Clerlt. Travis Coonty,
Texas, do hereby certify that this is a true and
correct copy as same• appears of record In my
office. Witn•$$ my hand and teat or office          APPROVED
°"------------..,.----                              By SalmonC at 1:32 p
      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 151 of 207

                                                                             1/25/2019 3:34 PM
                                                                                              Velva L. Price
                                                                                             District Clerk
                               CAUSE NO, P-1-GN-19-000119                                    Travis County
STATE OF TEXAS,                              §                                            D-1-GN-19-000119
PLAINTIFF                                    §                                                  Terri Juarez
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 09:17 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 07:05 AM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: THE DOWNTOWN CLUB, INC. D/B/A THE PLAZA CLUB AT
DOWNTOWN C/O REGISTERED AGENT CORPORATION SERVICE COMPANY
D/B/A CSC - LAWYERS INCORPORATING SERVICE COMPANY AT 211 EAST
7TH STREET, STE 620, AUSTIN, TRAVIS COUNTY, TX 78701 VIA CERTIFIED
MAIL; RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9280 50)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 22, 2019.

/S/ Orlando Ochoa




DocID: 259294-011
                                                     Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 152 of 207




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       Certified Mall (Form 3000) Article Number
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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 153 of 207

                                                                             1/25/2019 3:34 PM
                                                                                              Velva L. Price
                                                                                             District Clerk
                               CAUSE NO. D-1-GN-19-000119                                    Travis County
STATE OF TEXAS,                              §                                            D-1-GN-19-000119
PLAINTIFF                                    §                                                    Terri Juarez
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNlY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 09:01 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 07:05 AM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: RICHARDSON COUNTRY CLUB CORP D/B/A CANYON CREEK
COUNTRY CLUB C/O REGISTERED AGENT CORPORATION SERVICE
COMPANY AT 211 EAST 7TH STREET, STE 620, AUSTIN, TRAVIS COUNTY, TX
78701 VIA CERTIFIED MAIL; RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9280 50)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 22, 2019.

/S/ Orlando Ochoa




DocID: 259294-010
                                                Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 154 of 207




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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 155 of 207

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                                                                                              Velva L. Price
                                                                                             District Clerk
                               CAUSE NO. D-1-GN-19-000119                                    Travis County
STATE OF TEXAS,                              §                                            D-1-GN-19-000119
PLAINTIFF                                    §                                                    Terri Juarez
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 09:17 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 07:05 AM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: PLAZA CLUB OF SAN ANTONIO, INC. C/O REGISTERED AGENT
CORPORATION SERVICE COMPANY D/B/A CSC- LAWYERS INCORPORATING
SERVICE COMPANY AT 211 EAST 7TH STREET, STE 620, AUSTIN, TRAVIS
COUNTY, TX 78701 VIA CERTIFIED MAIL; RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9280 50)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 22, 2019.

/S/ Orlando Ochoa




DocID: 259294-012
                                              Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 156 of 207

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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 157 of 207

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                                                                                              Velva L. Price
                                                                                             District Clerk
                               CAUSE NO. D-1-GN-19-000119                                    Travis County
STATE OF TEXAS,                              §                                            D-1-GN-19-000119
PLAINTIFF                                    §                                                    Terri Juarez
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 07:49 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 07:05 AM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: KINGWOOD COUNTRY CLUB INC C/O REGISTERED AGENT
CORPORATION SERVICE COMPANY D/B/A CSC-LAWYERS INCORPORATING
SERVICE COMPANY AT 211 EAST 7TH STREET, STE 620, AUSTIN, TRAVIS
COUNTY, TX 78701 VIA CERTIFIED MAIL; RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9330 16)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Friday, January 25, 2019.

/S/ Orlando Ochoa




DocID: 259292-006
                                          Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 158 of 207




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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 159 of 207

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                                                                                             Velva L. Price
                                                                                            District Clerk
                               CAUSE NO. D-1-GN-19-000119                                   Travis County
STATE OF TEXAS,                              §                                           D-1-GN-19-000119
PLAINTIFF                                    §                                                 Terri Juarez
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
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                                 DECLARATION OF MAILING

On January 16, 2019 at 07:06 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 07:05 AM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: HILL COUNTRY GOLF INC D/B/A LOST CREEK COUNTRY
CLUB C/O REGISTERED AGENT CORPORATION SERVICE COMPANY AT 211
EAST 7TH STREET, STE 620, AUSTIN, TRAVIS COUNTY, TX 78701 VIA CERTIFIED
MAIL; RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9330 16)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Friday, January 25, 2019.

/S/ Orlando Ochoa




DocID: 259292-005
                                        Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 160 of 207




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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 161 of 207

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                                                                                            District Clerk
                        CAUSE NO. D-1-GN-19-000119                                          Travis County
STATE OF TEXAS,                     §                                                    D-1-GN-19-000119
PLAINTIFF                           §                                                          Terri Juarez
                                    §           IN THE                261ST DISTRICT COURT
vs.                                 §
                                    §                                     TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,     §
DEFENDANT                           §
                                    §

                                 DECLARATION OF MAILING

On January 16, 2019 at 09:38 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 07:05 AM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: WALNUT CREEK MANAGEMENT CORP C/O REGISTERED
AGENT CORPORATION SERVICE COMPANY D/B/A CSC - LAWYERS
INCORPORATING SERVICE COMPANY AT 211 EAST 7TH STREET, STE 620,
AUSTIN, TRAVIS COUNTY, TX 78701 VIA CERTIFIED MAIL; RETURN RECEIPT
REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9330 16)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Friday, January 25, 2019.

/S/ Orlando Ochoa




DocID: 259294-015
                                       Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 162 of 207




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                                   Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 163 of 207

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                                                      CAUSE NO. D-1-GN-19-000119                                   Travis County
                        STATE OF TEXAS,                            §                                            D-1-GN-19-000119
                        PLAINTIFF                                  §                                                    Irene Silva
                                                                   §              IN THE    261ST DISTRICT COURT
                        vs.                                        §
                                                                   §                            TRAVIS COUNTY, TX
                        CLUBCORP HOLDINGS, INC.; ET AL,            §
                        DEFENDANT                                  §
                                                                   §

                                                       DECLARATION OF MAILING

                      On January 16, 2019 at 08:51 AM- CITATION, PLAINTIFF'S ORIGINAL PETITION,
                      EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
                      EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

                      ON January 22, 2019 at 11:22 AM - THE ABOVE NAMED DOCUMENTS WERE
                      DELIVERED TO: METROPOLITAN CLUB OF cmCAGO, INC. ALSO D/B/A THE
                      PLAZA C/O REGISTERED AGENT ILLINOIS CORPORATION SERVICE AT 801
                      ADLAI STEVENSON DRIVE, SPRINGFIELD, SANGAMON COUNTY, IL 62703 VIA
                      CERTIFIED MAIL; RETURN RECEIPT REQUESTED.

                       SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
                       7699 0430 0054 9268 10)

                      My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
                      USA. I am a private process server authorized by and through the Supreme Court of Texas
                      (PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
                      ways competent to make this statement, and this statement is based on personal knowledge. I
                      am not a party to this case, and have no interest in its outcome. I declare under penalty of
                      perjury that the foregoing is true and correct.

                       Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

                       /5/ Orlando Ochoa




                        DocID: 259292-007
Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 164 of 207




~-OJ--,~ Return Receipt (Form 3811) Barcode
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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 165 of 207

                                                                            1/29/2019 10:37 AM
                                                                                              Velva L. Price
                                                                                             District Clerk
                               CAUSE NO. D-1-GN-19-000119                                    Travis County
STATE OF TEXAS,                              §                                            D-1-GN-19-000119
PLAINTIFF                                    §                                                    Terri Juarez
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION     OF   MAIUNG

On January 16, 2019 at 08:51 AM-CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 01:19 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK 2001 BRYAN TOWER CLUB INC. C/O REGISTERED AGENT
CORPORATION SERVICE COMPANY AT 10300 GREENBRIAR PL, OKLAHOMA
CITY, OKLAHOMA COUNTY, OK 73159 VIA CERTIFIED MAIL; RETURN RECEIPT
REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 928180)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/5/ Orlando Ochoa




DocID: 259292-008
Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 166 of 207




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                Return Receipt (Form 3811) Barcode



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  1. Article Addressed to:
        CORPORATION SERVICE COMPANY
        10300 GREENBRIAR PL
        OKLAHOMA CITY, OK 73159




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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 167 of 207

                                                                           1/29/2019 10:37 AM
                                                                                             Velva L. Price
                                                                                            District Clerk
                               CAUSE NO. D-1-GN-19-000119
                                                                                            Travis County
STATE OF TEXAS,                              §                                           D-1-GN-19-000119
PLAINTIFF                                    §                                                 Terri Juarez
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 08:52 AM- CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 01:19 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK AKRON CLUB MANAGEMENT, CORP. C/O REGISTERED
AGENT CORPORATION SERVICE COMPANY AT 10300 GREENBRIAR PL,
OKLAHOMA CITY, OKLAHOMA COUNTY, OK 73159 VIA CERTIFIED MAIL;
RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 928180)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/S/ Orlando Ochoa




DocID: 259292-009
Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 168 of 207




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 1. Article Adaressed to:
      CORPORATION SERVICE COMPANY
      1.0300 GREENBRIAR PL
      OKLAHOMA CITY, OK 73159




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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 169 of 207

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                               CAUSE NO. D-1-GN-19-000119                                   Travis County
STATE OF TEXAS,                              §                                           D-1-GN-19-000119
PLAINTIFF                                    §                                      Hector Gaucin-Tijerina
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 07:05 AM-CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 11:31 AM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: CLUBCORP PORTER VALLEY COUNTRY CLUB, INC. D/B/A
PORTER VALLEY COUNTY CLUB, INC. C/O REGISTERED AGENT CSC -
LAWYERS INCORPORATING SERVICE AT 2710 GATEWAY OAKS DRIVE, STE
150N, SACRAMENTO, SACRAMENTO COUNTY, CA 95833 VIA CERTIFIED MAIL;
RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9262 16)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/S/ Orlando Ochoa




DocID: 259292-003
                                                                       Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 170 of 207




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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 171 of 207

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                                                                                              Velva L. Price
                                                                                             District Clerk
                               CAUSE NO. D-1-GN-19-000119                                    Travis County
STATE OF TEXAS,                              §                                            D-1-GN-19-000119
PLAINTIFF                                    §                                                  Terri Juarez
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNlY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 08:52 AM- CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 01:19 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK ATLANTA CITY CLUB, INC. C/O REGISTERED AGENT
CORPORATION SERVICE COMPANY AT 10300 GREENBRIAR PL, OKLAHOMA
CITY, OKLAHOMA COUNTY, OK 73159 VIA CERTIFIED MAIL; RETURN RECEIPT
REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 928180)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/S/ Orlando Ochoa




DocID: 259292-010
Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 172 of 207




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       CORPORATION SERVICE COMPANY
       1.0300 GREENBRIAR PL
       OKLAHOMA CITY, OK 73159                                                                                           I
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     Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 173 of 207

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                        CAUSE NO. D-1-GN-19-000119                                         Travis County
STATE OF TEXAS,                     §                                                   D-1-GN-19-000119
PLAINTIFF                           §                                                         Terri Juarez
                                    §           IN THE                261ST DISTRICT COURT
vs.                                 §
                                    §                                     TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,     §
DEFENDANT                           §
                                    §

                                 DECLARATION OF MAILING

On January 16, 2019 at 08:52 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 23, 2019 at 12:02 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK ATRIUM CLUB, INC. C/O REGISTERED AGENT
CORPORATION SERVICE COMPANY AT 10300 GREENBRIAR PL, OKLAHOMA
CITY, OKLAHOMA COUNTY, OK 73159 VIA CERTIFIED MAIL; RETURN RECEIPT
REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9750 09)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/S/ Orlando Ochoa




DocID: 259292-011
Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 174 of 207




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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 175 of 207

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                               CAUSE NO. D-1-GN-19-000119                                   Travis County
STATE OF TEXAS,                              §                                           D-1-GN-19-000119
PLAINTIFF                                    §                                                 Terri Juarez
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 08:52 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 23, 2019 at 12:02 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK CENTURY II CLUB INC C/O REGISTERED AGENT
CORPORATION SERVICE COMPANY AT 10300 GREENBRIAR PL, OKLAHOMA
CITY, OKLAHOMA COUNTY, OK 73159 VIA CERTIFIED MAIL; RETURN RECEIPT
REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9750 09)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/S/ Orlando Ochoa




DocID: 259292-012
Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 176 of 207




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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 177 of 207

                                                                           1/29/2019 10:38 AM
                                                                                             Velva L. Price
                                                                                            District Clerk
                               CAUSE NO. D-1-GN-19-000119                                   Travis County
STATE OF TEXAS,                              §                                           D-1-GN-19-000119
PLAINTIFF                                    §                                      Hector Gaucin-Tijerina
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 08:52 AM- CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 23, 2019 at 12:02 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK CIPANGO MANAGEMENT CORPORATION C/O
REGISTERED AGENT CORPORATION SERVICE COMPANY AT 10300
GREENBRIAR PL, OKLAHOMA CITY, OKLAHOMA COUNTY, OK 73159 VIA
CERTIFIED MAIL; RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9750 09)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
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ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/S/ Orlando Ochoa




DocID: 259292-013
Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 178 of 207




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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 179 of 207

                                                                            1/29/2019 11 :05 AM
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                               CAUSE NO. D-1-GN-19-000119                                    Travis County
STATE OF TEXAS,                              §                                            D-1-GN-19-000119
PLAINTIFF                                    §                                                    Terri Juarez
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAIUNG

On January 16, 2019 at 08:57 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 02:25 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK JEFFERSON CLUB MANAGEMENT CORPORATION, ALSO
D/B/A JEFFERSON CLUB, INC. C/O REGISTERED AGENT CORPORATION
SERVICE COMPANY AT 100 SHOCKOE SLIP, FL 2, RICHMOND, RICHMOND
CITY COUNTY, VA 23219 VIA CERTIFIED MAIL; RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9274 73)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
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perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/S/ Orlando Ochoa




DocID: 259294-003
Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 180 of 207




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1. Article Addressedfo:                                                                                                         a
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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 181 of 207

                                                                            1/29/2019 11 :06 AM
                                                                                              Velva L. Price
                                                                                             District Clerk
                               CAUSE NO. D-1-GN-19-000119
                                                                                             Travis County
STATE OF TEXAS,                              §                                            D-1-GN-19-000119
PLAINTIFF                                    §                                                    Terri Juarez
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 09:01 AM- CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 01:19 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK UNIVERSITY CLUB OF HOUSTON INC C/O REGISTERED
AGENT CORPORATION SERVICE COMPANY AT 10300 GREENBRIAR PL,
OKLAHOMA CITY, OKLAHOMA COUNTY, OK 73159 VIA CERTIFIED MAIL;
RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9750 61)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/S/ Orlando Ochoa




DocID: 259294-008
Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 182 of 207




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 :2. Certified Mall (Fonn 3800) Article Number
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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 183 of 207

                                                                            1/29/201911:06AM
                                                                                            Velva L. Price
                                                                                            District Clerk
                               CAUSE NO. D-1-GN-19-000119                                  Travis County
STATE OF TEXAS,                              §                                           D-1-GN-19-000119
PLAINTIFF                                    §                                            Raeana Vasquez
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COU NlY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 09:01 AM- CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 01:19 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK THE RELAY HOUSE CORPORATIOND/B/A THE RELAY
HOUSE C/O REGISTERED AGENT CORPORATION SERVICE COMPANY AT
10300 GREENBRIAR PL, OKLAHOMA CITY, OKLAHOMA COUNTY, OK 73159
VIA CERTIFIED MAIL; RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9750 61)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/S/ Orlando Ochoa




DocID: 259294-007
Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 184 of 207




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 :2. Certified Mall (Form 3800) Article Number
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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 185 of 207

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                                                                                            Velva L. Price
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                               CAUSE NO. D-1-GN-19-000119
                                                                                           Travis County
STATE OF TEXAS,                              §                                           D-1-GN-19-000119
PLAINTIFF                                    §                                                  Irene Silva
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 09:01 AM- CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 01:19 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK PRE 12-30-98 OPERATOR OF HALIFAX CLUB, INC. ALSO
D/B/A HALIFAX CLUB, INC OR HALIFAX INVESTMENT CLUB C/O REGISTERED
AGENT CORPORATION SERVICE COMPANY AT 10300 GREENBRIAR PL,
OKLAHOMA CITY, OKLAHOMA COUNTY, OK 73159 VIA CERTIFIED MAIL;
RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9750 61)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/S/ Orlando Ochoa




DocID: 259294-005
     Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 186 of 207




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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 187 of 207

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                                                                                           District Clerk
                               CAUSE NO. D-1-GN-19-000119                                  Travis County
STATE OF TEXAS,                            §                                            D-1-GN-19-000119
PLAINTIFF                                    §                                                  Irene Silva
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 09:01 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 01:19 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK VITA CENTER MANAGEMENT CORP., ALSO D/B/A VITA
CENTER MANAGEMENT CORP C/O REGISTERED AGENT CORPORATION
SERVICE COMPANY AT 10300 GREENBRIAR PL, OKLAHOMA CITY,
OKLAHOMA COUNTY, OK 73159 VIA CERTIFIED MAIL; RETURN RECEIPT
REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9750 78)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/5/ Orlando Ochoa




DocID: 259294-009
Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 188 of 207




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     1. Article Addressed to:
         CORPORATION SERVICE COMPANY
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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 189 of 207

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                               CAUSE NO. D-1-GN-19-000119                                   Travis County
STATE OF TEXAS,                              §                                           D-1-GN-19-000119
PLAINTIFF                                    §                                                   Irene Silva
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 09:01 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 19, 2019 at 09:11 AM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: TOWER CLUB, INC. C/O REGISTERED AGENT CORPORATION
SERVICE COMPANY AT 1201 HAYS STREET, TALLAHASSEE, LEON COUNTY, FL
32301 VIA CERTIFIED MAIL; RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9278 24)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/S/ Orlando Ochoa




DocID: 259294-013
  Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 190 of 207




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2. Certified Mail (Form 35,                       a
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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 191 of 207

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                                                                                             District Clerk
                               CAUSE NO. D-1-GN-19-000119
                                                                                             Travis County
STATE OF TEXAS,                              §                                            D-1-GN-19-000119
PLAINTIFF                                    §                                                    Irene Silva
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
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                                DECLARATION OF MAILING

On January 16, 2019 at 07:00 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 19, 2019 at 09:11 AM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: CITRUS CLUB, INC. ALSO D/B/A CITRUS CLUB OR CITRUS
ATHLETIC CLUB C/O REGISTERED AGENT CORPORATION SERVICE
COMPANY AT 1201 HAYS STREET, TALLAHASSEE, LEON COUNTY, FL 32301
VIA CERTIFIED MAIL; RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9278 24)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Tuesday, January 29, 2019.

/S/ Orlando Ochoa




DocID: 259292-001
 Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 192 of 207




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2. Certified Mail (Form 35,
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     Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 193 of 207

                                                                            1/31/2019 10:31 AM
                                                                                              Velva L. Price
                                                                                             District Clerk
                        CAUSE NO. D-1-GN-19-000119                                           Travis County
STATE OF TEXAS,                     §                                                     D-1-GN-19-000119
PLAINTIFF                           §                                                           Terri Juarez
                                    §            IN THE 261ST DISTRICT COURT
vs.                                 §
                                    §                      TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,     §
DEFENDANT                           §
                                    §

                                 DECLARATION OF MAILING

On January 16, 2019 at 06:59 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 01:19 PM-THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK FOREST OAK COUNTRY CLUB INC C/O REGISTERED
AGENT CORPORATION SERVICE COMPANY C/O AT 10300 GREENBRIAR PL,
OKLAHOMA CITY, OKLAHOMA COUNTY, OK 73159 VIA CERTIFIED MAIL;
RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9750 30)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Thursday, January 31, 2019.

/S/ Orlando Ochoa




DocID: 259294-001
  Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 194 of 207




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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 195 of 207

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                               CAUSE   NO.   D-1-GN-19-000119                               Travis County
STATE OF TEXAS,                               §                                          D-1-GN-19-000119
PLAINTIFF                                     §                                     Hector Gaucin-Tijerina
                                              §             IN THE    261ST DISTRICT COURT
vs.                                           §
                                              §                           TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,               §
DEFENDANT                                     §
                                              §

                                DECLARATION OF MAILING

On January 16, 2019 at 09:01 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 01:19 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK HERITAGE CLUB, INC. C/O REGISTERED AGENT
CORPORATION SERVICE COMPANY AT 10300 GREENBRIAR PL, OKLAHOMA
CITY, OKLAHOMA COUNTY, OK 73159 VIA CERTIFIED MAIL; RETURN RECEIPT
REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9750 30)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Thursday, January 31, 2019.

/S/ Orlando Ochoa




DocID: 259294-002
Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 196 of 207




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  ·. Article Address,




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                                                                        Reference Information
                                                          259294-1,2,4

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      Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 197 of 207

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                                                                                              Velva L. Price
                                                                                             District Clerk
                               CAUSE NO. D-1-GN-19-000119                                    Travis County
STATE OF TEXAS,                              §                                            D-1-GN-19-000119
PLAINTIFF                                    §                                         Raeana Vasquez
                                             §              IN THE    261ST DISTRICT COURT
vs.                                          §
                                             §                            TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,              §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 09:01 AM- CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 01:19 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK PRE 12-23-99 OWNER LAFAYETTE CLUB, ALSO D/B/A
LAFAYETTE CLUB, INC. OR THE LAFAYETTE CLUB, INC. C/O REGISTERED
AGENT CORPORATION SERVICE COMPANY AT 10300 GREENBRIAR PL,
OKLAHOMA CITY, OKLAHOMA COUNTY, OK 73159 VIA CERTIFIED MAIL;
RETURN RECEIPT REQUESTED.

SEE ATTACHED CERTIFIED MAIL, GREEN CARD: TRACKING NUMBER# (9314
7699 0430 0054 9750 30)

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Thursday, January 31, 2019.

/S/ Orlando Ochoa




DocID: 259294-004
Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 198 of 207




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   Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 199 of 207

                                                                                         2/14/2019 9:30 AM
                                                                                                             Velva L. Price
                                                                                                            District Clerk
                                                                                                            Travis County
                                                                                                         D-1-GN-19-000119
                                                                                                     Hector Gaucin-Tijerina

                                         KEN PAXTON
                                    ATTORNEY GENERAL OF TEXAS




                                          February 14, 2019

Mr. Warren Vavra                                                           Via E-FileTexas.gov
Travis County District Courts Administrator
Heman Marion Sweatt
Travis County Courthouse
1000 Guadalupe, Room 435
Austin, Texas 78701

       Re:       D-1-GN-19-000119; State of Texas vs. ClubCorp Holdings, Inc., et al.,
                 261st Judicial District Court of Travis County, Texas

Dear Mr. Varva:

       This letter is written to notify the Court and all parties of record that I will
be on vacation July 29, 2019 through August 16, 2019.

       Please do not schedule any hearings or other deadlines in the above-
referenced cause during these periods of time.

       By copy of this letter, all parties of record have been notified. Thank you
for your attention to this matter and usual courtesies in this regard.

                                        Respectfully,

                                         Isl Ann Hartley

                                       Ann Hartley
                                       Assistant Attorney General
                                       Financial Litigation and Charitable Trusts Division
                                       PO Box 12548, Capitol Station
                                       Austin, Texas 78711-2548
                                       Tel: (512) 936-1313
I, VELVA L PRICE, District Clerk, Tra'ilk~) 477-2348
Texu, do hereby certify that this is a ttwiimll'tley@oag.texas.gov
correct copy as same appean; of record in my
office. WitneM my hand and sea,J of    offi.f/llnsel for Plaintiff



                                                                     APPROVED
                                                                     By Sa/mane
    LauB\(~t-sviscountytx. gov

             Post Ofiice Box 12548, Austin, Texas 78711-2548 • (512) 463-2100 • www.oag.texas.gov.
     Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 200 of 207

                                                              2/19/2019 8:00 AM
                                                                               Velva L. Price
                                                                              District Clerk
                        CAUSE NO, D-1-GN-19-000119                            Travis County
STATE OF TEXAS,                     §                                      D-1-GN-19-000119
PLAINTIFF                           §                                 Hector Gaucin-Tijerina
                                    §            IN THE 261ST DISTRICT COURT
vs.                                 §
                                    §                      TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,     §
DEFENDANT                           §
                                    §

                                 DECLARATION OF MAILING

On January 16, 2019 at 09:01 AM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 22, 2019 at 08:47 AM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: OK THE RELAY HOUSE CORPORATION D/B/A THE RELAY
HOUSE C/O REGISTERED AGENT CSC LAWYERS INCORPORATING SERVICE,
INC. AT 150 S. PERRY STREET, MONTGOMERY, MONTGOMERY COUNTY, AL
36104 VIA CERTIFIED MAIL; RETURN RECEIPT REQUESTED.

SEE ATTACHED EXHIBIT "A" -TRACK AND CONFIRM CERTIFIED MAIL
RECEIPT. TRACKING NUMBER: 9314 7699 0430 0054 9275 58; GREEN CARD WAS
NOT RETURNED BY THE USPS.

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Monday, February 18, 2019.

/S/ Orlando Ochoa




Client Reference#: 153568191
DocID: 259294-006
 .   .
2/18/2019
                  Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 201 of 207
                                                          USPS.com®- USPS Tracking® Results



     USPS Tracking®                                      FAQs    > (https://www.usps.com/faqs/uspstracking-faqs.htm)


                                               Track Another Package                 +

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     Expected Delivery on                                                   Certified Article Number
                                                                       9314 7699 043 □ 0054 9275    Sa
     TUESDAY                                                                  SENDER'S RECORD




     22          JANUARY
                 2019©           See Product Information V




      e 1vered, PO Box
     MONTGOMERY, AL 36104
     Get Updates V




         Text & Ernail Updates                                                                                V


         Tracking History


         January 22, 2019, 8:47 am
         Delivered, PO Box
         MONTGOMERY, AL 36104
         Your item has been delivered and is available at a PO Box at 8:47 am on January 22, 2019 ih
         MONlGOMERY, AL 36104.



         January 22, 2019, 7:17 am
         Out for Delivery
         MONTGOMERY, AL 36104



https://tools.usps.com/go/TrackConfirmAction.action?tLabels=9314%207699%200430%200054%209275%2058
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2/18/2019
                  Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 202 of 207
                                                          USPS.com® - USPS Tracking® Results

        January 22, 2019, 7:07 am
        Sorting Complete
        MONTGOMERY, AL 36104



        January 21, 2019, 10:20 am
        Arrived at Hub
        MONTGOMERY, AL 36104



        January 20, 2019, 8:30 am
        Arrived at USPS Faclllty
        MONTGOMERY, AL 36104



        January 20, 2019, 8:17 am
        Arrived at USPS Facility
        MONTGOMERY, AL 36108



        January 20, 2019, 7:49 am
        Departed USPS Regional Facility
        MONTGOMERY AL DISTRIBUTION CENTER



        January 20, 2019, 1:13 am
        Arrived at USPS Regional Destination Facility
        MONTGOMERY AL DISTRIBUTION CENTER



        January 19, 2019
        In Transit to Next Faclllty



        January 17, 2019, 3:49 am
        Arrived at USPS Regional Facility
        NORTH HOUSTON TX DISTRIBUTION CENTER



        January 17, 2019, 3:40 am
        Departed USPS Facility
        HOUSTON, TX 77032



        January 17, 2019, 12:09 am
        Arrived at USPS Facility
        HOUSTON, TX 77032


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                                Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 203 of 207
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           2/18/2019                                                 USPS.com® - USPS Tracking® Results

                       January 1e. 2019
                       Pre-Shipment Info Sent to USPS, USPS Awaiting Item




                       Product Information                                                                      V



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                                     Go to our FAQs section to find answers to your tracking questions.


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                      With Informed Delivery®. you never have to type in another tracking number. Sign up to:

                 • See images* of incoming mail.

                 • Automatically track the packages you're expecting.
           https://tools.usps.com/go/TrackConfirmAction.actlon?tlabels=9314%207699%200430%200054%209275%2058
     Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 204 of 207

                                                              2/19/2019 8:00 AM
                                                                               Velva L. Price
                                                                              District Clerk
                        CAUSE NO. D-1-GN-19-000119                            Travis County
STATE OF TEXAS,                     §                                      D-1-GN-19-000119
PLAINTIFF                           §                                       Raeana Vasquez
                                    §            IN THE 261ST DISTRICT COURT
vs.                                 §
                                    §                      TRAVIS COUNTY, TX
CLUBCORP HOLDINGS, INC.; ET AL,     §
DEFENDANT                                    §
                                             §

                                 DECLARATION OF MAILING

On January 16, 2019 at 09:17 AM- CITATION, PLAINTIFF'S ORIGINAL PETITION,
EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F, EXHIBIT G,
EXHIBIT H, EXHIBIT I, EXHIBIT J, EXHIBIT K CAME TO HAND.

ON January 31, 2019 at 02:50 PM - THE ABOVE NAMED DOCUMENTS WERE
DELIVERED TO: UNIVERSITY CLUB OF JACKSON, MISS ALSO D/B/A
UNIVERSITY CLUB OF JACKSON C/O REGISTERED AGENT CORPORATION
SERVICE COMPANY AT 5760 I 55 N, STE 150, JACKSON, IDNDS COUNTY, MS
39211 VIA CERTIFIED MAIL; RETURN RECEIPT REQUESTED.

SEE ATTACHED EXHIBIT "A" - TRACK AND CONFIRM CERTIFIED MAIL
RECEIPT. TRACKING NUMBER: 9314 7699 0430 0054 9276 33; GREEN CARD WAS
NOT RETURNED BY THE USPS.

My name is Orlando Ochoa. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA. I am a private process server authorized by and through the Supreme Court of Texas
(PSC 12573, expires Thursday, April 30, 2020). My date of birth is August 15, 1975. I am in all
ways competent to make this statement, and this statement is based on personal knowledge. I
am not a party to this case, and have no interest in its outcome. I declare under penalty of
perjury that the foregoing is true and correct.

Executed in HARRIS County, Texas on Monday, February 18, 2019.

/S/ Orlando Ochoa




Client Reference#: 153568191
DocID: 259294-014
                  Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 205 of 207
2/18/2019                                                  USPS.com® - USPS Tracking® Results


                                                           FAQs    > (https://www.usps.com/faqs/uspstracking-faqs.htm)
   USPS Tracking®

                                                Track Another Package                  +

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   Your item was delivered to an individual at the address at 2:50 pm on January 31, 2019 in
   MADISON, MS 39110.


                                                                       Certified Article Number
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       Text & Email Updates                                                                                     V


       Tracking History


       January 31, 2019, 2:50 pm
       Delivered, Left with Individual
       MADISON, MS 39110
       Your item was delivered to an individual at the address at 2:50 pm on January 31, 2019 in MADISON, MS
       39110.



       January 31, 2019
       In Transit to Next Facility



       January 30, 2019, 11 :16 pm
       Departed USPS Regional Destination Facility
                                                                                                       q
       JACKSON MS DISTRIBUTION CENTER



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                 Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 206 of 207
2/1'8/2019                                                USPS.com® - USPS Tracklng® Results

        January 24, 2019, 12:27 pm
        Arrived at USPS Regional Destination Facility
        JACKSON MS DISffilBUTION CENTER



        January 21, 2019, 4:04 pm
        Arrived at USPS Regional Facility
        GAINESVILLE FL DISTRIBUTION CENTER



        January 18, 2019, 9:43 am
        Forwarded
        JACKSON, MS



        January 18, 2019, 8:27 am
        Out for Delivery
        JACKSON, MS 39211



        January 18, 2019, 8:17 am
        Sorting Complete
        JACKSON, MS 39211



        January 18, 2019, 7:49 am
        Arrived at Unit
        JACKSON, MS 39211



        January 18, 2019, 6:25 am
        Arrived at USPS Faclllty
        JACKSON, MS 39211



        January 18, 2019, 6:11 am
        Arrived at USPS Facility
        JACKSON, MS 39216



        January 18, 2019, 5:55 am
        Departed USPS Regional Facility
        JACKSON MS DISTRIBUTION CENTER



        January 18, 2019, 4:29 am
        Arrived at USPS Regional Destination Facility
        JACKSON MS DISTRIBUTION CENTER

https://tools.usps.com/golTrackConfirmAction.actlon?tlabels=9314%207699%200430%200054%209276%2033
                  Case 1:19-cv-00171-LY Document 1-1 Filed 02/21/19 Page 207 of 207
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      January 17, 2019, 12:09 am
      Arrived at USPS Facility
      HOUSTON, TX 77032



      January 18, 2019
      Pre-Shipment Info Sent to USPS, USPS Awaiting Item




      Product Information                                                                            V



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                                Can't find what you're looking for?
                        Go to our FAQs section to find answers to your tracking questions.


                           FAQs (https://www.usps.com/faqs/uspstracking-faqs.htm)




                  The easiest tracking number is the one you don't have to know.
https://tools.usps.com/go/Trac:kConfirmAclion.action?tlabels=9314%207699%200430%200054%209276%2033
